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21     EPIC GAMES, INC.,                              Case No. 4:20-cv-05640-YGR-TSH

22                      Plaintiff, Counter-defendant, FINDINGS OF FACT AND
                                                      CONCLUSIONS OF LAW
23
                             v.                       PROPOSED BY EPIC GAMES, INC.
24

25     APPLE INC.,
                                                      The Honorable Yvonne Gonzalez Rogers
26                      Defendant, Counterclaimant.
                                                      Trial: May 3, 2021
27

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                        FINDINGS OF FACT AND CONCLUSIONS OF LAW
                              PROPOSED BY EPIC GAMES, INC.
                               Case No. 4:20-cv-05640-YGR-TSH
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 1                Epic Games, Inc. respectfully proposes the Findings of Fact and Conclusions of

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                        FINDINGS OF FACT AND CONCLUSIONS OF LAW
                              PROPOSED BY EPIC GAMES, INC.
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I.       INTRODUCTION.

                    1.   This case is about Apple’s conduct to monopolize two markets within its

     iOS ecosystem: (i) the iOS App Distribution Market; and (ii) the iOS In-App Payment

     Solutions Market. To understand those markets and Apple’s conduct within those markets, it

     is important to understand Apple’s iOS ecosystem.

                    2.   The foundation of this ecosystem is the iPhone’s mobile operating system,

     called “iOS”. (PX2573, at '1.)

                    3.   iOS grew out of Apple’s macOS operating system (formerly known as

     Mac OS X), versions of which have been on Apple’s Mac computers since the early 2000s.

     iOS traces its roots back to the introduction of the iPhone in 2007. (See Section X.A below.)

                    4.   Since the introduction of iOS in 2007, Apple has developed myriad

     services and features that tie together all Apple products to create an Apple “ecosystem”, but

     that are not compatible with devices running on other operating systems outside of the Apple

     ecosystem. As Apple has added more features and more devices that can interact with iOS,

     the reach and hold that iOS has on consumers’ lives has grown. (See Section II.A below.)

                    5.   As a result, consumers—and often their households—become locked in to

     iOS, with high switching costs and decreased ability and willingness to extract themselves

     from the iOS ecosystem. (See Section II.B below.)

                    6.   These switching costs run the gamut, from time, to financial costs

     associated with reacquiring digital content, to learning a new operating system, and to the

     frustration and complexity associated with having a device that is incompatible with a user’s

     remaining devices or the devices of friends and family members who remain on iOS. As one




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                11. That synergy, however, does not result in a level playing field. As Apple

has gathered more and more users into its ecosystem and locked them in, the importance of

the Apple ecosystem to developers has increased to the point that nearly all developers rely on

Apple—but Apple does not need to rely on any single developer. (See, e.g., Part IV below.)

                12. Although Apple had other options, and debated them internally as a policy

matter, at the same time it decided to allow third parties to develop apps for iOS users, in

2008, Apple chose to make the newly created App Store the exclusive means of distribution

of all apps on iOS. (See Section II.D below.)

                13. Apple requires all app developers that wish to have their apps available on

an iOS device to enter into non-negotiable contracts that establish the terms and conditions of

their relationship. (See Section IV.A below.) Under these contracts, app developers are

subject to a variety of restrictions related to distribution:

                    a.      Developers must submit all their apps and app updates for review

                            by Apple, and await Apple’s determination as to whether to approve

                            or reject their app, which Apple makes in its sole discretion (see

                            Section X.E below);

                    b.      Apple may delist developers’ apps from the App Store at any time

                            (PX2621, at ‘9);

                    c.      Developers cannot offer their own app store on iOS devices

                            (PX2481, at ’16); and

                    d.      Other than specified exceptions, developers cannot allow users to

                            access content, subscriptions or features they purchased through




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distribution on iOS without restricting app distribution to the App Store, just as it does with

macOS. (See Section X.D below.)

               19. Apple points to its App Review process and asserts that there are security

benefits that flow from funneling all apps through the App Review process, but that is

pretextual. (See Part XI below.) Apple’s App Review Process does little to keep iOS devices

secure. It is cursory and has historically lagged behind the state of the art in terms of use of

the automated tools needed for robust security checks. Many apps that should have been

rejected under Apple’s own guidelines have been approved, and apps that should have been

approved have been rejected. Developers have faced an inefficient and opaque app review

process riddled with arbitrary decisions and errors coupled with poor customer service. (See

Sections X.E-H below.)

               20. Moreover, the manual portion of Apple’s App Review process screens

primarily for non-security issues—including specifically for anti-competitive purposes. For

example, Apple has used the App Review process to reject competitive threats even when the

apps complied with Apple’s then-prevailing guidelines. And Apple has used App Review to

preference its own apps over competing third-party apps to the detriment of consumers and

developers. (See Sections X.E-H below.)

               21. There is nothing security-related about Apple’s App Review process that

Apple could not continue to do if distribution were open—similar to what Apple does on

macOS today through a process it calls “notarization”—or that could not be replicated or even

improved upon by third parties. Put simply, Apple has no security reason for restricting iOS

app distribution to the App Store. Indeed, Apple has never even analyzed whether any other

app stores would introduce security problems to the iOS platform. (See, e.g., Part XI below.)

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               22. Not only is exclusive distribution through the App Store neither designed

to nor essential to ensure security. Apple’s restrictions on app distribution degrade the

experience of consumers and developers. Excluding competing app stores from the iOS

ecosystem has resulted higher app prices, less innovation and fewer features for both

developers and consumers. And Apple’s arbitrary App Review process is ripe for abuse. (See

Parts Error! Reference source not found., Error! Reference source not found. below.)

               23. As some developers’ business models evolved from selling apps up front

to providing apps free to download and offering content for purchase within the app, Apple

adapted its business model, as well, by adding a new restriction. In 2009, Apple introduced

the In-App Purchase (“IAP”) system—a payment solution that Apple required all developers

selling in-app digital content to use and that carried with it an automatic deduction of a 30%

commission from all such in-app purchases of digital content. Later still, in 2011, Apple

expanded the reach of IAP to subscriptions. (See Section II.F below.)

               24. Apple’s price hikes have closed the door on many developers who wish to

enter the iOS ecosystem. Some small businesses cannot afford to absorb Apple’s 30% fee and

would lose business if they passed it on to their customers. As Apple’s founder Steve Jobs

acknowledged, Apple’s commission “is prohibitive for many things”. (PX438, at ‘768.)

               25. Of course, some developers have chosen to pass on part of Apple’s 30%

fee to consumers. For that reason, Apple’s conduct has caused consumers to pay higher prices

for apps and in-app content. (See Part Error! Reference source not found. below.)

               26. The App Store and IAP are not technologically integrated. The App Store

was created and existed for some time without IAP, and it still exists apart from IAP. While

Apple requires the use of IAP for the purchase of in-app digital content, Apple does not

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require the use of IAP for in-app purchases of physical goods and services made from iOS

apps, such as Amazon purchases or Uber rides. (See, e.g., Section VI.B below.)

               27. Rather than technological, Apple’s requirement that all in-app purchases

of digital good use Apple’s IAP is contractual. The IAP requirement is simply a tool for

Apple to collect its outsized commission. (See Section VI.D below.) Specifically, under the

same non-negotiable contracts discussed above, app developers are subject to a variety of

restrictions related to IAP:

                   a.      They must use Apple’s In-App Purchase system for digital in-app

                           purchases and may not include an alternative payment solution

                           within the app (PX56, at ’10);

                   b.      They cannot steer users to alternative payment methods outside the

                           app: “Apps and their metadata may not include buttons, external

                           links, or other calls to action that direct customers to purchasing

                           mechanisms other than in-app purchase” (PX56, at ’10);

                   c.      They must allow Apple to collect a 30% commission on the sale of

                           paid apps (PX2621, at ‘4-5);

                   d.      They must allow Apple to collect a 30% commission on digital

                           in-app purchases including subscriptions (with a 15% commission

                           on subscriptions after the first year) (PX2621, at ‘5);

                   e.      They may not mention the commission paid to Apple anywhere in

                           the app (Shoemaker Dep. 144:10-23); and

                   f.      They must price their app within global pricing tiers set by Apple.

                           (Fischer Dep. 266:12-15).

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prominent listing of developers’ apps when users search for apps within the App Store. (See

Sections II.F, IV.C below.)

              36. Apple would continue to have a strong incentive to invest in the iOS

ecosystem even without its monopoly on in-app payment solutions. All successful platform

providers make developer tools widely available to attract third-party developers. Given the

many contributions of third-party developers to the iOS ecosystem, Apple will continue to

invest in and make widely available its developer tools because doing so enhances the value

of iPhones. (See Section II.D below.)

              37. Epic Games, Inc. (“Epic”) has suffered harm from Apple’s conduct. (See

Section IX below.)

                  a.      Epic has an app store, the Epic Games Store, that it has launched on

                          personal computers (“PCs”) and Macs. Epic would launch the Epic

                          Games Store on iOS if it could, but Apple will not allow it to do so.

                          If the Epic Games Store were on iOS, it would provide consumers

                          with the benefits of competition in iOS app distribution.

                  b.      Absent Apple’s rules, Epic would not distribute its apps through the

                          App Store. (Sweeney.) Instead, Epic would distribute its apps

                          through other means, including from its website and through EGS.

                          (Sweeney.) By distributing its apps through the App Store, Epic

                          has paid supra-competitive commissions and been deprived of the

                          benefits that would flow from a competitive market. (Evans.)

                  c.      Epic has its own payment processing functionality—Epic direct

                          payment. Apple forbids Epic from using Epic direct payment on

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                         iOS, depriving Epic’s customers of payment choices that would

                         allow Epic to offer lower prices and comprehensive customer

                         service.

               38. Many other app developers are harmed by Apple’s practices. (See Part

VIII below.)

                  a.     There are app developers that are unable to innovate and produce

                         products because of Apple’s practices.

                  b.     There are app developers that cannot offer safety features to users

                         because of Apple’s practices.

                  c.     There are app developers that cannot financially survive because of

                         Apple’s practices, depriving customers of their offerings altogether.




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                 47. In addition, Apple develops iPads, which are based on the iPadOS

  operating system.1 Historically, iOS was also the operating system used on iPads. In 2019,

  Apple announced that it would begin using the name iPadOS to refer to the operating system

  on iPads. (Federighi.)

                 48. Apple also develops wearables, home products and accessories, including

  AirPods, Apple TV, Apple Watch, Beats headphones, HomePod, iPod Touch and other

  Apple-branded products, which it sells together with various third-party accessories online

  and in retail stores. (PX2573, at ’1.)

                 49. These devices and services together comprise the Apple “ecosystem”.

  (Fischer Dep. 244:12-15; 244:18-24.) As Eddy Cue, Apple’s Senior Vice President of

  Software and Services, testified, Apple “[doesn’t] just sell devices . . . We sell other things.

  We sell other – other devices from what you have. We sell accessories. We sell apps. We

  sell books. We sell videos. So those are all part of the ecosystem.” (Cue Dep. 74:20-75:1.)

                 50. Apple devices and services in this ecosystem are designed to operate

  “seamlessly” with each other. (PX405, at ‘325; Cue Dep. 73:15-74:6.)

                 51. Apple’s core business model is to “hook” its users on this integrated Apple

  ecosystem, so they “wouldn’t want to leave it”. (PX404, at ‘427; Cue Dep. 58:2-9; 69:1-5.)

                 52. To keep users repeatedly coming back to Apple’s offerings, Apple has

  worked to “build” its App Store and other services “as far into the iPhone OS experience as

  possible”. (PX403, at ‘802; Cue Dep. 64:3-4; 64:7-12; 65:13-18.)




    1
     For simplicity’s sake, this document refers to the operating system on both devices as
“iOS”. There are no differences between iOS and iPadOS that are relevant to the facts herein.
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               53. In an agenda for a 2010 executive team meeting, Apple founder and late

CEO Steve Jobs wrote that he wanted to “tie all of our products together, so [Apple] further

lock[s] customers into [its] ecosystem”. (PX892, ‘738; Forstall Dep. 248:25-249:1; 249:18-

23.)

               54. Apple recognized that “[g]etting customers using our stores (iTunes, App

and iBook store) is one of the best things we can do to get people hooked to the ecosystem”.

(PX404, at ‘427; Cue Dep. 68:1-13; 69:1-5.)

               55. Apple has developed a number of apps, services and features that enhance

“lock in” into the Apple ecosystem. iMessage (used in the Messages app), “Find My Friends”

and “Continuity” are a few examples, all discussed below. As Apple has developed, updated

and released its own apps over time, it has fully integrated them into the “iOS experience”.

(Cue Dep. 67:9-68:12.)

               56. Messages is a particularly popular Apple app. It allows for seamless

messaging and multimedia communications across Apple iPhones, iPads and Macs. (PX416;

Cue Dep. 114:14-115:2.)

               57. Consumers have come to rely on the ability to iMessage each other on iOS

devices. If an iPhone user attempts to send a text message to the user of a non-Apple device

(such as an Android phone), iMessage transmits the message as a standard cellular text (called

an SMS), meaning both users are deprived of the features uniquely associated with iMessage.

(Federighi Dep. 118:13-18.) Apple prominently reveals to iOS users whether they are

exchanging messages with someone who owns an iOS device: iMessages appears in blue

bubbles, and standard text messages appear in green bubbles. (Cook; Schiller.)




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               58. Apple has recognized the power that iMessage has to attract and keep

users within its ecosystem.

                  a.      As early as 2013, Apple decided not to develop a version of

                          iMessage for the Android OS. (Cue Dep. 92:22-93:1.)

                  b.      Mr. Cue testified that Apple “could have made a version on

                          Android that worked with iOS” such that there would “have been

                          cross-compatibility with the iOS platform so that users of both

                          platforms would have been able to exchange messages with one

                          another seamlessly”. (Cue Dep. 92:5-9; 92:11-16.)

                  c.      However, Craig Federighi, Apple’s Senior Vice President of

                          Software Engineering and the executive in charge of iOS, feared

                          that “iMessage on Android would simply serve to remove [an]

                          obstacle to iPhone families giving their kids Android phones”.

                          (PX407, at ‘122.)

                  d.      Phil Schiller, an Apple executive in charge of the App Store, agreed

                          that Apple should not offer iMessage on Android devices. (Cue

                          Dep. 92:18-93:1.)

                  e.      In 2016, when a former Apple employee commented that “the #1

                          most difficult [reason] to leave the Apple universe app is iMessage

                          . . . iMessage amounts to serious lock-in” to the Apple ecosystem,

                          Mr. Schiller commented that “moving iMessage to Android will

                          hurt us more than help us, this email illustrates why”. (PX416, at

                          ‘610; Cue Dep. 114:14-115:2.)

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                 Amazon become[] an audio/video iTunes reseller exclusive to

                 Apple” and that “it would be very easy for [Apple] to compete and I

                 think trounce Amazon by opening up our own eBook store”.

                 (PX2317)—or, in other words, that Apple and Amazon “simply

                 divide the e-market for books and music”. (PX400; U.S. v. Apple

                 Inc., 952 F. Supp. 2d 638, 656 n.15 (S.D.N.Y. 2013).)

           b.    When that failed, Apple instead “orchestrat[ed] a horizontal

                 conspiracy among [eBook publishers] to raise eBook prices”—and

                 was subsequently found to have violated § 1 of the Sherman Act by

                 the District Court for the Southern District of New York and the

                 Court of Appeals for the Second Circuit. (PX401; U.S. v. Apple,

                 Inc., 791 F.3d 290, 339 (2d Cir. 2015)); see also PX400.)

           c.    Following a bench trial, the district found that Apple knowingly

                 violated the antitrust laws.

           d.    The court further found that injunctive relief was necessary to

                 “guard against future anticompetitive conduct” by Apple. (PX401,

                 at ‘339.)

           e.    A monitor was appointed to ensure that Apple could not continue its

                 anti-competitive conduct regarding eBooks. (Cue Dep. 39:5-39:8.)

           f.    Mr. Cue was Apple’s primary trial witness at the eBooks trial.

           g.    Mr. Cue was accused of orchestrating the conspiracy and testified at

                 trial on behalf of Apple.




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                 h.      The court “found that [Cue] lacked credibility in [his] testimony” in

                         his defense of Apple’s conduct. (PX400, at nn.19, 38, 47, 52; Cue

                         Dep. 37:19-22; 38:3.)

                 i.      The court’s findings did not convince Apple to refrain from

                         pursuing anti-competitive conduct.

                 j.      According to Mr. Cue, Apple “did not” “take any disciplinary

                         action against [him] as a result of [his] participation in the events

                         that led to the adverse finding in the eBooks case”. (Cue Dep.

                         38:23-39:2.)

                 k.      Mr. Cue testified that if he “had to do it all over again, [he] would

                         do it again” but only “keep better notes”. (Cue Dep. 41:2-3; 41:5-7;

                         56:2-4; 56:8; PX402; 402A.)

    B.     Switching Costs Tend To Lock Users into iOS.

              64. The various types of costs for users to change platforms—for instance,

from iOS to Android—are called “switching costs”.

                 a.      Switching costs include the amount of time and effort that it takes

                         for a user to switch between an iOS and Android device—for

                         instance, how much time it takes to ensure that all contacts, music,

                         movies or photographs that were downloaded onto the user’s old

                         device are transferred to the new one; which apps on the new OS

                         replicate the functionality of those apps the user downloaded on the

                         old OS; and accounts the user created can be transferred (Athey;

                         PX79);


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                  b.     Switching costs include the human confusion and frustrations

                         involved in switching between operating systems, including

                         learning how to use the new operating system. (Athey; PX79);

                  c.     Switching costs include the financial costs associated with the

                         switch—for instance, losing valuable media, paid apps and in-app

                         purchases that cannot be transferred from one device to another and

                         must be downloaded again; and the cost of peripherals, such as

                         charging cables and docks, that only work with one type of device

                         and not another (Athey; PX79);

                  d.     Switching costs include the loss of utility or increased complexity

                         of certain communication with family and friends—for instance, the

                         loss of “Find my Friends” capabilities, parental control capabilities,

                         FaceTime communications or family sharing on iOS devices; and

                         (Athey; PX79.)

                  e.     Switching costs include the loss of services associated with a

                         particular operating system (e.g., access to cloud storage.) (Athey ;

                         PX79.)

              65. The switching costs of moving from using an iPhone to another mobile

device, such as an Android smartphone are substantial. (Athey; PX79.)

              66. Among the steps that a user considering switching needs to take are the

following:

                  a.     Determining whether apps she uses to manage important devices

                         and critical relationships exist on the new device with equivalent or

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                          sufficient functionality (e.g., apps that operate their “smart” home

                          devices such as thermostats and locks) (Athey; PX79);

                   b.     Determining whether other existing apps are available on the new

                          platform (Athey; PX79);

                   c.     Identifying and reinstalling her apps—the average user has over 100

                          (Athey; PX79);

                   d.     Transferring her app-related data onto a new platform and

                          reestablishing any configured settings (e.g., account settings), which

                          may require her user to reestablish her relationship with each app

                          developer on the new platform (Athey; PX79);

                   e.     For apps that involve subscriptions, users may need to continue to

                          manage their subscriptions on the old platform if they change

                          devices mid-subscription, or they may need to repurchase a

                          subscription entirely (Athey).

               67. Users also incur “mixing-and-matching costs” when they access apps and

services on devices that have an operating system that is different from their mobile device.

(PX79; Athey.)

               68. Mixing-and-matching costs can be “within-user” (e.g., a user wanting to

access a note-taking app on both her phone and desktop computer), as well as within members

of a group (for example, a parent wanting to set various types of monitoring and restrictions

on his or her children’s devices). (Athey.)




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                  a.      For instance, in June 2013, Phil Schiller, Apple’s then-head of

                          marketing and now Apple Fellow, circulated a Goldman Sachs

                          analyst report to others at Apple entitled “Switching from iPhone to

                          Android: how hard can it be?” (PX79.) While no witness asked

                          about the document could recall a conversation about it, the cover

                          email did not indicate any disagreement with the document’s

                          contents. (PX80.) The document set forth switching costs between

                          Apple and Android devices and referred to “the raw time and ‘pain

                          in the neck’ factor” of switching. (PX79; PX80; Cue Dep. 120:20-

                          121:1.)

                  b.      The report concluded that “the cost of switching platforms [from

                          iPhone to Android] is significant, and indeed, it was not possible to

                          transfer all of [the] content” from the iPhone. (PX79.)

    C.      Because Users Are Locked into iOS, Mobile App Developers Cannot Forgo
            Developing Apps for iOS.

               74. Consumer lock-in to the iOS ecosystem results in higher costs to

developers. (Sweeney; Grant; Athey.)

               75. In order to be successful, app developers typically try to reach as many

consumers as possible, which generally requires that they develop apps for as many platforms

as possible. As a result, they are unlikely to abandon or substitute away from smartphones, as

that would cause them to either entirely lose access to users who do not access apps on other

platforms. (Evans; Athey.)

               76. Developers incur “multi-homing costs”, or costs of writing apps for

multiple platforms. (Sweeney; Grant; Athey.)
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developer needs to offer its apps on iOS to reach a vast portion of the available consumers for

smartphone apps. This dynamic makes developers heavily dependent on Apple—and App’els

unilateral discretion to decide which apps will be available on iOS.

    D.       The Origin of the App Store.

               83. When the first iPhone was launched in 2007, the only “native” apps

available on the device were those written by Apple. (Cue Dep. 47:15-19.)

               84. However, at that time, different executives at Apple had different views on

whether Apple should enable “native” third-party app development for the iPhone. One

group, including Apple’s then-CEO, Steve Jobs, felt that Apple should never allow third

parties to create native apps for the iPhone, and that third parties could use web applications

instead. Another group believed in a “hybrid model”, where third-party app developers would

rely on a combination of web technologies and native abilities to create iOS apps. A third

group, including Scott Forstall, former Senior Vice President of Apple (iOS Software),

advocated for enabling third party native app development on iOS, in part because the

“voluminous” technological benefits of native apps over web apps would provide a better

experience for iPhone users. (Forstall Dep. 77:16-20; 77:24-78:12; 78:16-79:6; 80:6-20;

80:22-84:5; PX870.)

               85. After the launch of the iPhone, Apple quickly realized that there was

significant third party developer interest in writing native apps for iOS, and that new third-

party apps would attract users and keep user interest. (Forstall Dep. 79:10-17; 80:6-20; 85:1-

9; PX870.)




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                   a.      Several third-party app developers approached Mr. Forstall and

                           asked whether they could build native apps for the iPhone. (Forstall

                           Dep. 85:1-9; 94:21-24.)

                   b.      In addition, app developers started “jailbreaking” iPhones—that is,

                           a modification of iOS which allows the download and execution of

                           apps not distributed via the official App Store (Mickens)—so that

                           they could write native applications, which Mr. Forstall interpreted

                           as an indication of demand for such capabilities. (Forstall Dep.

                           85:19-24; 86:1-5; PX871.)

               86. At an August 2007 meeting, Mr. Forstall and Mr. Jobs, along with other

top Apple executives, discussed “[o]pening up” the iPhone’s software to third-party app

developers like Electronic Arts. (PX872; Forstall Dep. 91:12-13; 91:16-92:14.)

               87. By October 2007, Mr. Jobs had changed his mind about enabling third-

party native app development on the iPhone and told Mr. Forstall that he wanted such

functionality enabled by early 2008. (PX874; PX876; Forstall Dep. 106:3-19.)

               88. In the months that followed, Apple executives and software engineers

debated the proper distribution method for third-party applications and specifically whether

“Apple signed applications” would be posted exclusively to an “online store”, or whether

third parties would be permitted to “distribute on their own”. (PX877; Forstall Dep. 125:12-

15; 127:3-8; 129:8-130:1; 130:5-131:12; 145:12-146:9.) Apple’s security experts remained

out of this debate, noting that the question of exclusive distribution is one of “policy”, as

opposed to security. (Forstall Dep. 130:5-131:12.)




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              89. On March 6, 2008, Apple held an event before a group of developers and

enterprise consumers to announce the opening of iOS to third-party apps, the release of

developer tools for app development, and the launch of the App Store. (PX880; Forstall Dep.

161:20-162:16.)

                  a.      At the event, Mr. Jobs announced that “the App Store is going to be

                          the exclusive way to distribute iPhone applications directly to every

                          iPhone user”. (PX880; Forstall Dep. 161:20-162:16.) He then

                          described the App Store’s “business deal” for developers: “When

                          we sell the app through the App Store, the developer gets 70% of

                          the revenues right off the top. We keep 30[%] to pay for running

                          the App Store. . . . So when a developer wants to distribute their

                          app for free, there is no charge for free apps at all. . . . The

                          developer and us have the same exact interest which is to get as

                          many apps out in front of as many iPhone users as possible.”

                          (PX880; Forstall Dep. 163:14-164:25.)

                  b.      During the event’s Q&A session, Mr. Jobs was asked: “[Doesn’t]

                          the fact that Apple is going to be the exclusive distributor for all

                          these applications raise some questions about monopolies and so

                          forth? What if a developer doesn’t want to distribute through the

                          App Store?” Mr. Jobs responded: “Then they won’t be able to

                          distribute their app on the iPhone but we don’t think that’s going to

                          be the case with almost every developer. Remember, the developer

                          wants to get their app out in front of every iPhone user and there is

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                           no way for even large developers to do that, much less small

                           developers. So we think this is going to a boon for developers and

                           they are going to love it”. (PX880; Forstall Dep. 171:5-16.)

                   c.      After confirming that “there wouldn’t be a way for [developers] to

                           distribute [apps] without iTunes or [the] App Store”, Mr. Jobs

                           continued: “And also, just to make it a little clearer, we don’t

                           intend to make money off the App Store . . . . [W]e are basically

                           giving all the money to the developers here and if that 30% of it

                           pays for running the store, well that will be great, but we just want

                           to create a very efficient channel for these developers to reach every

                           single iPhone user”. (PX880; Forstall Dep. 173:5-174:10.)

                90. The App Store was devised as a storefront that could incentivize

developers to create innovative and useful apps for the iOS platform in order to attract users.

(PX870; Forstall Dep. 79:10-17; 80:6-20; 85:1-9.)

                91. The App Store was intended to be a way to promote the iPhone and sell

more devices.

                   a.      Apple recognized that an important way to attract users to iOS was

                           providing a variety of apps, including a robust set of apps

                           developed by third-party developers. (Cue Dep. 45:10-14.)

                   b.      An Apple executive testified that Apple has always had “an interest

                           in having a set of apps that would make the iPhone appealing to

                           iPhone users”. (Cue Dep. 43:19-44:2.)




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               92. App development requires tools. (Grant; Okamoto Dep. 363:16-18; Haun

Dep. 174:13-175:12.)

               93. Apple had already developed a set of tools—prior to the launch of the App

Store—for native iOS app development for the first iPhone in 2007. (Cue Dep. 49:1-8.)

These tools were based in part on the Integrated Development Environment (which was

marketed by Apple as Xcode) available for macOS, which Apple had developed since 2003.

(Forstall Dep. 37:23-38:5.)

               94. At the iPhone’s launch, third parties had neither the software tools nor the

access necessary to write native apps for iOS and have them distributed on the iPhone. In

connection with the App Store launch, Apple announced the release of the iOS “software

development kit”, or “SDK”, as well as information regarding a series of “application

programming interfaces” (“APIs”). (PX880; Forstall Dep. 161:20-162:16.)

                  a.      Developers can use the iOS SDK to create iOS apps. (Grant;

                          Okamoto Dep. 363:16-18.)

                  b.      SDKs generally include information concerning APIs that

                          developers use to create apps for a particular operating system.

                          APIs are sets of definitions and protocols for building and

                          integrating application software, and allow third-party developers to

                          program their apps to connect to operating system-provided

                          functionality. (Grant; Haun Dep. 174:13-175:12.)

                  c.      APIs made available to third-party developers are referred to as

                          “public APIs”. (Grant; Haun Dep. 177:11-17.)




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                   d.      A platform developer also often has “private APIs”, which are APIs

                           not made publicly available. (Grant; Haun Dep. 177:11-17.)

               95. Generally, every OS is different and its tools for development are created

for its particular characteristics. An app written with Android SDKs does not run on the iOS

platform and vice versa. (Cue Dep. 61:25-62:1; 62:3-62:5; 63:5-63:6; 63:8-9; Fischer Dep.

37:24-38:5; Grant.)

               96. Apps can be written for all OS platforms if a developer has access to these

platforms and has the skill, time and money to invest in writing apps for that OS. Most often,

the company controlling the operating system makes the tools needed to write apps for that

operating system available for free or at a nominal price, so as to attract third-party

developers. (Grant; Sweeney; Evans.) Free or nominally priced tools incentivize app

development. (Grant; Sweeney; Evans.)

               97. Apple distributes its developer tools for free, but charges an annual fee for

membership in its Developer Program.

                   a.      For example, Apple makes the SDK developers need to program

                           apps for the macOS used by Mac personal computers available for

                           free. (PX500, at ‘4; PX2622.)

                   b.      Apple also makes the tools necessary for iOS development

                           available to developers for free through its Xcode Software

                           Development Environment. Any interested developer with an

                           Apple ID can download Xcode and begin programming iOS apps.

                           (PX500, at ‘4; PX2622.)




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                     c.      However, if developers wish to distribute their iOS apps to users,

                             then they must join the Apple Developer Program. (PX500, at ‘4.)

                             This requires developers to sign the Developer Program License

                             Agreement and pay an annual $99 fee to Apple. (PX500, at ‘4.)2

                     d.      Apple also charges developers for technical assistance in

                             programming their iOS apps. Though the annual $99 fee covers a

                             consult with Apple’s Technical Services team on “two specific

                             technical areas [for which developers] would like assistance,

                             guidance or otherwise”, technical assistance beyond the two

                             covered incidents costs an additional $99 “per incident”. (Haun

                             Dep. 29:18-30:3; 32:6-7.)

        E.    Apple Recognizes that Having More Developers on Its Platform Enables It to
              Sell More iPhones.

                 98. As more developers write apps for an OS platform, more users are

  attracted to that OS platform. (Forstall Dep. 40:24-41:4; 41:6-9; 41:11-13; 41:15-18;

  Sweeney; Evans.) As more users adopt an OS platform, so too do more developers, resulting

  in a positive feedback loop. (Evans.) This positive feedback loop is the result of indirect

  network effects. Indirect network effects occur when participants on one side of the platform

  value having more participants on the other side with whom they can have a mutually

  beneficial interaction. (Evans.)




    2
     Developers may also distribute through the Developer Enterprise Program, for which they
would pay Apple a $299 annual fee to distribute apps within their organization. (See Section II.F
below.)
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              105. Apple even considered seeking Epic’s agreement to create exclusive

games for iOS. (Okamoto Dep. 324:4-13.)

              106. Apple has repeatedly sought exclusive content from Epic for iOS.

                  a.      Apple has requested exclusive Fortnite items to promote its App

                          Store gift cards. (DX3008.)

                  b.      Apple has also requested other “iOS exclusive” game features, such

                          as skins (i.e., in-game costumes and other cosmetics). (PX2906.)

              107. Epic has introduced several innovative technologies to iOS through the

Unreal Engine. (Grant.)

                  a.      An Apple executive has acknowledged that Epic has introduced

                          “sever[al] breakthrough technologies” for Apple. (PX42; Okamoto

                          Dep. 326:16-327:10; 425:16-18.)

    F.      iOS App Store Profitability.

              108. Even before Apple charges anything for distribution of apps through the

App Store, Apple already has earned significant amounts that compensate it for its

investments in its iOS products and ecosystem.

                  a.      Through sales of the iPhone and iPad (PX606.);

                  b.      Through sales of wearables and other accessories; (PX2391, at

                          ‘5145.);

                  c.      Through fees paid to join the App Developer Program;

                             i.      Apple charges developers $99 annually to join and remain

                                     in the Apple Developer Program, which consists of “a set

                                     of services and information designed to assist third-party


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                                    developers in creating application software and physical

                                    hardware that works with various Apple products”. (Haun

                                    Dep. 28:12-29:1.)

                   d.      Through fees paid to join the Apple Developer Enterprise Program;

                               i.   In addition to the Developer Program, Apple maintains a

                                    Developer Enterprise Program, which charges a $299

                                    annual fee and allows businesses, organizations and

                                    institutions to create and distribute “in-house, internal use

                                    applications for employees” on iOS. (PX2620.)

               109. As discussed above, when Apple launched the App Store in March 2008,

Mr. Jobs assured developers that the store’s 30% commission charged to developers for paid

apps was designed only to cover its costs. He also stated that “when a developer wants to

distribute their app for free, there is no charge for free apps at all”. (PX880; Forstall 164:4-

11.)

               110. Apple executives were aware prior to the launch of the App Store that

there was a potential “leak” in the App Store model: C.K. Haun emailed Ron Okamoto in

January 2008 noting that many games “have a healthy after-market in additional game levels,

enhanced graphics for in-game activities, and other data up to and including completely new

games that can be created from an installed base game engine” and that developers were likely

to want to employ this model of monetization for their iPhone apps. (PX897.) In response to

Haun’s warning that “the new level/enhanced graphics business for fee (outside of [the iTunes

Music Store]) [is] possible easily”, Apple executive Greg Joswiak replied: “If this is accurate,

it sounds like we’ll have to make sure our terms don’t allow this.” (PX897.)

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366:10-367:10; PX99 (Apple added IAP in 2009, and “it has aided their bottom line

significantly”); Shoemaker Dep. 63:22-64:13.)

                  a.     As Apple’s lead economist conceded, this constituted a price

                         increase. (Schmalensee 223:3-12, 223:14-16.)

              123. In 2016, Apple began asking developers to pay for the privilege of

appearing first in Search results when iOS users search for apps within the App Store. (Cue

Dep. 87:23-88:12; 94:9-13.)

                  a.     One of the ways that consumers find iOS apps they want to use

                         among the millions of apps in the App Store is by searching app

                         names or keywords in the Search bar in the App Store (similar to

                         how users search for webpages using a search engine like Google).

                         (Cue Dep. 87:23-88:12.)

                  b.     In 2016, Apple launched “Search Ads” in the App Store. (Cue Dep.

                         87:23-88:12; 94:9-13.)

                  c.     Through Search Ads, Apple auctions the first placement in App

                         Store Search results to app developers. (Schiller; Friedman Dep.

                         132:25-133:13; Cue 93:19-21; 93:23-94:7.) For example, a user

                         who searches the name of one app may not see that specific app as

                         the first result in the list returned by Search, but instead may see a

                         competing app whose developer has won the bid in the auction

                         conducted by Apple. (Schiller; Cue Dep. 93:23-94:7; Friedman

                         Dep. 133:2-133:13.)




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III.   THERE IS AN AFTERMARKET FOR iOS APP DISTRIBUTION.

                  125. As set forth in the following paragraphs, there is a relevant antitrust

   aftermarket for app distribution on iOS (the “iOS App Distribution Market”). (Evans.)

   Sections III.A-E discuss the existence of a foremarket for mobile operating systems; Section

   III.F discusses Apple’s market power in the foremarket; and Sections III.G-L discuss

   specifically the existence of the aftermarket.

       A.      There Is a Foremarket for Smartphone Operating Systems.

                  126. There is a relevant two-sided foremarket for smartphone operating

   systems. (Evans.)

                  127. All computing devices, including smartphones, are powered by an

   operating system. (Sweeney; Grant.)

                  128. Before a consumer can even consider purchasing an app, she must

   purchase a device on which to install and run apps. And when a consumer wishes to purchase

   a smartphone, the first choice she must make is which operating system she wants the device

   to run. As discussed below, there are currently only two smartphone operating systems with

   significant market share, each at the core of a separate, differentiated ecosystem of devices,

   accessories, apps and services: Apple’s iOS and Google’s Android OS. (See Sections III.E-F

   below.)

                  129. A “foremarket” is a market where there is competition for a long-lasting

   product and from which demand for a second product is derived. (Evans.) In this case, the

   consumer’s choice of a smartphone operating system determines her demand for apps; apps

   that are created for iOS cannot be used on Android devices and apps created for Android

   cannot be used on iOS devices. (See Section III.J below.)


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               130. There is a foremarket for mobile operating systems, and it is separate from

the aftermarket for app distribution. (Evans.)

                   a.     The market for mobile operating systems is a foremarket because

                          the smartphones running operating systems are long-lasting, and

                          their operating systems facilitate the sale of OS-specific apps by

                          developers to consumers. (Evans.)

                   b.     The market for app distribution is an aftermarket because it

                          “derives” from the operating system market. The existence of the

                          foremarket provides an installed base of smartphone users with a

                          particular operating system for whom developers can create apps.

                          Without an operating system used by consumers, developers could

                          not distribute apps, and consumers could not purchase apps.

                          (Evans.)

               131. To define the foremarket, Dr. David Evans, Epic’s expert in antitrust

economics, performed a standard test to determine product market boundaries: whether a

hypothetical monopolist of mobile OSs could profitably impose a small but significant and

nontransitory price increase (SSNIP) above a competitive level, or whether such a SSNIP

would instead result in sufficient switching to an alternative product to make the price

increase unprofitable. (Evans.) This test for market definition, known as the “hypothetical

monopolist test”, or “SSNIP” test, is prescribed by both US antitrust agencies, the Antitrust

Division of the Department of Justice and the Federal Trade Commission. The agencies

typically assume a SSNIP to be in the 5%-10% range. (PX2860, at ‘10.)




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               132. To perform this analysis, Dr. Evans assumed that the average smartphone

operating system costs $30, which is the high end of the reported price range for Microsoft’s

Windows Phone OS. Dr. Evans applied a 10% SSNIP, or an increase of $3, and added it to

the average price of a smartphone globally, excluding China, which is $338. Dr. Evans

demonstrated that it is implausible that a material number of consumers would switch to other

devices in the face of a $3 price increase, or a change from $338 to $341. As a conservative

check on his analysis, Dr. Evans also considered what the results of a 10% SSNIP would be

using a smartphone operating system price of $50, which is the price for the Windows

personal computer operating system, leading to a $5 increase in price. He showed it to be

implausible that such an increase would lead to sufficient switching to make the price increase

unprofitable. (Evans.)

               133. Dr. Evans similarly calculated the effect of an increase in the cost of a

smartphone OS to developers that use the platform. Using Apple’s $99 annual Apple

Developer Program fee, Dr. Evans demonstrated that a SSNIP of 10%, or a $9.90 increase,

would not result in a significant number of developers leaving the iOS platform. (Evans.)

               134. Finally, Dr. Evans applied a SSNIP test concurrently to both sides of the

iOS platform—consumers and developers—and reached the same conclusion. Using

conservative estimates of the number of app developers and their annual fees to Apple, as well

as the number of smartphones in use worldwide excluding China, he estimated that the

average developer price per smartphone, per year, is $0.10. He also estimated that the average

cost to consumers of using a smartphone OS is $15 per year, which is half of the $30 cost for

a smartphone OS that a consumer spends every two years. Combining these costs to $15.10

and applying a 10% SSNIP, Dr. Evans found that if developers and consumers faced a price

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  increase of $1.51, neither group would leave the iOS platform in significant numbers.

  (Evans.)3

        B.    The Geographic Market for Smartphone OSs Is Global Excluding China.

                 135. Smartphones are sold globally, and leading smartphone companies

  introduce their latest flagship models close to simultaneously around the world. (Evans.)

                 136. The market for smartphone OSs excludes China, where government

  policies limit domestic competition. (Evans.)

                    a.      Due to government regulations, Android original equipment

                            manufacturers distribute different versions of their devices, with

                            different sets of pre-installed apps, inside and outside of China.

                            Different versions of the Android operating system, known as

                            “forks”, proliferate inside China. (Evans.)

                    b.      Government regulations, as well as other factors unique to China,

                            also have resulted in the broader digital economy in China being

                            dominated by domestic firms. Most consumers outside China

                            would not consider buying a Chinese smartphone, along with its

                            operating system, because they would not be able to use many

                            relevant apps. (Evans.)

                    c.      Likewise, most developers would not be able to substitute to

                            Chinese smartphones, and their operating systems, for writing apps




    3
      The same results hold using the more conservative $50 price for smartphone operating
systems, leading to a SSNIP of $2.51, which likewise would not cause either developers or
consumers to leave the iOS platform in significant numbers. (Evans.)
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                         because they would not be able to reach most consumers outside of

                         China. (Evans.)

    C.      Consumers Do Not View Other Electronic Devices as Substitutes for
            Smartphones.

              137. There are a number of different types of devices that use apps to make

certain functionality available to consumers. (Sweeney; Grant; Kreiner.)

                  a.     These devices come in a variety of shapes and sizes, and have a

                         variety of qualities and characteristics.

                  b.      For many uses, they are not substitutable.

              138. Among the devices that have been discussed in this matter are:

                  a.     Smartphones;

                  b.     Tablets;

                  c.     Personal Computers (“PCs”) (both Windows and Macs); and

                  d.     Gaming consoles such as the Microsoft Xbox, Nintendo Switch,

                         and Sony PlayStation.

              139. Smartphones are multi-purpose computing devices. Consumers use

smartphones because these devices provide features that consumers want, including being

small and portable, having access to the Internet anytime, anywhere, and providing GPS

location services. (Sweeney; Evans.) Consumers value smartphones because when they are

“away from home”, it may be the “only” device they have with them. (Haun Dep. 170:23-

171:9; Sweeney.) And even if consumers do sometimes carry another device—such as a

laptop—when away from home, smartphones are constantly connected to the Internet, are

handheld and use touch controls that make them far more convenient to use when away from

home, both for playing games and for other purposes. (Haun Dep. 171:25-172:8; Evans.)
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           a.      Developers that do not make smartphone apps will likely be unable

                   to reach consumers who are on the go or who do not have other

                   devices. (Evans.)

        140. Feature phones are not substitutable for smartphones.

           a.      Although they allow users to make phone calls and sometimes

                   provide basic functionality (e.g., send text messages, take pictures),

                   they lack many other qualities of smartphones, including a

                   touchscreen display, a connection to the Internet and the full suite

                   of functionality that requires Internet access.

        141. PCs are not substitutable for smartphones.

           a.      PCs are not mobile. While individuals can carry laptops around,

                   they are materially bulkier and heavier than smartphones.

           b.      PCs require using a keyboard and often a mouse. Mobile devices

                   do not. (See Haun Dep. 171:25-172:8; Sweeney; Grant; Kreiner.)

           c.      To access the Internet for email, search and for other basic

                   applications, PCs typically require access to a wired or WiFi

                   connection. Smartphones can access these applications through

                   cellular networks. (Evans; Sweeney; Grant; Kreiner.)

           d.      Unlike with smartphones, consumers cannot perform functions on

                   PCs while they are “on the go”—for example, taking photographs

                   or ordering a car to pick them up at a specific location. (Evans;

                   Sweeney; Grant; Kreiner.)




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    F.     Apple Has Market Power in the Smartphone Operating System Foremarket.

              152. Apple has market power in the Smartphone Operating System foremarket.

(Evans.)

              153. Apple’s market power is demonstrated by its market share. As noted, iOS

has a 40% share of the Smartphone Operating System Market by revenue as of 2019. (Evans.)

Apple also has a 56% share of revenue for smartphones priced $300 or more as of 2019.

(Evans.)

              154. Several structural features of the Smartphone Operating System Market

confirm Apple’s market power:

                  a.     Apple’s sole competitor in the relevant market is Google’s Android;

                  b.     No new entrant has taken a significant share of revenue in the

                         market since 2008;

                  c.     A new entrant would face significant barriers to entry, such as the

                         cost of developing a smartphone OS, the challenge of convincing

                         phone manufacturers to adopt the OS, the challenge of persuading

                         developers to create software for the platform, and the challenge of

                         persuading consumers locked into iOS or Android to switch to a

                         new smartphone OS;

                  d.     There have been no successful new entrants since 2008, and even

                         well-funded entrants like Microsoft have tried and failed;

                  e.     Apple’s substantial market share has persisted for over a decade.

                         (Evans.)




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  which means that Epic would find it more profitable to pay a 10% increase in price than to

  leave iOS. (Evans.) Dr. Evans also found that Epic was a conservative case, because, unlike

  many iOS apps, Fortnite is already available on other platforms where it can recapture some

  of its revenue. (Evans.)

                 162. Having applied the SSNIP test to both sides of the iOS App Distribution

  Market—consumers and developers—and showing that neither would leave the platform if

  their cost of using the platform increased by 10%, Dr. Evans demonstrated that a hypothetical

  monopolist in the iOS App Distribution Market could profitably increase its prices by a small

  but significant and nontransitory amount. (Evans.)

                 163. Dr. Evans’s finding is confirmed by a consumer survey conducted by

  Professor Rossi. Professor Rossi surveyed 2,595 iOS users who had spent money on in-app

  purchases or subscriptions in the past 30 days. (Rossi.) Of these iOS users, 81% stated that

  they would have made the same in-app purchases if the cost of the digital content had been

  5% higher, or 34.7%. (Rossi.) The remaining 19% of iOS users would have decreased their

  spending by 27%. (Rossi.) Only 1.3% of survey participants reported that they would have

  switched from iOS to a different device if the fees for in-app digital content increased by 5%.

  (Rossi.)

                 164. Dr. Evans used Professor Rossi’s survey data to show that 74% of

  consumers would not have changed their spending behavior at all if their transaction costs

  increased by 5%, while just 0.8% of consumers would have switched to a non-iOS device.4



    4
      Dr. Evans and Mr. Rossi report slightly different numbers because Dr. Evans based his
analyses on only the survey respondents who (1) completed the survey and had positive at-issue
spending, and (2) provided valid answers to the survey questions relevant to his analysis.

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  (Evans.) Because consumers are not particularly responsive to increases in prices for iOS app

  distribution, they have inelastic demand. (Evans.)

                 165. Professor Rossi’s survey confirms Dr. Evans’s finding that consumers

  have inelastic demand for iOS app distribution and would not switch to Android phones or

  limit their in-app purchases even in response to a small but significant and nontransitory price

  increase. (Evans.)

                 166. None of Apple’s four experts who testified on market definition in this

  case conducted a SSNIP test to disprove Epic’s market definition or to prove an alternative

  market definition. (Lafontaine; Hitt; Hanssens; Schmalensee.) Their proposed “digital game

  transactions” market does not focus on the conduct at issue in this case, but on the identity on

  the plaintiff, Epic. (Schmalensee) The challenged conduct in this case is not specific to Epic

  or game apps; it focuses on Apple’s conduct that applies to all iOS app developers and

  potential iOS app distributors. (Evans; Cragg.)

                       a.   If Apple’s market definition were correct, two lawsuits challenging

                            the same conduct by the same defendant could result in different

                            product markets and different findings about the defendant’s

                            liability. (Evans; Cragg.)

                       b.   Dr. Hitt, for example, agreed that if the same allegations were made

                            by match.com, the market definition would be different. (Hitt.)

                       c.   Dr. Schmalensee conceded that if this same lawsuit were brought by

                            a large group of app developers that make different types of apps,



(Evans.) For respondents who would have switched devices, Dr. Evans reports the spending-
weighted shares of respondents. (Evans.)
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                   a.     Accordingly, the same iOS apps appear in storefronts all over the

                          world. (Kosmynka Dep. 26:20-25.)

                   b.     Apple’s developer rules and guidelines apply globally. (Kosmynka

                          Dep. 28:13- 28:17; Schiller.)

                   c.     The DPLA applies globally. A developer signs only one DPLA to

                          distribute apps across the world. (Grant.)

               169. The App Store has country-specific storefronts, which restrict where

consumers can purchase apps and often what they can purchase. (LaFontaine.)

                   a.     These restrictions arise from Apple’s policies. Absent those

                          policies, customers would be free to shift their purchasing activity

                          to alternatives if faced with a price increase in their own country,

                          like stores outside their country or direct distribution. These are

                          conditions of a global market. (Cragg.)

               170. While Apple makes the App Store available in China, the rules imposed

by the Chinese government on Internet activity generally, and app distribution specifically,

result in materially different market dynamics in China than those prevailing in the rest of the

world. (Evans.)

    I.      The iOS App Distribution Market Is a Properly Defined Aftermarket.

               171. Apple’s conduct in the aftermarket is not constrained by competition in

the foremarket for mobile OSs.

               172. As explained above, once a consumer has chosen a smartphone with a

particular OS, he or she is substantially locked in to that OS. For example, there are switching

costs that a user would have to incur to switch to a smartphone with a different OS.


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               173. In addition, competition in the foremarket does not constrain Apple in the

aftermarket because of the lack of information that consumers have concerning the features

and costs of the aftermarket when they make their choices in the foremarket. That is,

consumers commit to a product in the foremarket without a full understanding of the costs and

limitations of the aftermarket. (Evans.)

                  a.      At the time a consumer purchases a mobile phone, they are unaware

                          of how much they will spend on app purchases over the life cycle of

                          the device. Apple does not internally estimate—nor does it provide

                          its consumers with information regarding—the amount of money a

                          consumer spends on apps over the lifecycle of an iPhone. (Fischer

                          Dep. 133:2-5; 133:8-11; 136:9-12; 136:14-17; Cue Dep. 188:2-9;

                          188:11-19; 188:21-22; 188:25-189:3; 189:5; 189:18-22.)

                  b.      The price of app distribution is a small fraction of the price of the

                          mobile phone itself, meaning that even if consumers had better

                          information it would not likely be a major factor in their thinking

                          about which mobile phone (and which mobile operating system) to

                          obtain. (Evans.)

               174. Apple executives are unaware of any consumer that switched away from

an iPhone because of an increased cost of an app or an increased cost of an in-app item.

                  a.      Mr. Cue is not “aware of anyone who has switched from an iPhone

                          to an Android because they perceived there to be some difference in

                          the pricing of apps across the two platforms”. (Cue Dep. 248:13-

                          20.)

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    J.      App Stores on Other Mobile Operating Systems Are Not Substitutes for the
            App Store.

               177. As noted above, there are effectively only two mobile operating systems:

Google’s Android OS or Apple’s iOS, which account for nearly 100% of the worldwide

mobile OSs. (Evans; Statista, “Mobile Operating Systems’ Market Share Worldwide from

January 2012 to January 2021”, https://www.statista.com/statistics/272698/global-market-

share-held-by-mobile-operating-systems-since-2009/.)

               178. iOS is used by Apple for the iPhone. (PX2573; Fischer; Sweeney; Grant.)

Apple does not license iOS to any other party. (PX2863, at 334; Fischer.)

               179. Google licenses the Android OS to third parties. (Grant; Evans.) The firms

that make smartphones are called “original equipment manufacturers”, or “OEMS”.

(PX2571; Grant.) OEMs that make Android phones license the Android OS and related

services from Google. (PX2571; Grant.) Among the major Android OEMs are Samsung,

Huawei and Xiaomi. Google itself makes a mobile device that uses the Android OS.

(PX2571; Grant; Evans.)

               180. Together, Apple and Google’s dominance in the smartphone operating

system market give them a duopoly (a market defined by two primary participants). There is

a strong presumption in the economics of industrial organization that where, as here, a market

is a duopoly, both participants have substantial market power. (Evans.)

                  a.      Apple’s iPhone commands a significant share of the smartphone

                          market. In 2019, Apple accounted for 40% of total revenues in the

                          global smartphone market, excluding China. (Evans.)




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               181. Android and iOS apps are not substitutes for each other. (Sweeney;

Grant.) As noted above, switching costs limit users’ ability to substitute between iOS and

Android. (See Section II.B above.)

               182. Android apps do not run on iOS devices. (Cue Dep. 63:5-6; 63:8-9.)

               183. No Android app is distributed through the Apple App Store. (Fischer Dep.

40:4-8.)

               184. iOS apps do not run on Android devices and are not sold in the Google

Play Store on Android. (Fischer Dep. 38:3-5; Grant.)

    K.      Web App Distribution is Not a Substitute for Native App Distribution.

               185. “Native apps” are those written for a particular platform and directly

downloaded onto a device. (Fischer; Grant.) On iOS, Apple prohibits users from

downloading native apps through any channel except the App Store. (Fischer Dep. 143:5-13;

Grant.)

               186. Under limited circumstances, Apple permits developers to offer web apps

and streaming apps. A web app is an app that is available from a website and utilized on a

device through a browser. (Cue Dep. 171:21-23.) Whereas native apps “go directly to the

home screen” or “app library” of the device, web apps do not. (Kosmynka Dep. 140:22-24.)

Should a customer “want to have [a web app] persist on the home screen”, she must manually

add an icon to the home screen that links to the website where the web app is available.

(Kosmynka Dep. 140:25-141:2.)

               187. Web apps have limited functionality compared to native apps. Native

apps are “faster”, “use less memory” and “can take advantage of native graphics libraries in a

way that is either not available or would have to be shoehorned in a web app or a different


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kind of application”. (Forstall Dep. 81:17-24; see also Shoemaker Dep. 249:13-18; Grimm

Dep. 254:1-15, 258:18-259:19.)

               188. Web apps have memory limitations. Whereas native apps can use large

portions of an iPhone’s gigabytes of memory, web apps are limited to 50 MB of cache

memory. This restriction severely limits the size of web apps and requires information to be

overwritten frequently. (Grant; Kosmynka Dep. 145:1-3; 145:5-7; 146:1-2; 146:4-5; 146:7-9;

146:11; Cue Dep. 175:12-21; Evans.)

               189. Browsers need to call on APIs to enable certain functionalities. The APIs

available through web browsers are different from, and more limited than, the APIs available

to native apps. (Kosmynka Dep. 141:3-5; 141:7-10.)

               190. WebKit is Apple’s web browser engine. It is the only web browser engine

Apple allows on iOS and is therefore the core software component of all browsers available

on iOS. (PX56, § 2.5.6.) WebKit is responsible for rendering websites and, therefore, web

apps on iOS.

                  a.      Apple prohibits developers from modifying WebKit or from adding

                          features to Apple’s WebKit to enable additional features. (Id.

                          § 4.7.)

                  b.      WebKit does not support certain web APIs available in other web

                          browser engines. Accordingly, web apps on iOS do not have

                          certain functionalities available in web apps on other OSs.

                          (Kosmynka.)

                  c.      Specifically, WebKit does not support Apple’s PushKit API, which

                          is Apple’s framework that enables push notifications. (Kosmynka

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                          Dep. 141:3-15.) WebKit also does not support ARKit, Apple’s

                          augmented reality framework. (Kosmynka Dep. 141:11-22;

                          142:11-20.)

                  d.      Other limitations of WebKit include that users cannot lock the

                          screen orientation in web apps; web apps cannot (even with user

                          permission) get access to private information like contacts, GPS

                          location or native social apps; and Apple’s Siri assistant does not

                          recognize web apps, even if they are saved on the user’s home

                          screen. (Grant.)

              191. Software is composed of a series of commands or code written in one of

several languages by humans. (Sweeney; Grant.) The most basic software for any app is

referred to as its “source code”. (Sweeney; Grant.)

                  a.      For source code to be understood by machines, it must be translated

                          into “machine readable code”. (Grant.)

                  b.      For purposes of this case, that translation can occur in one of two

                          ways: the human readable source code can be “compiled”, or it can

                          be “interpreted”. (Grant.)

                  c.      When source code is compiled, it is translated directly by the OS

                          into the machine readable language before the app (or software

                          program) is run. (Grant.)

                  d.      When source code is interpreted, it is not translated into machine

                          readable language directly; instead, it goes through an “interpreter”.

                          (Grant.)

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               200. Users typically pay a separate fee to subscribe to these services. (Fischer;

Evans.) For many services, users must pay this fee in addition to purchasing individual

games.

               201. When a user requests an app to perform a particular function, such as

gameplay movements, playing or pausing a show or piece of music, the user input is

transmitted from the displaying device—the mobile phone, for instance—back to the server.

(Grant.)

               202. This “round trip” for the video or audio feed and user input reacting to it

can lead to time delays, or “latency”. (Grant; Cue Dep. 180:15-18.)

                  a.      Latency is “[u]sually measured in milliseconds . . . [F]or things like

                          gaming, it’s really important because obviously if you’re moving

                          around in a game, if it’s delayed, it can significantly impact the

                          experience of the game”. (Cue Dep. 180:19-23; Grant.)

                  b.      Cloud-based gaming that is streamed inherently has more latency

                          than playing a game locally, which can result in delayed interaction,

                          competitive disadvantages and a poorer gaming experience.

               203. Even under ideal conditions, streaming services have severe limitations

that make them poor substitutes to native apps.

                  a.      As just noted, streaming services are vulnerable to latency issues.

                  b.      Streaming services are not able to host all of their users at one time

                          due to limited server capacity; users who are not able to access the

                          service may need to wait seconds, minutes or more, or be denied

                          access entirely. (Grant.)

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                   c.      The cost of streaming services is high, leading to limited scalability.

                           (Grant.)

                   d.      The cost of streaming is high, requiring users to pay often in the

                           form of subscription fees. (Grant.)

                   e.      Craig Federighi, Apple’s Senior Vice President of Software

                           Engineering, described streaming services as “not very successful”.

                           (Federighi Dep. 165:10-15.)

               204. Streaming services are particularly poor substitutes for iOS apps. That is

because Apple, under its general prohibition on a “store within a store”, does not allow on the

App Store any apps that themselves offer a selection of third-party streamed apps. (PX56, at

§ 3.2.2. (prohibiting apps from “[c]reating an interface for displaying third-party apps,

extensions or plug-ins similar to the App Store or as a general interest collection”).)

                   a.      In addition, Apple, under its general prohibition on a “store within a

                           store”, does not allow on the App Store any apps that themselves

                           offer a selection of third-party streamed apps. (PX56, at § 3.2.2.

                           (prohibiting apps from “[c]reating an interface for displaying third-

                           party apps, extensions or plug-ins similar to the App Store or as a

                           general interest collection”).)

               205. In September 2020, Apple modified its App Store Review Guidelines to

allow streaming apps, but only if each streamed app is made available as a separate app on the

App Store. (See PX56, at § 4.9.1. (“Each streaming game must be submitted to the App Store

as an individual app so that it has an App Store product page, appears in charts and search, has




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                  a.      The Apple Developer Agreement establishes certain basic terms

                          governing the developer account’s relationship with Apple.

                          (PX2618 (Developer Agreement).)

                  b.      A second agreement, the Developer Program License Agreement

                          (“DPLA”), governs the terms and conditions of distribution through

                          the App Store, and is itself governed by the laws of the United

                          States and the State of California. (PX2481 (DPLA).)

                  c.      To distribute a free app, a developer must enter into Schedule 1 of

                          the DPLA. (PX2481 (Schedule 1).)

                  d.      To distribute a paid app or have any in-app purchase offerings, a

                          developer must enter into Schedule 2 of the DPLA. (PX2621

                          (Schedule 2).)

               217. The Apple Developer Agreement and DPLA are “click-through”

agreements; they are non-negotiable. (Okamoto 284:7-13, 284:15; Schiller; Sweeney)

               218. Apple controls distribution of iOS apps through technological means by

requiring that apps “be validated and signed by an Apple-issued” certificate. (Federighi 364:2-

10.)

                  a.      All third-party apps must be validated and signed using an Apple-

                          issued certificate. (PX461 at -381; see also Rubin.)

                  b.      If a developer is removed from the Apple Developer program, then

                          previously held certificates are no longer valid. (Haun Dep. 40:12-

                          25.) Instead, when a user launches an application, the operating

                          system would communicate “the state of the certificate” and give

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                           “the customer . . . opportunities to either run or not run the

                           application.” (Haun Dep. 40:12-25.)

                   c.      Apple offers a special type of certificate for businesses seeking to

                           write and distribute in-house applications for use within their

                           organization. (Federighi Dep. 236:25-237:11; see also PX461

                           at -382.). Businesses apply to the Apple Developer Enterprise

                           Program for an enterprise signing certificate. (Id.) With the

                           enterprise signing certificate, the business is able to sign apps

                           distributed and managed by that enterprise for its employees.

                           (Federighi 236:25-237:11.) Apps that are part of Apple’s

                           Enterprise Program can be distributed on iOS devices without going

                           through the App Store. (Federighi Dep. 224:6-13, Mickens.)

                   d.      Apple also makes available special types of certificates for the

                           purpose of developing and testing iOS apps prior to wider

                           distribution. Development or ad hoc certificates allow a developer

                           to distribute an iOS app to a limited number of pre-approved

                           devices. For instance, if the developer wishes to beta test its app

                           with a larger user base (up to 10,000 test devices), then it must use

                           Apple’s TestFlight service. (Federighi Dep. 224:6-13; PX2481

                           (DPLA) § 7.4.)

               219. The DPLA requires developers’ agreement that Apple’s App Store be the

only channel for commercially distributing their apps on iOS through a number of unlawful

restrictions on app distribution.

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                 a.     Section 3.2(g) of the DPLA provides that “Applications for iOS

                        Products . . . may be distributed only if selected by Apple (in its

                        sole discretion) for distribution via the App Store”. (PX2481

                        (DPLA) § 3.2(g).)

                 b.     Section 3.3.2 of the DPLA provides that apps may not download or

                        run executable code that, among other things, “creates a store or

                        storefront for other code or applications”. (PX2481 (DPLA)

                        § 3.3.2.)

                 c.     Section 7.6 of the DPLA provides that developers must “agree not

                        to distribute [their apps] for iOS Products . . . to third parties via

                        other distribution methods” than those expressly permitted under

                        the DPLA. (PX2481 (DPLA) § 7.6.)

              220. When developers sign the DPLA, they further agree to comply with the

App Review Guidelines. (Schiller; PX2481 (Schedule 1) § 6.3; PX2621 (Schedule 2) § 7.3.)

              221. Apple published its first set of App Review Guidelines in 2010. (PX56A;

Schiller.)

                 a.     Prior to 2010, Apple did not make any guidelines available to third-

                        party developers to explain the criteria it used for app review.

                        (PX2316; Schiller.)

                 b.     The 2010 version of the Guidelines make it clear that Apple

                        anticipated that the Guidelines would change from time to time.

                        (PX56A; Kosmynka Dep. 39:2 to 39:6; Kosmynka Dep. 40:2 to

                        40:17)

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                 c.     The App Review Guidelines have gone through a number of

                        iterations. (PX56; PX56A; PX2030; PX2139; PX2145; PX2158;

                        PX0077; Kosmynka Dep. 39:2-39:6; 40:2 to 40:17; Schiller.)

                 d.     Apple periodically revises the App Store Review Guidelines as

                        business practices change. (Schiller.)

             222. The Guidelines contain a number of prohibitions that constrain

competition and innovation. (Sweeney)

                 a.     The Guidelines prevent competing app stores from being distributed

                        on iOS. (PX0056 (App Review Guidelines) § 3.2.2(i); Sweeney;

                        Fischer.) This provision states: apps may not “create[e] an

                        interface for displaying third-party apps, extensions, or plug-ins

                        similar to the App Store or as a general-interest collection”.

                        (PX0056 (App Review Guidelines) § 3.2.2(i).)

                 b.     The Guidelines prevent apps that compete directly with Apple apps.

                        Developers are prohibited from “[c]reat[ing] an app that appears

                        confusingly similar to an existing Apple product, interface (e.g.

                        Finder), app (such as the App Store, iTunes Store, or messages) or

                        advertising theme.” (§ 5.2.5.)

                 c.     The Guidelines prohibit any competing payment processing

                        solution from being included within an app. (PX0056 (App Review

                        Guidelines) § 3.1.1.)




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     B.      Apple Has 100% Market Share in the Market for iOS App Distribution.

                223. Apple has nearly 100% share in the market for iOS app distribution.

(Schiller, Evans.)

                224. Apple has the power to set the price and control output in the market for

iOS app distribution. (Sweeney, Schiller.)

                225. Apple does not license iOS to any other mobile device maker. (PX2863,

at 334; Schiller.)

                226. The App Store is preloaded onto the home screen of all iOS devices.

(Fischer Dep. 40:15-22.)

                     a.    The App Store cannot be deleted from an iPhone. (Fischer Dep.

                           41:19-25.)

                227. Other apps also come pre-installed in the iPhone—but all such apps are

made by Apple, rather than third-party developers. (Fischer Dep. 235:14-17.)

                228. With the exception of Enterprise Program apps (see Section X.I below) or

jailbroken iOS devices, the App Store is the exclusive means by which iOS users download

native iOS apps. (Sweeney, Okamoto Dep. 72:8-12; Fischer Dep. 143:5-13.)

                229. Non-commercial and other distribution channels of apps on iOS do not

provide competitively meaningful alternatives to distribution through the App Store.

                     a.    Apple allows limited distribution outside the App Store for testing

                           purposes (“Test Flight”) and for internal distribution within a firm

                           or institution (the “Enterprise Program”), but these distribution

                           channels cannot be used to reach the broad iOS user base.

                           (Sweeney; Federighi Dep. 224:6-13; PX0072 at ‘5601-602.)


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                   b.      Apple phones are sometimes “jailbroken” by users, meaning that

                           users remove the protections within iOS again installation of third

                           party apps through channels other than the App Store. (Shoemaker

                           509:13-25; PX871) Apple objects to jailbreaking of phones, makes

                           efforts to prevent jailbreaking, and will not warrant jailbroken

                           devices. (Okamoto Dep. 278:7-12.) Because jailbreaking is a

                           demanding process with negative implications for the user, not

                           many users jailbreak their phones, and distribution of apps only to

                           “jailbroken” devices is therefore not a meaningful commercial

                           alternative for developers. (Sweeney, Evans.)

    C.      The App Store’s Profit Margins Are Extraordinarily High.

                230. One indication of market power in the relevant market is the sustained

existence of higher profit margins than would exist in a competitive market. (Evans; Cragg;

Schmalensee.)

                   a.      High profit margins suggest a company’s ability to charge a price

                           far in excess of costs.

                   b.      This can indicate lack of competition in a market.

                   c.      In a competitive market, companies would vie for consumer dollars

                           through price competition.

                   d.      In a market with robust price competition, prices trend downwards,

                           to a level closer to a firm’s costs.

                   e.      When there is no price competition, margins can remain high.




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              240. Apple still does not consider costs in setting its commission to this day.

(Cue Dep. 140:10-15; 140:17-21; 140:24-141:3; 141:5-10.)

                  a.     The App Store Director of Business Management, Carson Oliver,

                         testified that while he has been “involved in discussions about

                         changes to the commission structure for IAP on the App Store”, he

                         does not recall “any discussion about the costs associated with

                         running the App Store, the costs associated with processing IAP” or

                         “any cost component”, nor can he recall being “asked to do any

                         kind of financial analysis pertaining to costs on the App Store as it

                         relates to changes to the commission structure”. (Oliver Dep.

                         272:8-17; 280:5-23.)

              241. After this lawsuit was filed, Apple lowered its commission structure for

“small business owners”. (Schiller; Fischer 196:23-197:17)

                  a.     In late 2020, Apple announced the App Store Small Business

                         Program, which entitles qualifying developers—those earning no

                         more than $1 million in total proceeds (sales net of Apple’s

                         commission and certain taxes and adjustments) during the 12 fiscal

                         months occurring in the prior calendar year—to “a reduced

                         commission of 15%”. (PX2621 (Schedule 2) § 3.4(c).)

                  b.     Developers whose proceeds exceed $1 million in proceeds will be

                         charged the “standard commission” for the remainder of the

                         calendar year, but may re-qualify for the program in subsequent

                         calendar years if they fall below the $1 million threshold. (Id.)

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                   c.      The reduction in commissions represents a tiny fraction of Apple’s

                           commissions; for that reason, Apple expects “that the App Store

                           will remain profitable notwithstanding the implementation of the

                           Small Business Program”. (Cue Dep. 134:4-134:6; 134:8.)

               242. Apple has raised its prices at least twice: (i) in 2009, when it imposed the

requirement that all in-app purchases of digital content be handled through IAP, and that such

purchases be subject to a 30% commission; (ii) and in 2011, when it decided to unilaterally

impose a new requirement that developers who sold in-app subscriptions would always have

to use IAP and pay a 30% commission. (PX2665; see Section II.F above (discussing price

increase with subscriptions).)

               243. Apple’s 30% commission is not akin to the commission charged by video

game consoles, for example. Video game consoles operate under a radically different

business model than smartphones. (Schmalensee; Evans.) Specifically, in those markets,

console manufacturers sell their hardware at or below cost to ensure that a sufficient number

of consumers will purchase the console and be reachable by developers. Console makers do

this because game development for consoles is often a lengthy and expensive process—far

more expensive than development for mobile platforms—and the console makers need to try

to assure developers that there will be a large enough user base for it to be worth the

developers’ investment in developing a game for use on the console, which often takes years

to complete. The console makers’ commission rates are then the primary source of profit that

they receive across the entire ecosystem. (Evans.)




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V.       APPLE’S CONDUCT CAUSES ANTI-COMPETITIVE EFFECTS IN THE iOS
         APP DISTRIBUTION MARKET.

         A.      Apple’s Conduct Foreclosed All Manners of Distribution of Apps on iOS by
                 Third Parties.

                    247. Where OS developers did not limit third party distribution on their OS,

     they saw entry by multiple online stores, which operated alongside direct distribution.

                        a.      In Windows, where Microsoft has not imposed limitations on app

                                distribution by third parties, multiple third-party app stores offer

                                distribution of apps, alongside direct distribution by multiple

                                developers. (Evans.)

                        b.      In macOS, where Apple itself has not imposed limitations on app

                                distribution by third parties, multiple third-party app stores offer

                                distribution of apps, alongside direct distribution by multiple

                                developers. (Federighi Dep. 72:5-12; Evans, Sweeney.)

                        c.      Several app stores served older mobile operating systems, including

                                Symbian, Blackberry and Windows Mobile. (Evans.)

                        d.      Dozens of app stores, alongside direct distribution, are used by

                                developers of Android apps in China, where there is no limitation

                                on distribution of Android apps. (Evans.)

                    248. Apple recognizes that given the option, many developers would prefer to

     distribute their apps outside the App Store, either through other stores or directly.

                        a.      Many developers of Mac apps choose to distribute their apps

                                outside the Mac App Store. (Federighi Dep. 72:5-12.) Those




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               252. But for Apple’s conduct, therefore, competing app stores would have

entered the iOS App Distribution Market, alongside the option of direct distribution of apps,

offering a competitive alternative to the App Store. (Evans.)

    B.      Apple’s Conduct Increases the Price of Apps to Consumers.

               253. Competition resulting from the elimination of artificial barriers generally

results in increased productive efficiency and consumer welfare. (Evans.)

               254. To examine the effect on competition in the iOS distribution market,

Dr. Evans modeled entry of two new stores, each capturing 25% of the market (with Apple

retaining a 50% market share). Under these assumptions of limited entry, and assuming the

two entrants, rather than competing vigorously over price, would earn a profit margin of over

45%, Dr. Evans found that market-wide app store commissions would decline to a

commission rate of 15.6%; the average price of apps (assuming a 50% pass-through rate)

would decline by 6.5%; developers’ revenue would increase by 26.5% per transaction; and

output would expand by 16%. Dr. Evans further found that under his model, both the new

entrants and Apple would be incentivized to spend hundreds of millions more than Apple does

today on improving quality of app distribution. (Evans.)

               255. Epic’s EGS charges a 12% commission for app distribution, as well as a

12% commission for in-app purchases when the app developer chooses to use Epic direct

payment for in-app purchases. Developers of apps distributed through EGS can also choose

to use a competing payment solution. (Sweeney, Allison.)

                  a.      Absent Apple’s restrictions, Epic would enter iOS and offer

                          developers an alternative distribution platform at the same 12%




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                           commission rate. (Sweeney) Developers may decide to pass on

                           some of those savings to consumers.

                   b.      In addition, if EGS gains traction on iOS, Apple may be forced to

                           lower the price it charges for distribution through the App Store.

                           (Sweeney.) For example, shortly after EGS entered the PC and

                           Mac space, Steam, an incumbent app store on these OSs, lowered

                           its commission to certain developers from 30% to 20%. (Sweeney.)

                256. Developers pass on the cost of Apple’s commission to consumers.

(Evans.) Specifically, some developers currently charge consumers more on iOS than they

charge through other distribution channels unencumbered by Apple’s 30% commission, “to

help offset the delta” of iOS’s 30% fee. (Gray Dep. 177:19-178:2; Fischer Dep. 94:6-11; see

also PX2136 (“Due to the 70/30 revenue split, [Pandora] will be charging $12.99 on iOS at

launch and the service will be available for $9.99 on web.”).)

                   a.      This price differential exists even between iOS and other Apple

                           platforms. For example, CBS All Access charges $6.99 on iOS,

                           where Apple’s fee is 30%, but only $5.99 on Apple TV, where

                           Apple’s fee is 15%. (PX533 at 680; Gray Dep. 178:10-15; 178:16-

                           21; 179:5-9; 177:2-4; 177:10-13; 177:15-17.)

    C.        Apple’s Conduct Harms Innovation.

                257. Apple’s conduct harms innovation in both app distribution and app

development.

                258. Apple has recognized that the high costs it imposes on developers harm

innovation.


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                  d.      Apple blocked competing app stores, including EGS. (Sweeney.)

                  e.      Apple blocks the direct distribution of apps.

               260. Finally, Apple’s conduct harms innovation by insulating the App Store

from competitive pressures. As a result, Apple has been able to offer poor services to

developers with impunity. Several examples follow.

               261. Developers are not satisfied with the search and discoverability

functionality of the App Store, as Apple has been slow to adopt innovations in search

technologies. (Sweeney; Evans.)

                  a.      Discoverability refers to the way in which users can find apps in the

                          App Store and how developers can make their apps known to, and

                          discoverable by, users. (Evans.)

                  b.      One way for apps to be discovered on iOS is through Apple’s

                          “charts”, which list the most popular apps in certain categories.

                          (Fischer Dep. 203:13-204:14.)

                  c.      “Chart gaming” refers to a form of fraud whereby developers can

                          “manipulat[e] . . . inputs to the charting level for them to appear

                          more popular”. (Friedman Dep. 137:9-137:17; see also Fischer

                          Dep. 203:13-204:14.)

                  d.      Mr. Friedman, whose team was tasked with identifying instances of

                          “chart gaming” in the App Store, testified that Apple’s discovery

                          features do little to help users and developers, as such features are

                          fraud-ridden: “[O]ur App Store charts aren’t really a discovery tool

                          at all. Yes, they do drive some conversions, but that is (I suspect

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                         specifically for “Dropbox” in the App Store. Instead, Apple had

                         “manually boosted” its own Files app to “the top for the query

                         ‘Dropbox’”. (PX52; Okamoto Dep. 387:18-388:1; see also Fischer

                         Dep. 212:17-212:21.)

              267. Apple does not apply some of its own rules to its own apps.

                 a.      In 2019, App Review rejected the LinkedIn app “for using the same

                         language on their subscription call to action button that Apple uses

                         in our own apps”. (PX857; Pruden Dep. 373:14, 373:23-373:25.)

                         In response to complaints by LinkedIn that it was not permitted to

                         engage in marketing that was seen for Apple’s own apps, Shaan

                         Pruden, Senior Director of Developer Relations, wrote, “Developers

                         (latest LinkedIn) cannot fathom why our apps are permitted to do

                         things they are not . . . .” (PX858; Pruden Dep. 374:2-24.)

                 b.      Amazon also “complain[ed] about this”. (PX858; Pruden Dep.

                         377:11-377:12, 378:7-378:21, 379:5-379:9; 379:13-379:17.)

              268. Apple has historically rejected apps that provide “embedded games”

because they are “not allowed” under the Guidelines. (PX112; Shoemaker 177:2 to 177:8.)

                 a.      In 2019, Apple announced Apple Arcade, a subscription games

                         service. Regarding this service, after his departure from Apple, Mr.

                         Shoemaker commented, “[w]ith the new Apple Arcade

                         announcement, it is making available a type of app that Apple has

                         consistently disallowed on the store. But now it is OK for them to




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                          make this app available, even though it violates the existing

                          guidelines?” (PX99.)

                  b.      Apple also repeatedly rejects similar features and functionality in

                          other developers’ gaming apps.

    E.      Apple’s Conduct Increases Barriers to Switching by Preventing the
            Development of Effective Middleware.

               269. Middleware is any technology that reduces the cost of a user switching

between operating system platforms, whether completely or by mixing-and-matching devices

with different operating systems, or that reduces the cost for developers of developing apps

compatible with multiple operating systems. (Athey.)

               270. Multi-platform app stores (i.e., app stores that are available across

multiple platforms, such as iOS and Android) could be an important form of middleware.

(Athey; Shoemaker Dep. 66:1-24, 67:6-9.)

                  a.      For example, a multi-platform store could recognize a user’s

                          purchases across platforms, which would allow the user to purchase

                          an app once and use it on all of the platforms that are compatible

                          with the multi-platform store. (Athey.)

                  b.      A multi-platform store would also allow parents to set various

                          parental controls across a set of different devices across several

                          operating systems. (Athey.)

                  c.      In turn, multi-platform stores could allow parents to purchase

                          lower-cost smartphones or tablets for their children outside of the

                          operating system(s) of the parents’ devices, because parents would

                          be better able to interact with their children’s devices even though
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way Apple’s iPhone can, developers tend to get in line—no matter how much they don't

want to.” (PX883; Forstall Dep. 196:12-24.)




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VI.    APPLE HAS AND EXERCISES MONOPOLY POWER IN THE MARKET FOR
       PAYMENT SOLUTIONS FOR ACCEPTING AND PROCESSING PAYMENTS
       FOR DIGITAL CONTENT PURCHASED WITHIN AN iOS APP.

       A.     There is a Separate Aftermarket for Payment Solutions for Accepting and
              Processing Payments for Digital Content Purchased Within an iOS App
              (“iOS In-App Payment Solutions Market”).

                 275. In-app purchases permit app developers to offer extra content for purchase

  by app users, such as an extra level in a game or enhanced features in a fitness app, without

  the user having to leave the app to make the purchase. (Sweeney; Ko; Forstall Dep. 252:24-

  253:11.)

                 276. In-app payment solutions are not substitutable with payment solutions for

  handling transactions outside of the app. (Sweeney; Evans.)

                 277. The goal of in-app purchases is to offer users transactions that are as

  frictionless and as easy as possible. (Sweeney; Hitt.)

                 278. Even where developers offer the same digital content for sale both in-app

  and outside the app, completing such sales outside the app—whether through a web browser

  on an iOS device or on a separate device—introduces substantial friction by requiring the user

  to go through multiple steps, including: leaving the app; identifying the alternative platform

  where relevant purchases can be made; navigating to the relevant website or app on that

  alternative platform; logging in to the user’s account; locating the content the user is

  interested in purchasing; entering payment credentials (typically required at least for an initial

  purchase); logging out of the alternative platform; and going back into the app. (Sweeney;

  Allison; Ko; Hitt.)

                 279. Accordingly, developers do not view payment processing solutions

  outside of iOS apps as interchangeable with in-app payment processing solutions.


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                  a.     Convenience is particularly important for in-app purchases, many of

                         which are small or time-sensitive. An extended delay may cause

                         the consumer to change their mind. Consumers are less likely to

                         make purchases if they have to leave the app to do so, meaning in-

                         app purchases lead to more transactions and more revenue for

                         developers. (Sweeney; Ko.)

                  b.     Consumers are more likely to stop engaging with an app if they

                         have to leave the app to make a purchase. Therefore, developers

                         view being able to offer in-app purchases as essential. (Sweeney,

                         Ko.)

              280. Multiple third party payment processors offer in-app payment processing

solutions for app developers, including Stripe, Amazon Pay, Braintree and Square. (Ko;

Fischer Dep. 101:18-25, 102:8-103:6.) These online payment processors compete with each

other along a number of dimensions, including their ability to accommodate varying consumer

payment preferences, service multiple geographies, improve user interfaces, and deliver

insights from data on payment processing to provide business insights and prevent fraud.

(Ko.)

              281. Apple requires developers to use Apple’s payment processing interface,

known as the In-App Purchase (“IAP”) API, for all in-app purchases of digital goods within

iOS apps. (PX56 (App Review Guidelines) § 3.1.1.)

              282. Because transactions outside the app are poor substitutes for in-app

purchases, a hypothetical monopolist could profitably impose a SSNIP on fees for payment




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processing solutions used to execute in-app purchases of digital content within iOS apps.

(Evans.)

                  a.      In fact, Apple is such a monopolist and profitably charges an order

                          of magnitude more for payment processing services for in-app

                          transactions on iOS involving digital goods than would competing

                          providers of payment solutions. (Ko; Evans.)

                  b.      Dr. Evans performed a SSNIP test by considering a situation in

                          which Apple did not impose its payment processing restrictions,

                          and developers could choose between IAP and their own payment

                          processing solutions. (Evans.)

                  c.      He assumed a 5% average fee for non-IAP payment processing

                          solutions chosen by developers. He then considered what would

                          happen if developers accounting for just 20% of in-app transactions

                          would choose to use their own payment processing solutions, with

                          those accounting for the remaining 80% of in-app transactions using

                          IAP at Apple’s 27.7% effective commission rate. That would

                          decrease the average commission rate in the market to 23.2% (the

                          weighted average of 5% and 27.7%). (Evans.)

                  d.      By eliminating that choice for developers, the hypothetical

                          monopolist would maintain its 27.7% average commission, which is

                          19.4% higher—well above a SSNIP. (Evans.)

               283. The relevant geographic market is global, with the exception of China.

(Evans.)

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     D.     Apple Has and Exercises Monopoly Power in the iOS In-App Payment
            Solutions Market.

               293. Apple conditions developers’ access to a billion iPhone users through the

App Store on developers using Apple’s IAP for all in-app transactions involving the sale of

digital content.

                   a.     Section 3.3.3 of the DPLA provides that without IAP or “Apple’s

                          prior written approval”, apps may not “provide, unlock, or enable

                          additional features or functionality through distribution mechanisms

                          other than the App Store”. (PX2481 (DPLA) § 3.3.3.)

                   b.     Section 3.1 of Schedule 2 provides that “Apple shall be solely

                          responsible for the collection of all prices payable by End-Users for

                          Licensed Applications acquired by those End-Users under this

                          Schedule 2”. (PX2621 (Schedule 2) § 3.1.)

                   c.     Correspondingly, Section 3.4 of the DPLA forbids developers from

                          “issu[ing] any refunds to end-users”, instead providing that “Apple

                          may issue refunds to end-users in accordance with the terms of

                          Schedule 2”. (PX2481 (DPLA) § 3.4.)

               294. The Guidelines likewise restrict developers’ in-app payment solution

options.

                   a.     Guideline 3.1.1 contains the requirement that apps must use Apple’s

                          IAP—and no other payment processor—to process payments for in-

                          app purchases of digital content. It provides that “[i]f you want to

                          unlock features or functionality within your app, (by way of

                          example: subscriptions, in-game currencies, game levels, access to
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                          premium content, or unlocking a full version), you must use in-app

                          purchase. Apps may not use their own mechanisms to unlock

                          content or functionality, such as license keys, augmented reality

                          markers, QR codes, etc.” (PX56 (App Review Guidelines) § 3.1.1.)

                  b.      Guideline 3.1.1 also prohibits developers from linking to alternative

                          payment processing solutions outside the app: “Apps and their

                          metadata may not include buttons, external links, or other calls to

                          action that direct customers to purchasing mechanisms other than

                          in-app purchase.” (PX56 (App Review Guidelines) § 3.1.1.)

              295. Apple also requires developers using IAP to choose among Apple’s pre-

defined “price tiers”. (Fischer Dep. 266:12-15.)

                           (a)    The price tiers in U.S. dollars all end in $0.99; the highest

                                  tier is $999.99. (Ko; Fischer Dep. 260:18-261:4, 266:12-

                                  15; PX2202.)

                           (b)    When a developer selects a price tier for one currency,

                                  Apple requires the developer to use the same tier for all

                                  foreign currencies. (Ko; Fischer Dep. 266:12-15; PX2202.)

                           (c)    Apple changes the foreign currency prices in each tier from

                                  time to time at its sole discretion. (Ko; Fischer Dep.

                                  266:12-15; PX2202.)

              296. Consistent with these contractual restrictions, Apple has prevented the

implementation of other payment solutions. (Sweeney)




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VII.    APPLE HAS TIED TOGETHER TWO DISTINCT PRODUCTS—ITS APP
        DISTRIBUTION SERVICES AND ITS IN-APP PAYMENT SOLUTIONS.

                 298. Apple is a monopolist in the market for iOS app distribution. (Evans; see

  Part IV above.)

                 299. iOS app distribution is a separate product from payment processing and

  related services; but for Apple’s restrictions discussed above and below, developers of apps

  offering in-app purchases of digital goods could and would utilize payment processing and

  related services from third parties such as Stripe, Amazon Pay, Braintree and Square, or

  develop their own payment solutions using such services, just as developers of iOS apps

  offering in-app purchases of physical goods do today. (Evans; see Section IV.A above.)

                    a.      In fact, on platforms other than iOS, many app stores without

                            market power do not tie distribution services and payment

                            solutions. For example, EGS, itch.io, GetJar, SlideME, ONE Store,

                            and Aptoide all allow developers to choose their own payment

                            solutions. (Evans.)

                 300. Apple uses its monopoly power in iOS app distribution to coerce

  developers of iOS apps to use Apple’s payment solution, namely the IAP system, for all in-

  app transactions involving digital goods. (PX2481 (DPLA) § 3.3.3); PX0056 (App Review

  Guidelines) § 3.1.1; Evans.)

                 301. Apple contractually ties together app distribution and payment solutions

  for in-app purchases of digital goods through the DPLA and App Review Guidelines, which

  condition distribution through the App Store on the use of Apple’s IAP. (Sweeney; see

  Section VI.D above.)



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               318. Developers cannot initiate a refund to customers for App Store IAP

purchases, and customers are required to contact Apple for a refund. (Sweeney; Ko.) Apple,

in turn, “just provides [to the developer] the transaction ID and the fact that the transaction ID

has been refunded” after the fact (Gray Dep. 147:8-12), and “Apple ha[s] the right to retain

the commission” when it offers such refunds. (Gray Dep. 134:20-22; 134:24-135:1.)

               319. Developers are dissatisfied with the App Store’s refund process. (Gray

Dep. 128:8-13, 128:15-25.) While Apple controls the payment solution for the transaction

and all post-purchase interactions with the customer, Apple employees have acknowledged

that “we have almost no insight into the complex IAP issues that customers present to us.”

For example, Apple “cannot verify . . . claims” by customers that errors in apps render their

in-app purchases obsolete, and “[a]s a result, AppleCare is forced to employ blanket rules for

refunds” that “cause[] some customers to be treated unfairly while also allowing for

fraudulent claims to be refunded”. (PX2189 at ‘3687.)

               320. Developers are best situated to deal with issues raised by their own

customers with respect to issues arising within their own apps; Epic’s support team, for

example, is best situated to explain what, if anything, has gone wrong with a purchase, how to

use a newly-acquired tool, skin, or weapon, etc. Apple, by contrast, has only one decision to

make—whether to refund or not the price of a purchase. In Epic’s own experience, the

disconnect between customer service and transaction servicing, and between Epic and its own

customers over in-app transactions, has led to confusion and complaints from customers, who

contact Epic hoping to rectify disputes over payments—and blame Epic for sending them to

Apple about a transaction users rightfully view as a transaction between them and Epic.

(Sweeney; PX2419; PX2445.)

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               321. Developers have complained that “[t]he App Store takes parts of our job

that we’re already good at—like customer support, quick updates, easy refunds—and makes

them all more stressful and difficult, in exchange for giving Apple 30% of our revenue.”

(PX744; Federighi Dep. 469:1-23.)

    D.      Apple’s Management of IAP Refunds Increases Risk of Fraud.

               322. Apple distinguishes in-app purchases of “consumables” from “non-

consumables”. “Consumables” are digital items such as lives in a game or app-specific

currency—items that are consumed by the user until they are depleted, at which point the user

can purchase them again. Non-consumable items, like “skins”, weapons, etc., or an upgrade

to the premium version of an app, are purchased once and do not expire after the initial

purchase. (PX56 (Guidelines) at § 3.1.1.)

               323. Prior to the summer of 2020, when a consumer would request Apple for a

refund for a non-consumable product, Apple did not provide a developer “access at that level

of detail where they can remove the non-consumable” that was refunded. (Gray Dep. 146:18-

20; 146:22-147:6.) This attracted refund fraud, which occurs “when the customer buys and

enjoys or resells the content and then requests a refund even though they have actually utilized

it, therefore providing inaccurate information in their request for refund”. (Gray Dep. 146:9-

13.) It is widely believed in the app industry that the most effective tool against refund fraud

is the reversal of the purchase at issue; by contrast, the ability to obtain a refund and retain the

non-consumable content incentivizes fraud by rewarding it. (Ko.)

               324. Apple’s efforts to combat payment fraud appear to have been

unsuccessful. As late as March 2019, Mr. Fischer received an analysis indicating that “we’re

seeing more fraudulent activity on the platform”, and “potential fraud could be $MMs”,


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equivalent to “2% - 5% of gross revenues” “on iOS alone”. (PX67; see Fischer Dep. 205:19-

25, 206:12-14.)

    E.      Apple Does Not Provide Developers Access to Key Analytics About Their
            Customers, Which They Could Use to Improve Their Offerings.

                325. Apple’s IAP payment solution provides summary purchase metrics

through App Store Connect. These include reports, data elements, filters and statistics pre-

defined and controlled by Apple.

                   a.      The reporting features do not provide detailed data on payments

                           transactions, including all of the data elements carried in the

                           authorization and settlement messages. Epic, for example, receives

                           a monthly statement from Apple that does not provide transaction

                           details and makes it impossible for Epic to reconcile its transactions

                           and revenue. (Ko.)

                   b.      When Epic has requested that Apple provide additional detail on

                           payment processing similar to the details provided to Epic by other

                           payment processors—for example, fraud behavior and patterns or

                           authorization rates broken down by country and payment method—

                           Apple has declined to do so. (PX2449; Ko.)

                326. As a result of having to use IAP, Epic has also been prevented from

forming a direct link between the customer ID in its system and the customer ID in Apple’s

system. (Ko.)

                   a.      In summary transaction reports, Epic receives a record of customer

                           transactions with anonymized subscribed IDs. Epic cannot readily

                           identify the customers of its apps in the IAP payment transaction
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     G.     By Requiring Apple’s In-App Payment Solution, Apple Deprives Consumers
            of Innovative Payment Options that Would Offer More Flexibility and
            Convenience.

                 334. Absent Apple’s restrictions, developers could offer customers new and

innovative payment options for their in-app purchases of digital goods.

                 335. For example, in other platforms, developers are able to offer customers

payment through carrier billing. Carrier billing refers to charging a customer’s phone carrier

(e.g., Verizon, A&T), such that the charge appears in the customer’s phone bill. (Cue Dep.

259:4-10; Schiller.)

                 336. Apple has acknowledged that carrier billing gave customers the “ability of

charging [their] carrier bill . . . instead of charging [their] credit card,” which can “make it

easier for customers to buy” and could be a “great billing option[] for customers”. (Cue

258:22-260:1.)

                 337. However, Apple does not allow customers to have this option in

connection with in-app purchases utilizing IAP. (Schiller.)

                 338. Apple’s IAP requirement also prevents consumers from enjoying the

benefits of multi-platform payment processors, which also increases users’ mixing-and-

matching costs. (Athey.)

                    a.      Such multi-platform payment processors would offer customers a

                            more seamless experience across platforms, including the

                            recognition of user purchases across multiple platforms, the ability

                            to set and store payment preferences and other account settings, and

                            a more consistent customer experience support. (Athey.)




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IX.    EPIC IS INJURED BY APPLE’S CONDUCT.

       A.      Background.

                 339. Epic has been and continues to be seriously harmed by Apple’s conduct.

  (Sweeney; Grant; Weissinger.)

                 340. Tim Sweeney founded the company that eventually became Epic in 1991

  at his parent’s home. (Sweeney.)

                 341. Epic is headquartered in Cary, North Carolina and has more than 2,000

  employees in 40 offices worldwide. (Sweeney.)

                 342. What started as a game company has evolved into much more. Epic now

  has a number of different lines of business. It is a distributor, publisher and developer of

  game and non-game apps. (Sweeney.)

                 343. Epic also makes and distributes tools used by developers for a wide

  variety of graphic applications in many different industries. (Sweeney.)

                 344. Epic is a would-be competitor of Apple in the distribution of apps.

  (Sweeney.)

                 345. Epic runs the Epic Games Store (“EGS”), an app store available on PCs

  and Mac computers. (Sweeney.)

                 346. EGS carries hundreds of games, such as Epic’s Fortnite and many

  third-party titles. It also carries non-game apps, such as Spotify. (Sweeney; Allison.)

                 347. Absent the restrictions imposed by Apple, Epic would operate a mobile

  version of the Epic Games Store on iOS that would compete with the Apple App Store.

  (Sweeney.)




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              348. Epic and Apple also compete as developers of game and non-game apps.

(Sweeney.)

                  a.     Epic develops a variety of apps, including games such as Fortnite,

                         Rocket League and Battle Breakers.

                  b.     Epic also develops the social media app Houseparty Houseparty is

                         available to download on the App Store. (PX2781; Sweeney.)

                  c.     Apple develops its own apps in competition with Epic and other

                         third party apps. (Evans.)

              349. As a software developer, Epic develops tools that it licenses to third

parties. (Sweeney; Grant.)

                  a.     Epic develops and distributes the Unreal Engine, a software suite

                         that allows developers to create three-dimensional and immersive

                         digital content. (Sweeney.)

              350. Developers typically release apps on a global basis. Epic, for example,

has distributed the mobile versions of its apps—for both Android and iOS—in more than 150

countries around the world.

                  a.     Epic distribution for Fornite, its other apps (for instance,

                         Houseparty), and Unreal Engine, is generally worldwide.

                         (Sweeney.)

              351. Epic also offers third-party developers a suite of backend online gaming

services through Epic Online Services (“EOS”). (Sweeney.)

                  a.     These services include matchmaking, player lobbies, peer-to-peer

                         network connectivity, player achievements and stats, leaderboards,

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                          cloud storage for player data, game analytics, ticketing, title storage

                          and access to the Epic account system. (Sweeney.)

    B.       Fortnite.

               352. Fortnite is Epic’s most popular and successful game app. (Sweeney.)

                   a.     Fortnite currently has more than 400 hundred million registered

                          users worldwide. (Sweeney.)

               353. Fortnite is a game filled with characters, environments and stories.

(Sweeney.)

               354. Since its initial launch in 2017, Fortnite has evolved into more than a

game. (Sweeney)

                   a.     In addition to gameplay, Fortnite enables users to watch movies or

                          TV shows, attend concerts and participate in global cultural events

                          within the app itself. (Sweeney.)

                   b.     The development of this array of functionality is a stepping stone

                          towards the creation of a Fortnite-based “metaverse”. (Sweeney.)

                   c.     A metaverse is a virtual world in which a user can experience many

                          different things—consume content, transact, interact with friends

                          and family, as well as play. (Sweeney.)

                   d.     Gameplay can be a part of a user’s metaverse experience but need

                          not be. (Sweeney.)

               355. Fortnite is free to download and use. (Sweeney.)




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                  a.      Users have the opportunity (but not the requirement) to purchase

                          digital content within the app—referred to as “in-app purchases”.

                          (Sweeney.)

              356. In-app purchases do not buy game play advantages in Fortnite’s two most

popular game modes, Battle Royale and Creative. (Sweeney.)

                  a.      Users can make in-app purchases of different items that function as

                          forms of self-expression. These include cosmetic enhancements, or

                          “skins” (i.e., in-game costumes); methods of transportation such as

                          gliders; and dance moves known as “emotes”. (Sweeney;

                          Weissinger.)

              357. In Fortnite’s Battle Royale and Creative modes, there are two categories

of in-app purchases: (1) purchases of V-Bucks, Fortnite’s in-app currency that can be

redeemed for in-game content, such as each new season’s “Battle Pass” (a feature that

provides access to challenges and unlockable content) or cosmetic upgrades, and (2) direct

purchases of Fortnite content. (Sweeney; Weissinger.)

              358. In addition, as of December 2020, players can subscribe to Fortnite Crew,

which provides users with the Battle Pass for each new Battle Royale season, a monthly

allotment of 1,000 V-Bucks and exclusive cosmetics. (Weissinger.)

              359. Without being able to sell in-app content, Epic would have no viable way

of monetizing Fortnite. (Sweeney.)

              360. Alternative methods of monetization, such as those used by some other

games, would fundamentally change the Fortnite experience. (Sweeney.)




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                   a.      Fortnite’s success depends on its being available to a large number

                           of users, many of whom play the game entirely for free. A pay-to-

                           download model would deter many of these users from

                           downloading the app and make Fortnite less attractive to users who

                           spend money in the app and require a large population of players to

                           enjoy the game. (Sweeney.)

                   b.      If Epic relied on in-game advertising to monetize Fortnite, the user

                           experience would be greatly diminished, and many users would be

                           deterred from playing the game. (Sweeney; Weissinger.)

                361. Epic has developed and distributed versions of Fortnite for Microsoft

Windows, macOS, PlayStation 4, PlayStation 5, Xbox One, Xbox Series X/S, Nintendo

Switch, iOS and Android. (Sweeney.)

                362. A beta version of Fortnite was released on iOS in March 2018 ahead of

the full release in April 2018. A beta version of Fortnite for the Android mobile operating

system was released in August 2018, ahead of the full release in October 2018. (Sweeney;

Grant.)

                363. Fortnite added 32 million new players in the second quarter of 2020 alone,

the highest quarterly addition of new players since the third quarter of 2018. Although

Fortnite’s monthly and daily active users have fluctuated over time, Fortnite remains hugely

popular. (Sweeney; PX2455; PX2456; PX2463.)

                364. Epic promotes in-app purchases in Fortnite through a number of channels.

(Weissinger.)




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                   a.     First, Epic runs a “Message of the Day” that appears in the game

                          when players first log in and alerts them to new items in the

                          Fortnite item shop that day. (Weissinger.)

                   b.     Second, Epic’s Party Hub feature allows players to preview the item

                          shop—in 2020, more than 50% of all weekly active users swiped

                          into the mobile shop tab within Party Hub. (Weissinger; PX2466.)

                   c.     Third, on Epic has over 100 million followers on its social media

                          platforms such as Twitch, Instagram, Twitter, YouTube and

                          Facebook. Through these channels, Epic promotes newly available

                          in-game products. (Weissinger.)

                   d.     Fourth, Epic partners with popular brands, such as Nike, Star Wars

                          and Marvel, to create new, cool in-game content available for

                          purchase. (Weissinger; PX2446; PX2466; PX2782; PX2783;

                          PX2784.)

                365. Epic also offers access to Fortnite’s Save the World game mode. In June

2020, Epic began distributing Save the World in the form of a “Starter Pack”, which includes

access to the game and certain exclusive content. Every few months, Epic retires the current

Starter Pack and launches a new one, allowing players to get access to more content.

(Weissinger.)

                   a.     Like the other Fortnite game modes, Save the World enables in-app

                          purchases of V-Bucks. In Save the World, however, V-Bucks are

                          redeemable for bundles of gameplay advancing content, such as




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                         new characters and equipment that are updated daily.

                         (Weissinger.)

                  b.     Save the World is not available on iOS. (Weissinger.)

              366. Epic has been responsible for the vast majority of promotional activity that

drives in-app Fortnite purchases across its many platforms. (Weissinger.)

              367. When Fortnite was released on iOS in 2018, it was already one of the

most popular games in the world. (Weissinger.)

              368. When Fortnite was available on iOS, Apple often requested to use

Fortnite to promote the App Store or the iPhone. (Weissinger.)

                  a.     Being featured in the App Store or through Apple’s social media

                         channels had limited marketing value for Epic. (Weissinger;

                         PX2436.)

                  b.     Apple’s marketing team created numerous problems for Epic. For

                         instance, on multiple occasions, Apple leaked Fortnite-related

                         materials. (Weissinger.)

                  c.     In December 2018, Apple leaked a Fortnite skin a day before it was

                         supposed to be released to the public. (Weissinger.)

                  d.     In February 2019, Epic hosted a virtual concert featuring DJ

                         Marshmello on Fortnite. Several weeks prior to the concert, Apple

                         asked Epic if it could use the concert as an opportunity to market

                         Apple Music. Apple then leaked the Marshmello set list prior to the

                         event going live in Fortnite. (Sweeney; Weissinger.)




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                  e.     In October 2019, Mike Schmid, Apple’s business development

                         manager responsible for Fortnite, reached out to Mark Rein, Epic’s

                         Vice President, requesting assets in advance to support a promotion

                         for Fortnite’s upcoming launch of Chapter 2, the largest update to

                         the game since its original launch. Because Epic was planning a

                         surprise release of Chapter 2, Schmid repeatedly assured Epic that

                         he would take personal responsibility for ensuring that Apple did

                         not leak the concept. Despite these assurances, Apple leaked

                         Fortnite Chapter 2 artwork ahead of the planned launch, spoiling

                         the surprise for Fortnite players on all platforms. (Weissinger;

                         PX2435.)

              369. A key feature of Fortnite is being an in-game universe that constantly

evolves. Epic releases new content and updates, including major changes to the map and

gameplay, on a weekly basis. These updates ensure that users can enjoy new and surprising

in-game experiences each time they open the app. Having a purely static environment without

these updates would materially degrade the user experience. (Sweeney.)

              370. Another feature of Fortnite is cross-play. Cross-play is the ability to play

with users on different platforms located anywhere in the world. (Sweeney; Kreiner.)

                  a.     Since September 2018, cross-platform play for Fortnite has been

                         available on Sony’s PlayStation, Microsoft’s Xbox, the Nintendo

                         Switch, Windows PCs, Mac computers, certain Android and (until

                         recently) certain iOS mobile devices. (Sweeney; Kreiner.)




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                  b.      Epic pioneered cross-platform play for the gaming industry. It

                          persuaded Sony, Microsoft and Nintendo to erase the artificial

                          barriers between players on their console platforms, making

                          Fortnite the first game to achieve full cross-play functionality

                          across those devices, as well as PCs and mobile devices. (Sweeney;

                          Kreiner.)

               371. For Fortnite users to play together online, they must have the same

“version” of Fortnite software. (Sweeney.)

               372. Apple delisted Fortnite from the App Store on August 13, 2020.

(Sweeney.)

                  a.      When Apple delisted Fortnite, it prevented Epic from further

                          updating the iOS version of the game. (Grant.)

                  b.      This cut off iOS users from being able to play with users on other

                          platforms once Epic released its next content update. (Sweeney;

                          Grant.)

    C.       Fortnite Game Modes.

               373. Most gameplay in Fortnite is multiplayer and requires an internet

connection. People can play online with friends and family, with teams or with other gamers

of similar skill levels with whom they are matched. (Sweeney.)

               374. Fortnite includes three main game modes: (i) Save the World, (ii) Battle

Royale, and (iii) Creative. (Sweeney.)

               375. Fortnite: Save the World was the original game mode launched in July

2017. Save the World is a cooperative campaign where squads of up to four players team up


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to build forts and fight non-playable, computer monsters. Save the World is not available on

mobile platforms or on the Nintendo Switch. Epic stopped supporting Save the World on

macOS following the termination of its Developer Program account on August 28, 2020.

(Sweeney.)

               376. Fortnite: Battle Royale is a player-versus-player elimination and survival

match involving up to 100 players. Battle Royale is the most popular Fortnite gameplay

mode with storylines and gameplay that evolve over time, as new chapters and seasons are

released. A season typically lasts around ten weeks and is a subset of a larger chapter.

Although the Battle Royale gameplay mode is available to download and play free of charge,

users can make a range of in-app purchases for digital content. In-app purchases include

special and limited edition digital avatars, costumes, dance moves and other cosmetic items.

(Sweeney.)

               377. Fortnite: Creative mode allows users to create their own content in

Fortnite, including custom structures. Players that spend time in Creative mode are typically

more engaged and more social than the average Fortnite player. (Sweeney; PX2470.)

    D.       Fortnite as a Social Space.

               378. Fortnite connects players from around the world in a social experience

that, for many, could not be replicated outside the app. Fortnite’s capacity to bring people

together has been particularly important during the COVID-19 pandemic. (Sweeney.)

               379. Fortnite has several features that enable social interactions outside of

gameplay. (Sweeney.)

               380. Fortnite’s “Party Hub” feature allows players to see which friends are

online, start a virtual party and voice chat. (Sweeney)


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               381. Houseparty is a social media app distributed by Epic. It enables group

video chatting and socializing on mobile devices and personal computers. Epic has integrated

Houseparty into Fortnite by enabling players to video chat with friends who are also signed

into Fortnite. (Sweeney.)

               382. Fortnite is one of the world’s largest event venues. Users can see movies,

watch concerts or attend cultural events with their friends within the app. (Sweeney.)

                  a.        Travis Scott’s in-game concert in April 2020 drew over 12.3 million

                            concurrent users, including 2 million iOS users. (Sweeney.)

                  b.        Three of Christopher Nolan’s films—The Dark Knight, Inception

                            and The Prestige—were virtually screened within Fortnite in June

                            2020. (Sweeney.)

                  c.        Exclusive episodes of ESPN’s The Ocho and the Discovery

                            Channel’s Tiger Shark King aired within Fortnite on August 8 and

                            10, 2020, respectively. More than two million users viewed The

                            Ocho, while 900 thousand users viewed Tiger Shark King.

                            (Sweeney.)

                  d.        In July 2020, Epic aired We the People, a series of discussions on

                            racial equity and voter suppression in America, within Fortnite.

                            More than 1.5 million users viewed each event. (Sweeney.)

                  e.        In March 2021, the DJ Kaskade hosted a virtual concert on Fortnite,

                            Fortnite’s first concert of 2021. (Sweeney.)

               383. The size and impact of Fortnite’s events have continued to grow. On

December 1, 2020, a record 15.3 million concurrent users joined Fortnite’s in-game event

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concluding the Marvel-themed Chapter 2, Season 4, with players teaming up to stop the

supervillain Galactus from destroying Fortnite’s island. (Sweeney.)

              384. Fortnite continues to evolve from a social game into a more immersive

and varied social space that competes not only with gaming companies but also with other

social media companies such as Facebook and Netflix. In fact, Netflix has publicly identified

Epic as one of its major competitors. (Sweeney.)

    E.      Cross-Progression Enhances the Complementary, Not Substitutable, Nature
            of Other Platforms.

              385. Fortnite supports cross-progression, which means Fortnite users can

access Fortnite across multiple platforms using the same account. This feature allows users to

access the same in-game content, and maintain their progress, regardless of the platform on

which they play. For users who play Fortnite on multiple platforms, cross-progression is an

important feature. (Sweeney; Grant.)

              386. Epic’s data on cross-progression demonstrates that Fortnite players use

different platforms for different purposes. (Sweeney; Weissinger; Kreiner; PX2442;

DX4133.)

                  a.      Fortnite is best experienced on a PC or console, where players can

                          take advantage of a large screen and dedicated game controllers.

                  b.      Fortnite users generally cannot access a PC or console while on the

                          go, such as when they’re riding a subway or waiting for an

                          appointment. (Sweeney; Grant.)

                  c.      Epic’s data on cross-progression demonstrates that Fortnite users

                          who play on both mobile and non-mobile platforms spend and play

                          more than users who play only on a single platform. This suggests
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                          that for Fortnite users, mobile platforms are a complement to, rather

                          than a substitute for, non-mobile platforms. (Sweeney; DX4133.)

                  d.      Epic’s data shows that users who play Fortnite on multiple devices

                          typically spend most of their time within the game on a console or

                          PC, suggesting they only play on mobile where such alternatives are

                          not available.

                  e.      More than 116 million registered users have accessed Fortnite on

                          an iOS device—more than any other platform. (Sweeney.)

                  f.      But 64% of Fortnite for iOS users—73 million in total—have only

                          ever played Fortnite on iOS, suggesting they do not have a readily

                          available alternative. (Sweeney.)

              387. Fortnite also supports cross-purchases, which means that—with the

exception of the Sony and Nintendo platforms—Fortnite users can buy V-Bucks on one

platform and spend them on another platform. (Sweeney.)

    F.      Epic Games Store (“EGS”).

              388. Epic launched the Epic Games Store—also known as EGS—in 2018.

(Sweeney; Allison.)

              389. EGS both publishes and distributes apps. (Sweeney; Allison.) EGS offers

developers an 88/12 split of all revenues from the sale of their games through EGS. EGS also

provides developers the choice of using Epic direct payment for in-app purchases within their

apps, an optional service it also offers for a 12% commission on sales. (Sweeney.)

                  a.      EGS’s primary competitor is the digital PC store, Steam, operated

                          by Valve Corp. (Sweeney.)


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                 b.     Steam, as the incumbent, is the source for a substantial share of all

                        game downloads on PC computers. (Sweeney.)

                 c.     Originally launched in 2003, Steam had historically charged

                        developers a 30% commission. (Sweeney.)

                 d.     In November 2018, just days before Epic launched EGS with a 12%

                        commission, Steam announced that it was implementing a tiered

                        commission structure whereby it would charge developers 30% on

                        the first $10 million in sales for an app, 25% on sales between $10

                        million and $50 million, and 20% on all sales above $50 million.

                        (Sweeney.)

              390. Epic has developed business plans to expand EGS’s offerings to include

mobile apps. (Sweeney; Allison.)

              391. Currently, Apple prevents users from downloading EGS onto iOS.

(Sweeney; Allison.)

                 a.     EGS would constitute a “store within a store” if carried in the App

                        Store, violating App Review Guideline 3.2.2. (Sweeney; Allison.)

                 b.     Users cannot download and install EGS on their iPhones directly

                        from Epic’s servers. (Sweeney; Allison.)

                 c.     EGS’s inability to achieve distribution on iOS prevents it from

                        obtaining the scale that would enable further innovations and

                        consumer offerings. (Sweeney; Allison.)




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    G.      Distribution of EGS.

               392. At present, EGS is available for direct download onto PCs and Mac

computers through Epic’s website. (Allison.)

               393. Today, EGS has over 160 million registered accounts and more than 56

million monthly active users. (Allison.)

               394. EGS supports more than 200 third-party app developers and publishes

over 400 of their apps. (Sweeney; Allison; Kreiner.)

               395. EGS is available around the world. EGS currently accepts 29 different

currencies and supports regional pricing in more than 190 countries and over 30 territories.

(Sweeney; Allison; Kreiner.)

    H.      Epic’s Financial Arrangements with Developers Distributing Through EGS.

               396. Epic enters into a variety of financial arrangements with third-party

developers to distribute their apps through EGS. (Sweeney; Allison; Kreiner.)

               397. Epic does not require any developer to use its payment processing system,

called Epic direct payment, for in-app purchases. (Sweeney; Allison; Kreiner; PX2434.)

                  a.      Developers who do not use Epic direct payment do not pay Epic

                          anything for in-app purchases. (Sweeney.)

                  b.      Several app developers have elected to use their own payment and

                          purchase functionality for in-app purchases. (Sweeney.)

                  c.      For instance, the developers Ubisoft and Wizards of the Coast use

                          their own payment processing system for in-app purchases in their

                          games distributed through EGS. (Sweeney; Allison; Kreiner;

                          PX2425; PX2429; PX2430; PX2432.)


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               398. To date, Epic has paid third party developers more than $700 million in

revenue share. (Sweeney; Allison; Kreiner.)

               399. Prior to deciding on the 12% revenue share, EGS considered its own costs

and revenues and studied the revenue shares of competing distributors of PC games.

(Sweeney.)

                   a.      Epic decided to charge developers a 12% revenue share after it

                           concluded that 12% would be competitive, sufficient to cover its

                           costs of distribution and allow for further innovation and investment

                           in EGS. (Sweeney; Allison; Kreiner.)

               400. Many developers who create apps using the Unreal Engine distribute

those apps through EGS, among other platforms. (Sweeney; Allison.)

                   a.      Epic waives the Unreal Engine licensing fee for all sales made

                           through EGS. (Sweeney; Allison; Kreiner.)

               401. EGS offers app developers several services: (1) distribution services (i.e.,

hosting their games), (2) payment processing services (i.e., facilitating sales of their games

and other digital products) and (3) merchandising services (i.e., promoting and advertising

their game). (Sweeney; Allison; Kreiner.)

                   a.      Epic also maintains a developer portal for EGS where developers

                           can publish their games, upload new builds and marketing assets,

                           and access sales and financial data. (Sweeney; Allison; Kreiner.)

                   b.      Developers who distribute their games through EGS benefit from

                           access to the platform’s substantial, growing user base. (Sweeney;

                           Allison; Kreiner.)

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               402. Epic has developed a software development kit (“SDK”) that developers

can integrate into their app to enable publishing through EGS. (Sweeney; Allison; Kreiner.)

               403. To create a positive user experience on EGS, Epic has invested substantial

resources into acquiring distribution rights for popular games, as well as developing new store

features. (Allison.)

                     a.   Over the past year, Epic has added multiple new features to EGS,

                          including OpenCritic reviews, self-service refunds, additional

                          payment methods and supported currencies, and various searching

                          and browsing enhancements. (Sweeney; Allison.)

                     b.   EGS gives away different free games to users each week and also

                          runs seasonal sales. (Sweeney; Allison; Kreiner.)

               404. EGS operates a single storefront across multiple geographies. (Sweeney;

Allison; Kreiner.)

               405. Epic expects EGS to become profitable by 2023. (Sweeney; Allison;

Kreiner; PX2469.)

                     a.   EGS is not yet profitable at its current scale and stage of

                          development because it has front-loaded its marketing and user-

                          acquisition costs to gain market share. (Sweeney.)

                     b.   EGS’s 12% transaction fee is sufficient to cover the variable costs

                          of running EGS, including payment processing, customer service

                          and bandwidth. (Sweeney.)

               406. Epic has developed EGS with security in mind. (Sweeney; Allison;

Grant.)

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                  a.      EGS users log in to the store using the secure Epic account system.

                  b.      EGS requires multi-factor authentication and account ownership

                          verification.

                  c.      EGS requires strong passwords and does not allow users to sign up

                          using common (or easily hacked) passwords.

                  d.      EGS employs tools to detect, and protect users against, automated

                          login requests. (Sweeney; Allison; Kreiner.)

               407. Epic would like to make EGS available on iOS. (Sweeney.)

                  a.      Apple has prevented Epic from offering EGS to iPhone users by

                          enforcing restrictive policies that forbid third parties from

                          competing with the App Store to reach users on iOS devices.

                          (Sweeney; Allison.)

    I.       Epic Online Services (“EOS”).

               408. Epic offers game developers EOS, an SDK containing a suite of tools.

(Sweeney.)

               409. EOS includes tools to track app analytics, provide real-time stats and

leaderboards, and allow users to see when their friends are online. (Sweeney.)

               410. EOS gives developers the option to use Epic’s user account system for

their own games, although they are not required to do so. (Sweeney.)

               411. EOS is compatible with multiple platforms and software engines including

Windows, Mac, Linux, PlayStation, Xbox, Nintendo Switch, iOS and Android. The EOS

SDK also can be integrated with an app that uses any graphics engine, including both Unreal

Engine and a popular competitor called Unity. (Sweeney.)


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               412. EOS is free. (Sweeney.)

    J.       iOS is an Essential Distribution Channel for Fortnite.

               413. Because apps are specific to an operating system, Epic had to build

separate versions of Fortnite for each platform where it chose to offer the game. (Sweeney;

Grant.)

               414. Smartphones are a necessity for everyday life. They are the only platform

devices owned by a majority of people around the globe. And they are the only devices that

people keep with them at nearly all times. (Sweeney.)

               415. Epic’s ability to offer competitive and attractive digital products depends

on its ability to offer mobile apps to consumers. (Sweeney; Grant.)

               416. There are approximately 3.4 billion mobile users with access to some sort

of smartphone technology. (Evans.)

                   a.     Apple has reported there are over one billion active iOS users.

                          (Sweeney; Cook; Schiller.)

               417. From the time Fortnite was launched on iOS in 2018 through August 13,

2020, it averaged 2.5 million daily iOS players, representing nearly 10% of Fortnite’s total

average daily players. iOS users have spent more than 2.86 billion hours in the app.

(Sweeney.)

               418. iOS is an important platform to Epic in terms of Fortnite revenue. Since

the launch of Fortnite on iOS and through July 2020, Fortnite players spent nearly $750

million on in-app purchases in Fortnite on iOS. Nearly $500 million of these purchases were

made by players who only ever made Fortnite purchases on iOS. (Sweeney.)




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              419. Epic cannot duplicate the iOS platform. Apple has created a unique

platform based on the popularity of the iPhone, which has over 40% of the revenue in the

smartphone market. (Evans.) Epic is also a game developer, and is not in the business of

creating smartphones. (Sweeney.)

    K.      Engineering Issues.

              420. Apple’s requests and requirements have caused Epic to spend considerable

engineering time and resources to keep Fortnite in compliance with Apple’s changing

developer rules. (Grant.)

              421. Epic spent more than a year updating Fortnite’s code to make it

compatible with the reduction of memory resources that Apple imposed on developers with

the launch of iOS 12 and Xcode 11. Epic’s engineers have provided feedback to and worked

with Apple to resolve bugs in Apple’s software. (Grant.)

              422. The engineering issues Epic discussed with Apple covered:

                  a.        The discovery and resolution of graphics driver bugs in iOS and

                            macOS (Grant);

                  b.        Memory usage and bugs affecting Epic’s ability to implement and

                            support iOS and macOS features (Grant);

                  c.        Investigation into rendering issues in Fortnite caused by Apple’s

                            Metal software (Grant); and

                  d.        Epic’s testing and providing feedback on Apple developer tools

                            (Grant).




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               423. Epic also spent nearly a year working to implement Apple’s “Sign in with

Apple” service after it was made a mandatory part of the App Review Guidelines in

September 2019. (Grant.)

               424. Epic officers and employees, including Mr. Sweeney himself, were invited

several times to Apple’s Worldwide Developers Conference to showcase Apple’s hardware

and graphics APIs through demonstrations of how those could be used by Unreal Engine.

     L.      Epic’s Experience on iOS.

               425. Until August 28, 2020, Epic had a Developer Program account with

Apple. (Sweeney; Grant.)

                   a.      Epic first opened its Developer Program account in September

                           2010. (Sweeney.)

               426. Apple terminated Epic’s account on August 28, 2020. (Sweeney; Grant;

Schiller.)

                   a.      As of August 28, 2020, Epic’s Developer Program account was

                           associated with five apps distributed through the App Store:

                           Fortnite, Battle Breakers, Spyjinx, Infinity Blade Stickers and

                           Shadow Complex Remastered. (Grant.)

               427. Epic owns and operates a number of subsidiaries that relate to different

parts of its business. Epic’s subsidiaries are separate legal entities that are fully capitalized

and maintain all necessary corporate formalities. (Sweeney; PX2467.)

               428. Five of Epic’s subsidiaries have separate Developer Program and/or

Developer Enterprise Program accounts pursuant to separate agreements with Apple. (Grant.)




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              429. Epic’s subsidiary Epic Games International S.à r.l. (“Epic International”)

has had a Developer Program account with Apple since 2010. (Grant.)

                 a.      Epic International published its first app using the account, UDK

                         Remote, in November 2010. (Grant.)

                 b.      Epic International’s Developer Program account is currently

                         associated with five apps distributed through the App Store: Unreal

                         Remote 2, Unreal Match 3, Action RPG Game Sample, Unreal

                         Remote, and Live Link Face. (Grant.)

                 c.      Epic International has entered into a Developer Agreement and

                         Developer Program License Agreement with Apple for its account.

                         These agreements are separate from Epic’s agreements. (Grant.)

              430. Epic’s subsidiary Life on Air, formerly YEVVO Entertainment Inc., has

two Developer Program accounts and a Developer Enterprise Program account with Apple.

(Grant.)

                 a.      One of Life on Air’s Developer Program accounts is associated

                         with the Houseparty app for iOS and macOS. (Grant.)

                 b.      There are currently no apps distributed through the App Store

                         associated with Life on Air’s other Developer Program account.

                         (Grant.)

                 c.      Life on Air has entered into Developer Agreements and Developer

                         Program License Agreements and/or Developer Enterprise Program

                         License Agreements with Apple for each of its accounts. These

                         agreements are separate from Epic’s agreements. (Grant.)

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              431. Epic’s subsidiary Ka-Ra S.A.S. has a Developer Program account with

Apple. (Grant)

                 a.     There are currently no apps distributed through the App Store

                        associated with the Ka-Ra S.A.S. Developer Program account.

                        (Grant.)

                 b.     Ka-Ra S.A.S. has entered into a Developer Agreement and

                        Developer Program License Agreement with Apple for its account.

                        These agreements are separate from Epic’s agreements. (Grant.)

              432. Epic’s subsidiary Psyonix has a Developer Program account with Apple.

                 a.     There are currently no apps distributed through the App Store

                        associated with Psyonix’s Developer Program account. (Grant.)

                 b.     Psyonix has entered into a Developer Agreement and Developer

                        Program License Agreement with Apple for its account. These

                        agreements are separate from Epic’s agreements. (Grant.)

              433. Epic’s subsidiary Games Sweden Scanning AB (“Epic Sweden”),

formerly Quixel AB, has a Developer Program account with Apple. (Grant.)

                 a.     There are currently no apps distributed through the App Store

                        associated with Epic Sweden’s Developer Program Account.

                        (Grant.)

                 b.     Epic Sweden has entered into a Developer Agreement and

                        Developer Program License Agreement with Apple for its account.

                        These agreements are separate from Epic’s agreements. (Grant.)




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    M.       Epic’s Challenge to Apple’s Policies.

               434. Mr. Sweeney has long been outspoken regarding his view that Apple

should open up iOS to competing app distribution and payment processing solutions.

(Sweeney.)

               435. In 2015, Mr. Sweeney emailed Tim Cook and other Apple executives

urging Apple to consider “separating iOS App Store curation from compliance review and app

distribution”. (Sweeney; PX2374.)

               436. In January 2018, Mr. Sweeney sought a meeting with Apple through Mark

Rein, Epic’s Vice President, “to talk about the potential for iOS and future Apple things to

operate as open platforms” and discuss how Epic has “a PC and Mac software store and

would love to eventually support it on iOS”. (Sweeney; PX2421.)

               437. On June 30, 2020, Mr. Sweeney wrote to Apple’s senior leadership team

asking for Apple to allow Epic to provide a competing app store and competing payment

processing, and expressed the wish that Apple “also make these options equally available to

all iOS developers in order to make software sales and distribution on the iOS platform as

open and competitive as it is on personal computers”. Mr. Sweeney explained that providing

these options to iOS device users would allow consumers “an opportunity to pay less for

digital products and developers would earn more from their sales”. (Sweeney; PX2457.)

               438. On July 10, 2020, an Apple lawyer responded, rejecting Mr. Sweeney’s

requests. (Sweeney; PX2459.)

               439. On July 17, 2020, Mr. Sweeney wrote back to Apple, expressing his

continued disagreement with Apple’s policies and practices. He wrote: “Epic is in a state of




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substantial disagreement with Apple’s policy and practices, and we will continue to pursue

this”. Apple did not respond. (Sweeney; PX2458.)

              440. Given Apple’s continued refusal to change its policies, Epic chose to take

a stand against Apple and demonstrate through Epic’s own actions that competition for

payment solutions could exist on iOS, and that consumers would welcome and benefit from

such competition. (Sweeney.)

              441. On August 13, 2020, Mr. Sweeney informed Apple that in the Fortnite

app on iOS, Epic was launching Epic direct payment, which was based on the payment system

Epic uses to process transactions on PC, Mac and Android for Fortnite and EGS. (Sweeney;

PX2450.)

              442. That same day, Epic announced the Fortnite “Mega Drop”, a permanent

price reduction of up to 20% for Fortnite in-app purchases on PC, Mac, Xbox, PlayStation,

Switch and certain Android storefronts. (Sweeney; PX2787.)

              443. On iOS, Fortnite users were given the option to choose which payment

option to use. Players could continue to make their purchases using Apple’s IAP, in which

case they would continue to pay the pre-Mega Drop prices, or they could use Epic direct

payment option and pay the new, 20% lower prices. (Sweeney.)

                  a.     Epic believed this approach of lowering prices would have a

                         positive effect on the Fortnite community while also ensuring that

                         any differential pricing would demonstrate in full public view how

                         Apple’s IAP requirement imposes a real cost to consumers relative

                         to other payment methods. (Sweeney.)




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                   b.      During the approximately two weeks Epic direct payment was

                           offered alongside Apple’s IAP on iOS, a majority of revenue and

                           transactions for the iOS version of Fortnite came from players

                           using Epic direct payment. (Sweeney.)

               444. Epic understood that Apple might respond to the introduction of a

competing payment solution by removing Fortnite from the App Store. But Epic also viewed

it as critical to demonstrate through public action that competition for payment solutions could

exist on iOS, and that there would be strong demand from consumers for such competing

options. (Sweeney.)

    N.      The Hotfix.

               445. The technical manner in which Epic enabled Epic direct payment on

August 13, 2020, was via a “hotfix”. (Sweeney; Grant.)

               446. Hotfixes work by coding an app to check for new content that is available

on the developer’s server or new instructions on how to configure settings in the app. (Grant.)

               447. A developer can use hotfixes to activate content or features in an app that

are in the code but are not initially available to users. The content or feature is accessible only

after the app checks the developer’s server and is “notified” by the server to display the new

content or feature. (Grant.)

               448. Across all platforms where Fortnite is available, including iOS, Epic has

used hotfixes to enable hundreds of new features and content elements and correct

configuration issues since Fortnite was first added to the App Store. (Grant.)

                   a.      For example, Epic uses hotfixes to implement its highly popular in-

                           game concerts in Fortnite. (Grant.)


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               449. On August 13, 2020, Epic used a hotfix to activate the Epic direct

payment option within the Fortnite iOS app. (Grant.)

    O.      Epic Direct Payment.

               450. Developers selling digital content, such as Epic, require some way to

enable consumers to seamlessly and efficiently make purchases in their apps. (Sweeney; Ko.)

               451. The online payments industry has grown over the last two decades to

provide specialized and innovative solutions for handling payments online. There are a

number of third-party payment processors such as Chase Paymentech (“Chase”), Adyen,

Worldpay, PayPal, Inc. (“PayPal”), Checkout.com, and Stripe. (Ko.)

               452. When free to do so, an app developer like Epic can select the payment

processor (or combination of payment processors) that best enhances the user experience and

helps facilitate seamless, cost-effective, and efficient payment solutions within their apps.

(Ko.)

               453. Epic has worked with a number of third-party payment companies to offer

its own payment solution for its apps distributed directly on Android devices and via the Epic

Games Store on PCs and Macs. (Ko.)

               454. In 2019, the average fee Epic paid for processing payments for its own

U.S. and international ecommerce outside of iOS was 4.3%. (Ko.)

               455. In early 2020, Epic solicited competitive bids from five global payment

processors: Adyen, Worldpay, Braintree, Checkout.com and Stripe. These firms submitted

responses to over 100 questions covering 14 different categories, including product,

engineering, finance, user interface, fraud and coverage. After an extensive review, Epic




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selected Adyen for integration in China and Europe, and Braintree for Latin America.

(PX2451; PX2452; Ko.)

               456. The Epic direct payment solution includes a variety of features like

supporting regional pricing and accepting payments in 29 different currencies, combined with

outsourced payment processing from providers like Chase, PayPal, and Adyen.

               457. The Epic direct payment option that Epic implemented in the iOS version

of Fortnite is a safe and secure payment system. (Ko.)

                   a.      The Payment Card Industry Data Security Standard (PCI-DSS) sets

                           rigorous security requirements to prevent cardholder data loss as

                           well as general requirements for the prevention, detection and

                           response to security incidents for all organizations accepting and/or

                           processing payments. (Ko.)

                   b.      Epic’s eCommerce system has been PCI-DSS compliant since

                           2017. (Ko.)

               458. Epic never stores customers’ credit card numbers on its systems.

                   a.      Epic’s customers’ payment details are stored with the payment

                           service provider such as PayPal or Chase Payments. (Ko.)

               459. Epic’s security teams perform internal and external assessments and

penetration tests of Epic’s infrastructure. (Ko.)

                   a.      These tests leverage a mixture of weekly vulnerability scans and

                           adversarial penetration tests. (Ko.)

                   b.      Any issues discovered are remediated with the appropriate teams

                           and verified by Epic’s security team. (Ko.)

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               460. Apple has not identified any security or privacy issues that resulted from

the introduction of Epic direct payment into Fortnite on iOS. (Cue; Fischer.)

    P.      Unreal Engine.

               461. First created in 1998, Unreal Engine is a software suite available to third-

party developers to create three-dimensional and immersive digital content for use in games

and other applications. (Sweeney.)

               462. Epic also offers the Unreal Engine Marketplace, an e-commerce platform

through which developers can create and sell art, animation, textures, and other assets to use

with Unreal Engine projects. (Sweeney.)

               463. Millions of developers use Unreal Engine. (Sweeney.)

               464. Popular videogames that rely on Unreal Engine include Fortnite,

PlayerUnknown’s Battlegrounds (“PUBG”) and Rocket League, among others.

                   a.     These games are played by hundreds of millions of people around

                          the world. PUBG alone has hundreds of millions of users on

                          Android and iOS mobile devices. (Sweeney.)

               465. Unreal Engine is used far beyond the realm of videogames.

                   a.     Developers use Unreal Engine to make digital content for a wide

                          range of commercial uses, including architecture projects, film and

                          television production, medical training, fashion, and more.

                          (Sweeney.)

               466. Unreal Engine is uniquely valuable to developers given the breadth of its

cross-platform capabilities. (Sweeney.)




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              467. In 2010, Epic expanded Unreal Engine’s capabilities to support the iOS

and Android platforms, allowing developers to offer their Unreal-powered applications on

players’ smartphones and tablet devices.

                  a.     Epic International distributes for free several iOS apps that

                         developers can use to assist with development using Unreal Engine.

                         (See Section IX.L above.)

                  b.     Developers can use Unreal Engine to develop game and non-game

                         apps alike for iOS. Epic may be entitled to a royalty for these apps.

                         (Sweeney.)

              468. Since 2010, Epic has continued to develop and expand Unreal Engine’s

platform offerings. (Sweeney.)

              469. Today, developers can use Unreal Engine to develop games and other

software for Windows PCs, PlayStation 4, PlayStation 5, Xbox One, Xbox Series X, Nintendo

Switch, Mac computers, iOS mobile devices and Android OS mobile devices. (Sweeney.)

              470. Many game developers rely on engines like Unreal Engine to develop

commercially successful games that will run across a wide range of platforms, and over many

generations and new versions of the game. (Grant.)

                  a.     An engine that cannot support Apple’s platforms, for example,

                         would not be a viable option for any developer that wants offer its

                         software to the more than one billion active iOS and macOS users.

                         (Sweeney; Grant.)

              471. Open access to Unreal Engine is a core part of Epic’s business

philosophy. (Sweeney.)

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                  a.      For example, Apple has invited Epic engineers to travel to Apple’s

                          campus to work on integrating new augmented reality functionality

                          called ARKit into Unreal Engine for iOS developers to use.

                          (Sweeney; PX855; Pruden Dep. 361:19-20, 362:9-13.)

                  b.      Epic was chosen to present this technology because Apple believed

                          “it would allow developers using their engine to adopt new ARKit

                          functionality”, which Apple could use for marketing new Apple

                          devices “that support ARKit”. (Pruden Dep. 364:23-365:6, 365:8

                          365:10-14, 365:16-17.)

               474. In connection with Apple’s revocation of Epic’s Apple developer account,

Apple has threatened to terminate all of Epic’s and Epic’s affiliates’ Apple Developer

Program accounts and revoke Epic’s access to tools necessary to improve hardware and

software performance of Unreal Engine on Mac and iOS hardware. (Sweeney.)

                  a.      Apple’s retaliation would disrupt and impede Epic’s ability to

                          continue supporting Unreal Engine for Apple devices and for

                          Epic’s engineers to continue providing support to developers

                          working on iOS and macOS projects. (Sweeney.)

                  b.      The loss of Unreal Engine’s ability to support these important

                          platforms would cause irreparable harm to Epic’s product offerings,

                          as many developers would select a competing engine for their new

                          projects or for the next versions of their games. (Sweeney.)

                  c.      Third-party developers who rely on Epic’s engine and support

                          would be in jeopardy of losing the long-term support of Epic and its

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                 Unreal Engine tools for use in connection with Apple devices.

                 (Sweeney.)




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X.       SECURITY JUSTIFICATIONS FOR APPLE’S RESTRAINTS ON APP
         DISTRIBUTION ARE PRETEXTUAL.

                    475. iOS was designed based on macOS; it inherited many of the core macOS

     architectural features and improved on some of them. Apple, and over a hundred million

     macOS users, consider the macOS system to be secure even while permitting users to

     download apps from sources other than Apple’s official Mac App Store. (See Sections X.A-B

     below.)

                    476. The most important security protections for iOS devices are provided by

     iOS itself. This “on-device” security is independent of the app distribution channel. (See

     Section X.C above.)

                    477. Apple’s decision to depart from the macOS model by excluding third-

     party app distribution on iPhones was a commercial policy decision, not one driven by

     technical security considerations. (See X.D above.)

                    478. Apple’s App Review process is cursory and provides minimal security

     benefits beyond the on-device security that is already provided by iOS. To the extent that

     App Review does increase security, it does so through automated mechanisms that Apple can

     employ for apps distributed by third parties (as it does for macOS) and that are replicable (and

     potentially could be improved upon) by parties other than Apple. (See X.E-H.)

                    479. In fact “rogue” third-party app stores have historically existed on iOS with

     no known adverse security ramifications. (See Sections X.I-J below.)

         A.      iOS Was Modeled on macOS and Inherited its Core Architectural Features.

                    480. macOS and iOS are built using the same OS “kernel”. (Federighi Dep.

     23:11-16; Forstall Dep. 64:19-21; Mickens.) The “kernel” is the part of an operating system

     that implements the most basic activities performed by the OS. Examples of these activities

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include (1) allocating hardware resources like storage space to different applications, (2)

determining which applications should run on which CPUs at which times, and (3) sending

commands to hardware components like wireless radios and visual displays. (Mickens.)

               481. Mr. Forstall, an engineer who worked on the development of iOS, testified

that the iPhone was “released with an operating system that[] [was] based on macOS X”.

(Forstall Dep. 64:19-21; PX2756.)

               482. Mr. Forstall pushed for, and ultimately succeeded in, convincing Mr. Jobs

and other Apple decisionmakers to use macOS X as the basis for the iPhone operating system.

(Forstall Dep. 57:2-5.)

               483. Mr. Forstall testified that there were many advantages to using macOS as

the base of iOS, including that Apple “built macOS X specifically to be a modern operating

system” with “exactly the modern operating system facilities we would want to use in any

project”. (Forstall Dep. 58:7-17.)

               484. As a result, iOS and macOS share several core architectural features,

including a number of macOS security features. (PX2756, at ‘20:50-23:03; Forstall Dep.

20:7-16.)

                   a.      As Mr. Forstall explained in a presentation to the public during an

                           iPhone Software Roadmap Event in 2008, “macOS X is comprised

                           of four architectural layers” and “to build the iPhone OS, we started

                           by taking the bottom three layers of macOS X and moved them

                           straight across, to form the basis of the iPhone OS.” (PX2756.)




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                 b.      Second, a developer that is registered with Apple’s Developer

                         Program can submit its apps for “notarization” by Apple. As

                         explained below, this involves an automated scan for malicious

                         content conducted by Apple, and certain apps are also manually

                         reviewed. At the end of the notarization process, Apple signs the

                         app (or “notarizes” it) and returns the signed binary to the developer

                         for distribution by the developer itself or through a third party

                         online store. When a user attempts to download such an app, a

                         macOS feature called Gatekeeper will confirm the app has been

                         notarized by Apple. (Mickens.)

                 c.      Third, a developer who chooses not to register with Apple’s

                         Developer Program can distribute unsigned, unnotarized apps

                         through third-party app stores and websites. Should a macOS user

                         attempt to open such an unsigned, unnotarized app, the Gatekeeper

                         technology in macOS will prevent the user from installing or

                         opening the app and display a warning screen. macOS allows users

                         to override this warning and install and open the unsigned,

                         unnotarized app by going to the security section in system settings

                         and confirming that they wish to open the app notwithstanding the

                         lack of notarization. (Mickens.)

              489. Apple has successfully instituted a number of security features to help

protect the macOS platform against malware—“software which deceives an end user as to its

function”—and against viruses. (Friedman Dep. 57:20-58:9.)

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               490. Six notable security features utilized on macOS include: (1) signatures and

certificates; (2) notarizations; (3) Gatekeeper; (4) Sandboxing; (5) XProtect; and (6) Malware

Removal Tool (MRT).

               491. First, signatures are used in apps in order to ensure that an identifiable

developer created the application and will vouch for its content.

                     a.   This enables attribution (verifying that only the person or entity

                          identified as the developer could have produced the signature and

                          therefore the app) and integrity (verifying that the binary has not

                          been modified after the developer signed it). (Mickens; see also

                          PX461; Federighi Dep. 36:12-23.)

               492. Second, Apple’s notarization process “is an automated system that scans

[developers’] software for malicious content [and] checks for code-signing issues”. (PX2533,

at ‘1.)

               493. Beginning in macOS 10.15, all apps with an associated Developer ID

(excluding apps distributed through the Mac App Store) must be notarized by Apple.

(PX2533, at ‘1-2.)

                     a.   If Apple’s notarization service does not detect any issues with the

                          app, then it returns a ticket for the developer to include with the

                          app. Apple also publishes the ticket online in a location where its

                          Gatekeeper program can locate it (see below). When a user

                          downloads the app from a source outside of the Mac App Store,

                          Gatekeeper checks the ticket to confirm that the app has been

                          notarized. (PX2826, at ‘1; Lee.)

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                   b.     When the App Store first began, applicants were considered

                          qualified if they “understood how to use a Mac”, “understood how

                          to use an iPhone”, “understood a little about the Apple brand”,

                          “could breathe . . . could think”. (Shoemaker Dep. 35:24-36:3.)

                   c.     In current job postings, listed qualifications for App Reviewers

                          primarily include nontechnical skills such as teamwork, curiosity,

                          clear communications and resilience. A thorough knowledge of

                          macOS and iOS is noted as “helpful,” but not a requirement. In

                          addition, applicants are preferred, but not required, to have a

                          Bachelor of Sciences or Arts degree or equivalent work experience.

                          (Lee.)

               519. From its inception, the “guiding principle in App Review” is that it

“review[s] . . . not test[s]” apps. (PX140.)

                   a.     “Test[ing] implies or outright infers that the individual providing

                          [the] test has done a comprehensive use of the application,

                          exercising most if not all of the functionality of an application, and

                          not only testing all the functionality of the application, but [also]

                          testing certainly much of the application under different conditions

                          with . . . different data and by attempting to induce failure

                          modes . . . and see[ing] how the application fares under a test like

                          that.” (Haun Dep. 239:23-240:11.)

                   b.     The App Review team does not perform such “comprehensive

                          test[s]”. (Haun Dep. 240:12-13.)

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           a.    The ERB is a group of individuals who “set[] policy for the App

                 Store” and make the ultimate decisions as to what is or is not

                 allowed into the App Store. (Kosmynka Dep. 32:18-32:23; see also

                 Fischer Dep. 43:24-44:3.)

           b.    The ERB also determines “exceptions to policies or [G]uidelines”.

                 (Shoemaker Dep. 113:3-4.)

           c.    Phil Schiller, Eddy Cue, Matt Fischer, and Scott Forstall have all

                 been members of the ERB. (Shoemaker Dep. 114:6-8; PX2333;

                 PX146.)

           d.    Mr. Schiller and Mr. Cue have been on the ERB since the App

                 Store was first launched (which is when the ERB came into

                 existence). (Cue Dep. 29:5-9; 30:11-30:16.)

           e.    Mr. Schiller is considered “the head of the ERB”. (Fischer Dep.

                 45:2-6; see also Shoemaker 48:9-13.)

           f.    “[I]n the beginning”, Mr. Schiller, Mr. Cue and Mr. Forstall

                 “had veto power”, meaning that if they instructed others not to

                 approve an app, that app would not be approved. (Shoemaker Dep.

                 113:18-20; 114:6-8.)

           g.    “[C]ompeting apps sometimes faced issues at the ERB because of

                 positions taken by” its leaders. (Shoemaker Dep. 490:21-23.)

           h.    Such apps were delayed or rejected for “pretextual” reasons. For

                 example, certain apps that may have competed with Apple’s apps or




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                        features, such as Google Voice, were “rejected on pretextual

                        grounds”. (Shoemaker Dep. 76:6-77:2; 88:8-9.)

                i.      ERB meeting notes also make clear that a priority was to prevent

                        entry of “apps that replaced” the App Store. (PX111; Shoemaker

                        Dep. 175:4-176:7.)

                j.      In 2011, the ERB asked Mr. Shoemaker “to hide” and “remov[e]”

                        an app called Big Fish Games and offered “no guideline” as the

                        basis for doing so. (PX113.) The app was rejected for being a store

                        within a store. (PX113.)

                k.      In 2013, another app from the same developer was “remov[ed]”

                        “immediately” because Mr. Schiller and Mr. Cue were “adamant”

                        about its removal, despite Mr. Shoemaker’s “protest[s]” that there

                        was no clear justification for doing so under the app review

                        guidelines. (PX115.)

                l.      The ERB’s decisions are a black box to developers. Even Apple

                        employees tasked with “communicating and enforcing” App Store

                        policies lack visibility into the ERB’s decision-making rationale.

                        (Haun Dep. 232:17-233:3.)

    F.    Apple Has Historically Lagged Behind Other Platforms in the Use of
          Automated Tools for App Review.

             523. Automated tools for app review are commercially available. (Lee.)

             524. Apple has historically lagged behind Google in its use of automated tools

for App Review. (PX137; Haun Dep. 140:15-141:12.)



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                       the drug sniffing dog”. (PX252.) FEAR likened App Review to

                       TSA employees, “under pressure to move people through” and “not

                       able to deflect sophisticated attackers”. (Friedman Dep. 97:20-

                       98:9.) FEAR believed App Review is judged by, and therefore is

                       focused on, “‘how my apps can we get through the pipe’ and not

                       ‘what exotic exploits can we detect?’” (PX252.)

             530. Numerous malicious apps have been approved by App Review.

(Shoemaker Dep. 214:23-214:25.)

                a.     Such apps may “defraud users of large sums of money” (PX65;

                       Fischer Dep. 180:21-181:17; 181:25-182:3) or “manipulate”

                       “ratings and review[s]” to try increase downloads. (Fischer Dep.

                       203:8-204:14.)

                b.     In some cases, fraudulent apps evade Apple’s screening even after

                       multiple rounds of App Review. (Friedman Dep. 121:19-23.)

                c.     For example, in 2017, Apple conducted a “case study” of an app

                       fraudulently offering virus scanning. (PX253; Friedman Dep.

                       115:5-6; 115:15-18.) After being rejected twice, the app was

                       accepted because the reviewers did not know about the prior

                       rejections. (PX253.) When released on the App Store, the app

                       began fraudulently and aggressively offering weekly renewing

                       subscriptions to non-existent “virus scanning” services for $99.99

                       through IAP. (PX253.) Eventually the app became one of the “Top




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App Review—are more or less secure than apps downloaded from the App Store. (Fischer

Dep. 143:5-144:4.)

              535. As part of content moderation, Apple purports to review apps for fake

“copycat” apps, or apps that may purport to be another trademarked app. (Shoemaker Dep.

407:12-17.) This has not succeeded. Apps that are “obvious rip off(s)” of other apps have

made it through App Review multiple times.

                  a.     An app called “Temple Jump” that was “a rip off of a top selling

                         game”, Temple Run, was approved for distribution on the App

                         Store. (PX60; Fischer Dep. 173:18-174:6.)

                  b.     In January 2016, “a fake Minecraft app”, “passing itself off as a

                         $6.99 official sequel”, “reached the Top 5 in the US Paid charts

                         with the press picking up on it”. Apple removed the app from the

                         App Store, but three months later had “another fake Minecraft

                         Pocket Edition 2 live on the store”, which at the time was “currently

                         No. 2 in the UK Paid iPad chart”. (PX61, at ‘738-739; Fischer Dep.

                         178:11-14, 178:21-179:6, 179:15-18, 179:20-21.)

                  c.     In November of 2016, the CEO of Headspace emailed Apple to

                         complain of “repeated egregious theft of our IP in the Apple App

                         Store” from submissions of paid apps to the App Store “called

                         ‘Headspace’ with imagery, description, branding etc[.] identical to

                         ours”. The CEO complained that “[s]hockingly, Apple [is]

                         approving these apps, and when the users buy the apps they are left

                         with nothing but some scammy chat rooms in the background,” that

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                    a.      Third parties can perform this test using built-in iOS functions.

                            (Lee.)

                555. Third parties can also screen for non-security properties, such as content

moderation and quality assurance.

                    a.      Content moderation and quality assurance testing are common and

                            regularly performed by a variety of third-parties using numerous

                            techniques. (Lee.)

     I.      Apple Already Permits Direct Downloading of Unreviewed Third-Party
             Apps Through the Enterprise Program.

                556. Apple already allows some controlled direct downloading of third-party

apps onto the iPhone through the Enterprise Program. (Federighi Dep. 236:5-237:11;

Friedman Dep. 286:7-17.)

                557. When a developer “enrolls in the enterprise developer program, they are in

position to generate certificates and . . . profiles, and they can develop an app, sign it and

distribute it with that profile and that certificate. Someone can then download it from a

location of their choosing, install it and agree to trust that profile, and the app will then run”.

(Friedman Dep. 286:3-14.)

                    a.      The Vice President of the App Store, Matt Fischer, testified that he

                            is not “aware of any studies within Apple that have looked at any

                            security issues created on an iOS device[] as a result of the

                            download of an enterprise app”. (Fischer Dep. 143:19-23.)

                    b.      Mr. Fischer also testified that he is not “aware of any

                            instance . . . [where] any enterprise app downloaded on to an iPhone



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                           has created a security issue beyond a single iPhone”. (Fischer Dep.

                           143:24-144:4; 144:6-7.)

    J.      Apple Has Rejected ‘Store Within a Store’ Apps for Anti-competitive
            Reasons, Not Because of Security Concerns.

               558. Despite Apple’s policies, there are several apps on iOS that do offer (or

have in the past offered) access to other apps, and thus constitute “stores within a store”.

Regardless of the reason Apple allows these apps on the store, these apps have not caused any

security issues. (Kosmynka Dep. 84:18-24.)

               559. Tribe is an app store that was available through the App Store for a three-

year period: 2015-2018. (PX301; Kosmynka Dep. 77:16-21; 78:3-6.)

                   a.      Tribe is described as a “live multiplayer games platform”. (PX301.)

                   b.      After being available for three years through the App Store, in

                           2018, Apple informed Tribe that it would be “hidden” because it

                           violated Guideline § 3.2.2 by being a store within a store. (PX301.)

                   c.      When an app is “hidden”, it is deleted from the App Store and not

                           available for download. (PX301.)

                   d.      The founder of Tribe, Cyril Paglino, complained that Apple’s

                           explanation for removal was “vague” and that “Apple just changed

                           its guidelines about applications that have onboarded mini games

                           inside”. (PX301; Kosmynka Dep. 77:16-21; 78:3-6.)

                   e.      There was no mention of security in either the message conveyed to

                           Ms. Paglino or the Apple employee’s description of the reasons for

                           the app’s removal. (PX301.)



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XI.    SECURITY JUSTIFICATIONS FOR APPLE’S REQUIREMENT FOR IN-APP
       PURCHASE ARE PRETEXTUAL.

                 565. There were no widespread or significant security issues regarding payment

  with the App Store prior to the introductions of IAP or the requirement that apps selling

  subscriptions use IAP rather than alternate payment solutions, nor evidence that IAP is far

  superior to third-party payment alternatives with respect to security.

                 566. As IAP post-dated the App Store, “[t]here was a period of time starting

  with the launch of the App Store” where Apple did not require iOS apps to use IAP. (Fischer

  Dep. 201:14-16; Forstall Dep. 278:17-21; PX898.)

                 567. Apple has conducted no “study which looked at the relative safety and

  security of the App Store in 2008,” in the period of little over a year when IAP was not

  required in the App Store. (Fischer Dep. 201:23-202:5.)

                 568. Similarly, Apple has not conducted “any studies that have compared

  Apple payment services to any third party service”. (Fischer Dep. 113:24-114:1, 114:3-4;

  201:23-202:5; 113:4-6; 113:8-9 (not “familiar with any studies that indicate that any Apple

  payment methods are more secure than Stripe”); 113:11-13, 113:15-16 (same for PayPal).)

                 569. Apple also has not conducted “any security study. . . which looks at

  whether or not any of the major credit cards have security issues with regard to payment

  processing”. (Fischer Dep. 110:9-13; 110:15-16.)

                 570. Apple’s iOS also already uses its “most secure methodology for

  authenticating” users that is “separate from IAP”. For example, if a banking application

  wanted to authenticate a user using Touch I.D. or Face I.D., a “piece of code running in the

  operating system . . . will present the appropriate authentication method to the user”. (Haun

  Dep. 200:17-201:18.)
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               577. In addition, Apple already permits non-IAP payment methods for

“Multiplatform Services”, “Enterprise Services”, “Person-to-Person Services”, “app[s] that

enable[] people to purchase physical goods or services that will be consumed outside of the

app” and “Free Stand-Alone Apps”. (PX2558 (Guidelines) § 3.1.3.)

               578. The use of payment processing solutions other than IAP has not led to any

“physical hardware vulnerability . . . [on] an iPhone”, nor could such vulnerabilities be

introduced through the use of a third party payment platform. (Cue Dep. 169:19-22, 169:24-

170:2, 171:23-172:1; 172:3-4.)

               579. Apple has conducted no studies indicating that any of the alternative

payment processing methods used for the sale of goods and services or in person to person

transactions on iOS were less safe and secure than IAP. (Fischer Dep. 118:8-12; 118:14-15;

118:22-24; 119:1-9.)

               580. Apple has not identified any security vulnerabilities associated with the

introduction by Epic of Epic direct payment into the Fortnite iOS app. (Cue Dep. 164:15-19;

164:21; Friedman Dep. 127:6-9; Haun Dep. 174:1-12; Rubin.)




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  I.    OVERVIEW OF EPIC’S CLAIMS

               1.      The key question before this Court is whether Apple, the company that

developed and licenses the operating system—iOS—powering a billion iPhones, violates the

antitrust laws when it uses its control of iOS to determine how apps are distributed and in-app

payments are processed. Epic’s claims urge this Court to find that Apple’s requirements that all

iOS apps be distributed through the Apple App Store and all in-app purchases of digital content

go through Apple’s In-App Purchase (“IAP”) violate antitrust law. Apple urges the Court to find

otherwise. The Court rejects Apple’s arguments as unsupported by law or the factual record.

               2.      Apple’s core argument, to which it returns repeatedly, is that neither the

law nor facts supports defining markets downstream from a single brand—here, Apple’s iOS.

This is factually incorrect and misstates the law. In Eastman Kodak Co. v. Image Tech. Servs.,

Inc., 504 U.S. 451, 481-82 (1992), the Supreme Court recognized that, while cases of such

single-brand product markets may not be common, they do indeed occur. The Court finds they

are present here.

               3.      Apple is a uniquely powerful company and it exerts unique control over

iOS devices, their users, and the developers that develop the apps running on them—control that

it does not exert over its Mac computers, their users, or the developers developing apps for them.

Apple is the largest company in the world by market capitalization and has unparalleled reach

and strength. Epic has proffered significant, credible evidence that Apple has controlled iOS in

myriad ways that support this Court’s conclusion that this is the unusual case in which a single-

brand product defines the metes and bounds of market definition.

               4.      Once product markets have been defined, the remainder of the facts are

largely not in dispute: Apple does not deny that it has exclusive control over the distribution of

apps on the iOS platform, that it exercises unilateral discretion to reject apps for distribution, nor
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that it requires all apps to use its payment solution for all in-app purchases of digital content.

Apple does not deny that its restrictions are implemented through contractual requirements,

unilateral rules, and technical means.

                5.     As a result of this conduct, consumers and developers have suffered—and

unless Apple is enjoined will continue to suffer—higher prices, increased costs, and reduced

innovation and output. Accordingly, as set forth below, the Court enjoins Apple from continuing

conduct that violates the antitrust laws.

 II.    SECTION 2 OF THE SHERMAN ACT: APPLE’S MONOPOLY
        MAINTENANCE OF THE IOS APP DISTRIBUTION MARKET (COUNT 1).

                6.     Section 2 of the Sherman Act prohibits persons from “monopoliz[ing], or

attempt[ing] to monopolize, or combin[ing] or conspir[ing] with any other person or persons, to

monopolize any part of the trade or commerce among the several States, or with foreign

nations”. 15 U.S.C. § 2.

                7.     Epic alleges that Apple has engaged in unlawful monopoly maintenance of

iOS app distribution. In sum, Epic alleges that Apple constructed the iOS ecosystem, using a

combination of technical and contractual means, to restrict distribution of iOS apps, foreclosing

competition, harming the competitive process, and harming consumers. The Court agrees.

                8.     As explained below, at several different points early in the history of the

iPhone, Apple made business decisions to construct iOS and design the iOS platform in ways

that restricted access to third parties to further an exclusionary goal of total control over iOS app

distribution.

                9.     When the iPhone was initially launched in 2007, it included only a small

group of apps written by Apple. (Findings of Fact ¶ 83.) Third parties had neither software tools

nor access necessary to write apps for iOS and have them distributed on the iPhone. (Findings of


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Fact ¶ 94.) In 2008, that changed: Apple made available a software development kit (“SDK”)

for third parties to write apps that could run on iOS, and it also launched the App Store. (Id.)

               10.     Although Apple had other options, and debated them internally as a policy

matter, Apple chose to make the App Store the exclusive means of distribution of apps on iOS.

(Findings of Fact ¶¶ 86-88.) This policy decision is the core of the anti-competitive structure

that Apple has created.

               11.     With the opening of the iOS platform to third-party developers, app

developers began writing useful, fun and innovative apps for the iOS platform, and consumers

were able to download them onto their devices. (Findings of Fact ¶ 98.) Apple could have

followed the access model of personal computers (including its own macOS) and allowed open

access to the iOS ecosystem directly from app developers’ websites and Internet-based app

stores. (Findings of Fact ¶ 488.) Instead, Apple made the choice to block such app downloads

through web browsers and limit iOS device owners to apps purchased through Apple via its

wholly controlled App Store. (Findings of Fact ¶¶ 218-19.) Apple could also have allowed

competing app stores on iOS to give consumers a choice of where to get their apps and to give

developers a choice on how to reach consumers. Instead, as noted, Apple made the App Store

the exclusive means for consumers to obtain, and for developers to distribute, the apps that made

the iPhone useful and fun. (Id.)

               12.     When Apple launched the App Store, Apple’s CEO Steve Jobs announced

that the store’s commission was designed only to cover its costs. (PX880, at ‘075.) Mr. Jobs

was asked at the time whether the exclusive nature of the App Store would raise any antitrust

concerns, and he assured the public—including, importantly, prospective app developers—that

the App Store was not intended as a profit center for Apple but instead as a means to facilitate



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third-party apps that would make the iPhone more attractive to consumers. (Id., at ‘081.)

Indeed, Mr. Jobs went so far as to assure developers that “we are basically giving all the money

to the developers here”. (Id.) As it turns out, that representation was not true.

               13.     As intended, the App Store succeeded in attracting developers to write

apps for iOS. Those apps made the iPhone more fun and useful, and increased its appeal for

consumers, a fact that was touted by Apple itself, which in early 2009 coined the phrase “There’s

an app for that” in a series of commercials for its iPhone. As more consumers purchased

iPhones, writing iOS apps became a more and more attractive proposition for developers.

(Findings of Fact ¶ 98.)

               14.     Indeed, distributing apps on iOS soon became a virtual necessity for any

developer seeking to maintain a successful business. Not only did Apple amass an extraordinary

number of consumers who used its iOS devices, but those consumers cannot and do not readily

switch to use devices that run Android, which is the only real competing mobile operating

system. (Findings of Fact § II.B.) Only a tiny sliver of consumers use both iOS and Android

smartphones at the same time. (Findings of Fact ¶ 70(a).) The consumers who use iOS face

material switching costs in leaving the iOS ecosystem that Apple has constructed. (Findings of

Fact § II.B.) As a result, there is a very large set of consumers—north of a billion—that are

substantially locked in to iOS mobile devices, and app developers have no choice but to continue

writing iOS apps and devoting resources to promoting those apps to iOS users. Otherwise,

developers would be unable to reach approximately one billion potential customers, who form

the most lucrative part of the available smartphone customer base. (Findings of Fact ¶¶ 45,

81(a).)




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               15.     Because the App Store is the exclusive means for developers to reach iOS

users, Apple has absolute control over the content of apps and over the terms of trade between

developers and users. Apple uses that control to dictate or prohibit various features of apps, and

it extracts a non-negotiable “commission” from the sale of apps and in-app purchases of digital

content. Among its various restrictions, Apple does not permit any competing means for

developers to distribute apps to users, and Apple requires all in-app purchases to flow through its

IAP. Apple even prohibits app developers from informing iOS users that Apple’s monopoly is

costing them more for each app they purchase. (Findings of Fact ¶ 246.)

               16.     The fact that Apple created a product that users liked and wanted is not a

violation of the antitrust laws. But when Apple carefully constructed and enforced contractual

and technical restrictions to create and maintain a monopoly in app distribution, a series of anti-

competitive effects have followed: Apple causes prices to increase, raises costs for consumers

and developers, reduces innovation, and lowers output. (Findings of Fact §§ V, VIII.)

               17.     Apple has argued that its practices were necessary to get paid and keep the

iOS platform safe for iOS users. According to Apple, should this Court require changes to the

App Store model, the repercussions would be serious and dangerous. But the evidence disproves

this passionate rhetoric. Apple’s arguments regarding payment and security are what the

antitrust law refers to as Apple’s “procompetitive justifications”. The Court finds they are

pretextual.

               18.     Addressing first the need to be paid, taking the late Mr. Jobs at his word,

that need was never part of Apple’s business case for the App Store; as Mr. Jobs had put it, “we

don’t intend to make money off the App Store . . . we are basically giving all the money to the

developers here and if that 30% of it pays for running the store, well that will be great”. (PX880,



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               22.     A claim for unlawful monopolization under Section 2 of the Sherman Act

requires that a plaintiff show: “(a) the possession of monopoly power in the relevant market;

(b) the willful acquisition or maintenance of that power; and (c) causal antitrust injury”. FTC v.

Qualcomm Inc., 969 F.3d 974, 989-90 (9th Cir. 2020) (internal quotation marks omitted).

               23.     Defining the relevant markets is a “threshold step in any antitrust case.”

Id. at 992. “The relevant market is the field in which meaningful competition is said to exist.”

Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1202 (9th Cir. 1997); see also

Ohio v. Am. Express Co., 138 S. Ct. 2274, 2285 (2018) (the relevant market is “the area of

effective competition”).

               24.     There are two components of a market for purposes of antitrust analysis:

the products in the market and its geographic scope. The Court will begin with the product

market and then turn to the geographic market.

               25.     There is a relevant market for iOS app distribution, and Apple possesses

monopoly power in that market (Section II.A); Apple has willfully maintained its monopoly

power in that market (Section II.B); and Epic, as well as other developers, app distributors and

consumers, have all been injured by Apple’s conduct (Section II.C). Finally, the Court explains

why Apple’s affirmative defenses are unavailing. (Section II.D.)

       A.      Apple possesses monopoly power in the iOS App Distribution Market.

               26.     Apps provide functionality to an electronic device. A native app is an app

written for a particular operating system and installed onto a device. (Fischer; Grant.)

               27.     As discussed in the Findings of Fact, an iOS device is only capable of

running iOS apps. Apps written for other software platforms such as Android simply do not

work on iOS. (Findings of Fact ¶ 8.)



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               28.     The first step in determining the relevant market in which to assess the

effects of Apple’s conduct is to take account of a key choice that consumers make in deciding

which smartphone to buy, and that developers make in writing their apps, which is a choice in

the market for smartphone operating systems. In the language of antitrust law, this is the

“foremarket” or “primary market”. The next step is to define the scope of the downstream

market for app distribution on iOS devices, which is an “aftermarket” or “derivative market”.

The iOS app distribution market is said to “derive” from the operating system market because

without the operating system (in this case, iOS), there would be no app distribution on iOS.

               29.     In this Section, the Court first defines the relevant antitrust foremarket for

smartphone operating systems, the “Smartphone Operating System Market” (Section II.A.i), and

demonstrates that Apple has substantial market power in that market (Section II.A.ii). Next, the

Court defines the relevant aftermarket for app distribution on iOS, the “iOS App Distribution

Market” (Section II.A.iii), explains why this market is a valid single-brand market

(Section II.A.iv), and rejects Apple’s proposed digital games transaction market (Section II.A.v).

Finally, the Court shows that Apple has substantial monopoly power in the iOS App Distribution

Market. (Section II.A.vi).

               i.      There is a relevant market for smartphone operating systems.

               30.     The starting point for the analysis of market definition for Epic’s Section 2

claims is the conduct alleged by Epic. Specifically, Epic alleges that Apple uses its control of

the iOS operating system to monopolize the distribution of apps on that platform. The Court

therefore begins its analysis with the iOS operating system, which Apple bundles with its iPhone.

Apple distributes the iOS operating system in the Smartphone Operating System Market, which

is the relevant antitrust foremarket in which consumers purchase smartphones that have a pre-

installed operating system. (Findings of Fact § III.A.)
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                        a.     The first relevant product market is “Smartphone Operating
                               Systems”.

               31.      To define the product market, the Court must determine which products or

services are in “the area of effective competition”. Am. Express, 138 S. Ct. at 2285; Thurman

Indus., Inc. v. Pay ’N Pak Stores, Inc., 875 F.2d 1369, 1374 (9th Cir. 1989) (“For antitrust

purposes, defining the product market involves identification of the field of competition: the

group or groups of sellers or producers who have actual or potential ability to deprive each other

of significant levels of business.”). The relevant product market “must encompass the product at

issue as well as all economic substitutes for the product.” Newcal Indus., Inc. v. Ikon Office Sol.,

513 F.3d 1038, 1045 (9th Cir. 2008). “Economic substitutes have a ‘reasonable

interchangeability of use’ or sufficient ‘cross-elasticity of demand’ with the relevant product.”

Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1120 (9th Cir. 2018) (quoting Newcal, 513 F.3d

at 1045); see also Brown Shoe v. United States, 370 U.S. 294, 325 (1962); United States v. E. I.

du Pont de Nemours & Co., 351 U.S. 377, 404 (1956). A key aspect of all of these cases is the

Court’s focus on the defendant’s product—what other products compete with that product and

may therefore constrain the defendant’s market power; it is the availability of such competitive

products that defines the metes and bounds of how the seller’s power to raise price or control

output is determined.

               32.      Many markets are referred to as single-sided markets. In single-sided

markets, sellers sell products or services to one group of buyers. For instance, grocery stores sell

groceries to consumers. Some markets, however, are referred to as two-sided markets. In two-

sided markets, a seller “offers different products or services to two different groups who both

depend on the platform to intermediate between them”. Am. Express, 138 S. Ct. at 2280. In the

now classic example, credit card companies sell credit card services to both merchants and


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cardholders, standing between the two to process transactions between the merchant and the

cardholder. See id. at 2279-80.

                33.    In defining the relevant market for a “two-sided platform”, the Court must

undertake additional considerations. A two-sided platform typically experiences “indirect

network effects”, which means that the value of the platform to one side depends heavily on the

number of users on the other side. Although “it is not always necessary to consider both sides of

a two-sided platform”, in the situation where indirect network effects are “more pronounced”,

“courts must include both sides of the platform . . . when defining the . . . market”. Id. at 2286.

                34.    Here, there is no dispute that smartphone operating systems are two-sided

platforms with significant indirect network effects. (Evans; Schmalensee.) That is, a

smartphone operating system is significantly more valuable to users if there are many developers

developing apps for the operating system; in turn, the operating system is significantly more

valuable to developers if there are many users to use their apps. Therefore, in assessing whether

there is a valid antitrust market for smart operating systems, the analysis must consider both

sides of the platform—the consumer-facing side and the developer-facing side.

                35.    The Court has considered whether potential substitutes for smartphones

(and therefore smartphone operating systems) such as feature phones, personal computers, and

gaming consoles are adequate substitutes for either consumers or developers. The evidence

demonstrates they are not.

                36.    Consumers do not view other electronic devices as substitutes for

smartphones because smartphones have a unique configuration of features, including multi-

functionality, portability, the ability to access to the Internet, and cellular connectivity. (Findings

of Fact § III.C.)



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                  37.   Feature phones are reminiscent of early generation cell phones, typically

with buttons. They allow consumers to make phone calls and take pictures, but lack many other

qualities of smartphones, including a convenient way to access the Internet. Consumers

therefore do not consider feature phones to be reasonable substitutes for smartphones. (Findings

of Fact ¶ 140.)

                  38.   Personal computers, including desktop computers and laptops, are not

nearly as portable as smartphones and typically rely on a WiFi connection for Internet access.

Consumers therefore do not consider personal computers, including both desktop computers and

laptops, to be reasonable substitutes for smartphones. (Findings of Fact ¶ 141.)

                  39.   Because Apple has attempted to make this case about a so-called digital

game transactions market, it has spent significant time on efforts to persuade the Court that

dedicated home gaming consoles should be included within the group of products substitutable

for mobile general computing smartphones. It would be an inappropriate narrowing of Epic’s

claims to construct an artificial market that would calculate Apple’s share and Apple’s power to

be far lower than they are in reality.

                  40.   The factual record demonstrates that consoles are not substitutable for

smartphones. Dedicated gaming consoles, such as Microsoft’s Xbox or Sony’s PlayStation, are

single-purpose devices—i.e., their purpose is to play games—and do not include general

computing features like smartphones. Further, most gaming consoles are not as portable as

smartphones; they often require access to electrical outlets; they must access WiFi to support

online play; and they lack typical smartphone functions, such as a camera and a GPS. (Findings

of Fact ¶ 142.)




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even for those users who do access apps on multiple platforms, to lose a substantial percentage

of those users’ time on the app). (Evans; Athey; Schmalensee.)

               44.     Smartphones are critical platforms for developers. There are 3.4 billion

smartphones connected to cellular networks. (Findings of Fact ¶ 416.) And smartphones are

often the only device available to consumers when they are away from home. (Haun Dep.

170:23-171:10.) If developers did not make smartphone apps, then they would not be able to

reach consumers who are on the go or who lack alternative devices. (Evans.)

               45.     Epic’s experience is consistent with this dynamic. Epic launched Fortnite

for smartphones with the express purpose of reaching new users and giving its existing users new

opportunities to play. (Sweeney.) Epic’s effort paid off: as of August 13, 2020, roughly 64% of

the Fortnite players who ever played Fortnite on an iOS device—more than 70 million users—

only ever played Fortnite on iOS devices, and on no other devices. (Findings of Fact § 386(f).)

After Apple removed Fortnite from the App Store, mobile Fortnite users shifted only a small

fraction of their playtime to Fortnite on other devices. (Evans.)

               46.     Empirical economic analysis also establishes that the Smartphone

Operating System Market is properly defined. An antitrust product market may be defined as a

product or group of products such that “a hypothetical profit-maximizing firm, not subject to

price regulation, that was the only present and future seller of those products (‘hypothetical

monopolist’) likely would impose at least a small but significant and non-transitory increase in

price (‘SSNIP’) on at least one product in the market.” U.S. Dep’t of Justice & Fed. Trade

Comm’n, Horizontal Merger Guidelines § 4.1.1 (2010); see also Saint Alphonsus Med. Ctr.-

Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 784 (9th Cir. 2015) (stating that a

SSNIP is a “common method” for defining the relevant market); Theme Promotions, Inc. v.



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News America Marketing FSI, 546 F.3d 991, 1002 (9th Cir. 2008) (“Determining the relevant

market can involve a complicated economic analysis, including . . . ‘small but significant

nontransitory increase in price’ (‘SSNIP’) analysis.”). A SSNIP is typically considered to be five

to ten percent of the price paid by consumers for the relevant product or service. U.S. Dep’t of

Justice & Fed. Trade Comm’n, Horizontal Merger Guidelines § 4.1.2 (2010).

               47.     Epic’s principal economic expert, Dr. David Evans, presented economic

evidence that a hypothetical monopolist of smartphone operating systems would be able to

increase the price of smartphone operating systems to both users and developers by at least 10%

and still increase its profits. (Evans.) This is strong evidence in favor of Epic’s market

definition. See Saint Alphonsus, 778 F.3d at 784-85 (affirming district court’s determination of

the relevant market based on SSNIP test). Apple’s economic experts, meanwhile, did not

attempt a SSNIP test concerning Epic’s proposed Smartphone Operating System Market (or

concerning their proposed alternative market).

               48.     Instead of performing a SSNIP test, Apple asserts that “the viability of the

SSNIP test in the context of two-sided transaction platforms is unsettled”. (Joint Submission

Regarding Trial Elements, Legal Framework and Remedies (“Legal Framework”) (ECF

No. 276) at 12 (citing United States v. Sabre Corp., 452 F. Supp. 3d 97, 138 (D. Del. 2020).)

The sole case Apple cites—Sabre—is distinguishable. There, the court acknowledged that a

SSNIP is, in fact, a “common method” for defining the relevant product; however, based on the

specific facts that indicated the test before it was based on faulty assumptions, it rejected it. See

Sabre, 452 F. Supp. at 142.

               49.     Apple also argues that the Smartphone Operating System Market is not a

cognizable market because operating systems are bundled with smartphones themselves, and



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neither major operating system (iOS or Android) is sold or licensed at a positive price. (See, e.g.,

Schmalensee.) This argument looks at the market only from the consumer side; it is clear that

developers make decisions to write apps or otherwise devote resources to a particular operating

system (or, more typically, to both operating systems). (Findings of Fact § III.D.) Even from the

consumer side, a choice between operating systems is often the first decision a consumer makes

before deciding which device running that operating system to buy. (Evans.) A simple thought

experiment proves the point—what would happen if Apple, as owner of iOS, were to attempt to

buy the Android operating system from its owner, Google? That would lead to a near-total

monopoly on smartphone operating systems that would never pass antitrust scrutiny, showing

that the smartphone operating systems themselves form a relevant market.

                       b.     The relevant geographic market is global, excluding China.

               50.     As noted, in addition to determining which products fall within the

relevant market, the Court must also determine the geographic scope of the market. See Hicks,

897 F.3d at 1120 (“The relevant market must include both a geographic market and a product

market.”). “The criteria to be used in determining the appropriate geographic market are

essentially similar to those used to determine the relevant product market.” Brown Shoe, 370

U.S. at 336. “A geographic market is an area of effective competition where buyers can turn for

alternate sources of supply.” Morgan, Strand, Wheeler & Biggs v. Radiology, Ltd., 924 F.2d

1484, 1490 (9th Cir. 1991) (internal quotation marks and alterations omitted).

               51.     The Smartphone Operating System Market is global excluding China.

The major original equipment manufacturers (“OEMs”), including Apple and Samsung, market

and sell their devices to consumers in virtually all countries where there is sufficient demand for

smartphones.



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               52.     China, however, is not part of the Smartphone Operating System Market.

(Findings of Fact § III.B.) Due to government regulations, Android OEMs distribute different

versions of their devices, with different sets of pre-installed apps, inside and outside of China.

Different versions of the Android operating system, known as “forks”, proliferate inside China.

Government regulations, as well as other factors unique to China, also have resulted in the

broader digital economy in China being dominated by domestic firms. Most consumers outside

China would not consider buying a Chinese smartphone, along with its operating system,

because they would not be able to use many relevant apps. (Evans.) Likewise, most developers

would not be able to substitute to Chinese smartphones, and their operating systems, for writing

apps because they would not be able to reach most consumers outside of China. (Evans.) As a

result, China represents a separate geographic market for smartphone operating systems.

               53.     Apple contends that the relevant antitrust markets in this case should be

limited to the United States. There is no legal or economic basis for this position. As described

above, the major OEMs distribute their smartphones, with the same iOS or Google Android

operating systems, to consumers around the world, meaning consumers make their purchasing

decisions from among globally available options. And most developers, including Epic,

distribute their apps to consumers around the world. (Evans; Sweeney.) Moreover, with respect

to the aftermarkets described in more detail below, the Apple conduct at issue applies to

consumers and developers globally. (Findings of Fact ¶ 168.)

               54.     Apple also contends that the market should be confined to the United

States because the U.S. antitrust laws are primarily concerned with U.S. consumer welfare. But

that is irrelevant for market definition purposes. See Morgan, Strand, Wheeler & Biggs,

924 F.2d at 1490 (focusing on “area of effective competition where buyers can turn for alternate



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sources of supply”). The fact that Apple has raised a defense to Epic’s claims based on the

Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a, does not impact the market

definition inquiry, which is a question about the area of effective competition, not the reach of

U.S. antitrust laws. Courts regularly recognize global markets in antitrust cases. See, e.g.,

United States v. Microsoft Corp., 253 F.3d 34, 52 (D.C. Cir. 2001) (upholding relevant

geographic market encompassing “the licensing of all Intel-compatible PC operating systems

worldwide”); United States v. Eastman Kodak Co., 63 F.3d 95, 108 (2d Cir. 1995) (upholding

worldwide geographic market for film). Moreover, the U.S. antitrust laws are also concerned

with U.S. businesses, such as Epic, that are harmed by anti-competitive conduct, including harm

that such U.S. businesses suffer relating to their transactions with foreign consumers. See

15 U.S.C. § 6a (Sherman Act generally applies to conduct affecting “export trade”).

               55.     For the foregoing reasons, there is a valid antitrust foremarket for

smartphone operating systems, which is a two-sided market that provides a platform for users

and developers alike. The market is global, excluding China.

               ii.     Apple has substantial market power in the Smartphone Operating System
                       Market.

               56.     “Market power is the ability to raise prices above those that would be

charged in a competitive market”. Nat’l Collegiate Athletic Ass’n v. Bd. of Regents of Univ. of

Okla., 468 U.S. 85, 109 n.38 (1984); Jefferson Parish Hosp. Dist No. 2 v. Hyde, 466 U.S. 2, 21

n.46 (1984), abrogated on other grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 27

(2006) (“As an economic matter, market power exists whenever prices can be raised above the

levels that would be charged in a competitive market.”).

               57.     Within the Smartphone Operating System Market, Apple is one of just two

meaningful competitors and possesses substantial market power over consumers and developers


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a successful new entrant to the Smartphone Operating System Market since 2008. Well-funded

entrants like Microsoft have tried and failed, and any prospective new entrant would be (at best)

years away from challenging the position of either Apple or Google. (Findings of Fact ¶ 151.)

               61.     As a practical matter, Google’s Android operating system does not act as a

meaningful competitive constraint or a check on Apple’s market power because there is limited

switching and high switching costs for consumers between Android and iOS. (Findings of Fact

§ II.B.) “Switching costs” refer to the expenses and obstacles consumers incur when moving

from one operating system to another, including the cost of purchasing a new smartphone,

replacing their old apps, losing certain functionalities, losing certain data, and learning a new

operating system, among other costs. Further, as detailed by Dr. Evans and Dr. Athey,

consumers face significant “mixing-and-matching” costs when they use devices from more than

one platform. (Evans; Athey.) Users incur mixing-and-matching costs when their devices do not

operate and synchronize well across platforms, such as when a user begins drafting a document

on his or her laptop but then cannot easily access that document on his or her smartphone, or

when a user cannot use his or her phone to set parental controls for his or her children’s devices

because they are not on the same operating system.

               62.     Apple is well aware of these costs and, in fact, views increasing consumer

switching costs and consumer mixing-and-matching costs as an important feature of its business

model. (Findings of Fact § II.B.) For example, Eddy Cue, an Apple executive, acknowledged

that “[t]he more people use our stores the more likely they are to buy additional Apple products

and upgrade to the latest versions. Who’s going to buy a Samsung phone if they have apps,

movies, etc already purchased? They now need to spend hundreds more to get to where they are

today”. (PX404.) He added “[g]etting customers using our stores (iTunes, App and iBook store)



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is one of the best things we can do is get people hooked to the ecosystem”. (PX404.) The term

“ecosystem” is used by Apple to describe the set of devices and features that work to lock

consumers into iOS devices. Apple knows that once consumers choose iOS, they tend not to

switch to Android, even in the face of higher prices.

                63.     Developers also recognize this fact. As noted above, rather than miss out

on either operating system’s substantial user base, most developers incur the additional costs of

writing the same apps for both Android and iOS. (Findings of Fact § III.D.) The evidence

demonstrates that it is not economically viable for developers to abandon a smartphone operating

system when confronted with higher prices or restrictive platform policies. (Shoemaker Dep.

79:24-80:10.)

                64.     iOS presents a particularly important marketing channel for developers.

Not only are there more than one billion active iPhones (Findings of Fact ¶ 45), but developers

have found that “users spent more money on the iOS application than they did on the Android

application” (Okamoto Dep. 320:4-10, 14-22). In Epic’s own experience, iOS users spend

approximately double what Android users spend in Fortnite. (Sweeney.) This further enhances

Apple’s already substantial market power in the Smartphone Operating System Market.

                65.     This evidence is more than enough to prove Apple’s substantial market

power in the foremarket. See Bristol Tech., Inc. v. Microsoft Corp., 42 F. Supp. 2d 153, 169 (D.

Conn. 1998) (noting that market characteristics of less than 50% market share and high barriers

to entry due to network effects could support a finding of monopoly power); N.M. Oncology &

Hematology Consultants, Ltd. v. Presbyterian Healthcare Servs., 418 F. Supp. 3d 826, 840 (N.D.

Tex. 2014) (similar).




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               iii.   There is an aftermarket for app distribution on iOS.

               66.    There is an aftermarket to the Smartphone Operating System Market for

the distribution of compatible apps for the iOS operating system: the iOS App Distribution

Market. In theory, this market could include both two-sided platforms (such as the App Store

and third-party app stores) as well as one-sided transactions (such as downloading apps directly

from developers’ websites). Both structures are ways for users and developers to connect, and

from both users’ and developers’ perspectives, a transaction on the App Store, a transaction on a

third-party app store, and a direct download from a developer’s website would all be substitutes.

In practice, however, Apple has foreclosed all participants in the iOS App Distribution Market

other than its own App Store.

               67.    As noted, app stores developed for other operating systems—principally,

Android—are not substitutes for app stores that carry iOS apps. The evidence is uncontradicted

that apps are written for, and only work on, a specific operating system. iOS apps do not run on

Android devices and vice versa. The evidence shows that the Apple App Store does not

distribute Android apps, nor do the Android stores distribute iOS apps. Moreover, the iOS App

Store is itself an iOS app that can run only on the iOS operating system, and other app stores

cannot run on iOS. (Findings of Fact ¶¶ 182-84.)

               68.    The evidence shows that users and developers do not consider distribution

of apps on other platforms to be an adequate substitute for distribution of apps on iOS. To begin

with, Epic’s experts have shown that a hypothetical monopolist of the iOS App Distribution

Market could profitably raise distribution prices by a SSNIP on iOS app users, on iOS app

developers or even on both sides of the market.

               69.    First, as to iOS app users, Epic expert Professor Peter Rossi conducted a

consumer survey designed to assess how consumer spending patterns on iOS would change in
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distributing Fortnite in the App Store altogether, even if Epic did not pass through any of the

increased commission to consumers. (Evans.) Further, he concluded that most iOS developers,

who do not have the same opportunities as Epic to shift their iOS revenue to other platforms,

would find it even more unprofitable to cease distributing their apps through the App Store in the

face of a SSNIP. (Evans.)

               74.    Third, these analyses show that a hypothetical monopolist of iOS app

distribution could raise the commission without responses by either side of the market—

consumers or developers—being sufficient to make that increase unprofitable. Given the

switching costs that face consumers and consumers’ demonstrably inelastic demand, a SSNIP in

the commission would not result in a material decline in iOS app users, meaning that the iOS

platform would not become less attractive to developers and demand by developers would not

decline from indirect network effects. Accordingly, the SSNIP in the commission would not

cause a decline in the supply of apps, so the iOS platform would not become less attractive to

consumers and demand by consumers would not decline as a result of indirect network effects.

In sum, a hypothetical (or actual) monopolist of iOS app distribution could profitably impose a

SSNIP on both sides of the market simultaneously. See Saint Alphonsus, 778 F.3d at 784-85.

               75.    Apple has argued that if there is a market for the distribution of apps, it

must include the distribution of web apps and streaming apps through Internet browsers. The

evidence does not support this position. A web app is one available from a website and is

utilized on a device (such as an iOS device) though a web browser. (Cue Dep. 171:21-24.)

Native apps are “faster”, “use less memory”, and “can take advantage of native graphics libraries

in a way that is either not available or would have to be shoehorned in a web app or a different

kind of application”. (Forstall Dep. 81:17-24.) These limitations, among others, make web apps



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less attractive to both consumers and developers. (Findings of Fact § III.K.) Epic, for example,

does not make or distribute a web app version of Fortnite because the performance would be

materially worse than that of a native application. (Grant.)

               76.     Because web iOS apps are not functionally interchangeable with native

iOS apps, they are properly excluded from the relevant aftermarket for app distribution on iOS.

See United States v. Grinnell Corp., 384 U.S. 563, 574 (1966) (property-protection services that

differed in their “utility, efficiency, reliability, responsiveness, and continuity” were not

sufficiently interchangeable with central station property-protection services and thus properly

excluded from the relevant product market); Microsoft, 253 F.3d at 52 (explaining that “non-PC

based competitors” such as “portal websites that host server[-]based software applications” were

properly excluded from the relevant product market of Intel-compatible PC operating systems

because they “fall far short of performing all of the functions of a PC”); id. (excluding Apple’s

Macintosh operating system, macOS, from the relevant product market because it was “less

appealing to consumers” due in part to the fact that it “supports fewer applications”); Fed. Trade

Comm’n v. Sysco Corp., 113 F. Supp. 3d 1, 25-29 (D.D.C. 2015) (finding other modes of

foodservice distribution “not functionally interchangeable” with the relevant product market of

broadline foodservice distribution in part due to the “inferior . . . quality” and lack of

“comparable value-added services” of those other distribution channels); Fed. Trade Comm’n v.

CCC Holdings Inc., 605 F. Supp. 2d 26, 41-43 (D.D.C. 2009) (finding the “peculiar

characteristics” of certain total loss valuation software, such as “especially accurate, up-to-date

valuations, speed, reliance and defensibility, and ability to interface with estimating products”, to

support conclusion that other less accurate and less up-to-date total loss valuation methods were

properly excluded from the relevant product market); see also Datel Holdings Ltd. v. Microsoft



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Corp., 712 F. Supp. 2d 974, 997 (N.D. Cal. 2010) (concluding at the pleading stage that

“appropriate differentiations” such as “distinct core functionality” were sufficient to demonstrate

that there was no “reasonable interchangeability between the Xbox 360 and the Play[S]tation 3

on the one hand, and the Wii, Play[S]tation 2 and personal computers on the other hand”).

               77.     For similar reasons, cloud gaming and streaming services are also not

substitutes for native iOS apps. Cloud gaming or app streaming occurs when an app runs on a

remote server that the user accesses. The server that hosts the app sends a live video or audio

stream to the device on which the user then views the stream. Due in part to these limitations,

cloud gaming services are “not very successful”. (Federighi Dep. 165:10-15.) Epic has made

Fortnite for PC available through streaming services such as Nvidia’s GeForce Now, but it

recognizes that cloud streaming offers a materially worse experience than running a game on a

native app, and that this would particularly be the case on iOS where Apple forces users to

access the streaming service through an Internet browser. (Grant.) Not only is the streamed

version of Fortnite for PC subject to the technological limitations noted above, but there is also

the additional cost to users in the form a subscription to the applicable streaming service.

(Grant.) Streaming apps also cannot be used “off line” while native apps can be used without a

live WiFi or cellular data connection. (Findings of Fact ¶ 198.) For the foregoing reasons, the

distribution of streaming apps should be excluded from the iOS App Distribution Market. See

Grinnell, 384 U.S. at 574; Sysco, 113 F. Supp. 3d at 25-29; CCC Holdings, 605 F. Supp. 2d at

41-43; see also Microsoft, 253 F.3d at 52 (accepting district court’s finding that macOS was

“less appealing to consumers because it costs considerably more” and thus properly excluded

from the relevant product market).




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               78.     The geographic scope of the iOS App Distribution Market is global,

excluding China, for reasons similar to those discussed above with respect to the foremarket at

issue. (Evans.) The App Store distributes apps in more than 175 regions, but government

regulations make China different. (Findings of Fact ¶ 168.) While Apple claims that only

distribution of iOS apps to U.S. consumers should be in the geographic market, that argument

fails. Apple bases its position on the fact that the App Store has country-specific storefronts,

which restrict where consumers can purchase apps. But this condition is the result of the very

Apple policies that are at issue in this case. In the absence of Apple’s policies, U.S. consumers

would be free to shift their purchasing activity to non-U.S. app stores or direct distribution from

developers in the face of a price increase in the United States. This is consistent with a global

market. (Cragg.) Apple’s argument that the geographic market should be limited to U.S.

consumers on the theory that the U.S. antitrust laws focus on U.S. consumers is without merit for

the reasons stated above regarding the geographic scope of the foremarket.

               79.     Developers typically release apps on a global basis. Epic, for example,

has distributed the mobile versions of its apps—for both Android and iOS—in more than 150

countries around the world. (Findings of Fact ¶ 350.) Epic distribution for Fortnite, its other

apps (for instance, Houseparty), and Unreal Engine, is generally worldwide. (Findings of Fact

¶ 350(a).)

               iv.     The iOS App Distribution Market is a valid single-brand market.

               80.     In its landmark Kodak decision, the U.S. Supreme Court recognized that

“in some instances one brand of a product can constitute a separate market”. Kodak , 504 U.S.

at 482; see also Newcal, 513 F.3d at 1048 (“[T]he law permits an antitrust claimant to restrict the

relevant market to a single brand of the product at issue.”). In such instances, the market is

known as a “single-brand market”. Determining whether a single-brand market is proper
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requires “a factual inquiry into the ‘commercial realities’ faced by consumers”. Kodak, 504 U.S.

482 (quoting Grinnell, 384 U.S. at 572).

               81.     Under the Ninth Circuit’s seminal decision in Newcal, courts in the Ninth

Circuit typically consider four aspects of the alleged market to determine if it is a properly

defined single-brand aftermarket. See Newcal, 513 F.3d at 1049-50. The first indicator of an

aftermarket is that the market is “wholly derivative from and dependent on the primary market.”

Id. at 1049. The second indicator is that the “illegal restraints of trade and illegal monopolization

relate only to the aftermarket, not to the initial market.” Id. at 1050. The third indicator is that

the defendant’s market power “flows from its relationship with its consumers” and the defendant

did “not achieve market power in the aftermarket through contractual provisions that it obtains in

the initial market.” Id. The fourth indicator is that “[c]ompetition in the initial market . . . does

not necessarily suffice to discipline anticompetitive practices in the aftermarket.” Id.

               82.     The iOS App Distribution Market satisfies all four aspects for a valid

single-brand market.

               83.     First, the iOS App Distribution Market is “wholly derivative from and

dependent on” the Smartphone Operating System Market. See Newcal, 513 F.3d at 1049.

Without iOS, there would be no market for app distribution on iOS.

               84.     Second, the “illegal restraints of trade and illegal monopolization relate

only to the aftermarket, not to the initial market.” Id. Epic is not challenging Apple’s practices

with respect to the sale of smartphone operating systems and the devices in which they are

bundled. Rather, the restraints at issue apply only to the aftermarket—specifically, Apple’s

technical and contractual restrictions on the distribution of iOS apps.




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               85.    Third, Apple’s market power “flows from its relationship with its

consumers” and Apple did “not achieve market power in the aftermarket through contractual

provisions that it obtains in the initial market”. Id. at 1050. Consumers do not contractually

agree to obtain apps only through the App Store when they purchase an iPhone. (Findings of

Fact § 211.) Instead, consumers’ limited access is enforced through technical restrictions (such

as preventing consumers from downloading apps directly from websites) on the device and

contractual restrictions on the developers (such as requiring distribution through Apple’s App

Store).

               86.    Apple forces developers to forego other distribution channels—such as a

non-Apple app store on iOS, or direct downloads onto the iOS platform—as a condition of

access to iOS. Apple’s total control over iOS gives it “special access to its consumers” that

enables it to ensure that consumers have no other choice. Newcal, 513 F.3d at 1050.

               87.    Fourth, “[c]ompetition in the initial market . . . does not necessarily

suffice to discipline [Apple’s] anticompetitive practices in the aftermarket.” Id. As discussed

above, Apple possesses substantial market power in the Smartphones Operating Systems Market.

This is due in large part to the significant switching and “mixing-and-matching” costs faced by

consumers when they try to change operating systems, and which are an express part of Apple’s

business model of locking consumers into the iOS ecosystem. (Findings of Fact § II.B.)

               88.    Additionally, consumers face significant information costs that prevent

them from considering Apple’s anti-competitive practices in the iOS App Distribution Market

when making their decision in the foremarket. Information costs refer to costs incurred by

consumers in obtaining complete information relevant to their decision-making. Most

consumers are not aware of Apple’s restrictions in the iOS App Distribution Market or their



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corresponding effect on app distribution costs. Moreover, even those consumers who know the

facts about Apple’s practices in the iOS App Distribution Market typically do not or cannot

effectively take those facts into account when choosing a smartphone and operating system.

This is because the cost of distributing apps is low compared to the overall cost of a smartphone

and because it is difficult to calculate and compare the lifecycle costs of smartphones between

smartphone operating systems. (Evans.) The “lifecycle costs” of a smartphone refers to all costs

incurred with respect to a device over its expected lifespan, including the purchase price of the

device and all apps that the consumer downloads onto the device, among other costs. (Evans);

Kodak, 504 U.S. at 473.

               89.     Apple intentionally increases information costs. It expressly prevents

developers from informing consumers of the availability of alternative purchase options and

rejects apps from the App Store for disclosing the fact of Apple’s 30% commission. (Findings of

Fact ¶ 246.) Apple does not internally estimate the average consumer’s lifetime spend on apps

and, therefore, does not provide that information to consumers when they are choosing a

smartphone operating system. (Findings of Fact 173(b).)

               90.     Nevertheless, Apple argues that “‘[a]n antitrust plaintiff cannot succeed on

a Kodak-type theory when the defendant has not changed its policy after locking-in some of its

customers’”. (Legal Framework (ECF No. 276) at 15 (quoting PSI Repair Servs., Inc. v.

Honeywell, Inc., 104 F.3d 811, 820 (6th Cir. 1997)).) But that is not what either Kodak or

Newcal require. Although a post-lock-in change in policy can give rise to a valid single-brand

market, whether the policy was put in place before or after consumers made their selection in the

foremarket is not determinative. Instead, Epic only must show that “market imperfections . . .

prevent consumers from realizing that their choice in the initial market will impact their freedom



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policy that has occurred after many developers and users alike have become “locked in” to the

iOS ecosystem.

               92.     Moreover, contrary to its claims, Apple has repeatedly increased prices

after developers and consumers were locked in, including by requiring use of Apple’s IAP to

process payments for in-app digital content (2009); requiring IAP for subscriptions (2011); and

charging developers for search ads (2016). (Findings of Fact ¶¶ 23, 123.)

               v.      The relevant market is not digital game transactions.

               93.     Apple has centered its defense on an alternative antitrust market defined in

terms of “digital game transactions” on what Apple refers to as gaming transaction platforms.

This theory misapplies longstanding antitrust principles and does not fit the facts of the case.

               94.     To construct its “digital game transactions” market, Apple starts with a

clear legal error: looking at the business Epic purportedly is in rather than the conduct at issue in

Epic’s claims. Apple argues that Epic is a developer of gaming apps, and that it is therefore

proper to start by assessing a market relating to transactions in gaming apps, on the theory that

they are the product at the center of the case. This is simply not the legal standard, as noted

below.

               95.     Setting aside the legal error underlying this argument, it simply does not

square with the evidence. Epic is not just a developer of gaming apps. Aside from developing

products like Fortnite (which is in fact not simply a game but also a forum for social activities

like concerts and movies), Epic also develops the social networking app Houseparty.

Additionally, Epic develops one of the most prominent three-dimensional environment building

tools (Unreal Engine), and numerous “middleware” tools and assets used by third parties for a

wide range of software products. Epic is a third-party PC app publisher, and a distributor of

third-party apps through its own PC app store. Finally, Epic would offer its app store to compete
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with Apple’s App Store if Apple’s restrictions were lifted. (Findings of Fact § IX.) Apple’s

attempt to define a market on the premise that Epic’s interest and claims are limited to gaming

apps is not just legal error but factually incorrect.

                96.      Apple is also wrong on the law regarding how markets are defined. As

stated above, a basic principle of antitrust law is that relevant product markets are defined as a

tool to understand the nature of the competition that could constrain the defendant’s allegedly

unlawful conduct. Since the earliest cases, e.g., Brown Shoe, 370 U.S. at 325-26, the Supreme

Court has instructed courts to anchor this analysis to the potential economic substitutes for the

defendant’s product that is the subject of the allegedly anticompetitive conduct. Looking at the

plaintiff’s characteristics is not part of the analysis. See, e.g., Newcal, 513 F.3d at 1045 (“The

consumers do not define the boundaries of the market; the products or producers do.”); Lockheed

Martin Corp. v. Boeing Co., 314 F. Supp. 2d 1198, 1228 (M.D. Fla. 2004) (“Determining which

products make up the market is the first step. Purchasers are relevant at this initial stage only

insofar as their demands govern cross-elasticity, which determines whether and which substitutes

are relevant products.”); Soap Opera Now, Inc. v. Network Publ’g Corp., 737 F. Supp. 1338,

1345 (S.D.N.Y. 1990) (“Although it is proper to identify the ultimate consumer of the product in

order to make a determination as to whether two products are reasonable substitutes for one

another[,] . . . a definition of the market itself which consists of consumers or potential

consumers may, as here, obfuscate the issues of monopoly power and reasonable

interchangeability.”).

                97.      The ultimate question is what products constrain the ability of the alleged

monopolist to raise price or reduce output with regard to the market it is alleged to have

monopolized. See Newcal, 513 F.3d at 1045 (“the market must encompass the product at issue



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as well as all economic substitutes for the product” and “include the group or groups of sellers or

producers who have actual or potential ability to deprive each other of significant levels of

business” (internal quotation marks omitted)); (Evans.). Here, for this Section 2 claim alleging

conduct that affects the distribution of all iOS apps, that market is iOS app distribution. Apps on

other platforms would only enter the analysis to the extent consumers and developers could

reasonably turn to them in the face of worsening terms (a price increase or a decrease in quality)

and here, as noted above, they cannot.

               98.     In one respect, Apple’s focus on the identity of the plaintiff leads it to a

proposed market that is too narrow. The challenged conduct is not specific to Epic or to game

apps. Apple’s restrictions on alternative iOS distribution channels apply to all app developers,

no matter the type of app they develop, and to all potential app distributors, no matter the type of

apps they would distribute. Likewise, as discussed below, Apple’s restrictions on payment

processing apply to all in-app transactions for digital content, not just digital game transactions.

(Evans; Cragg.)

               99.     While Apple argues that the competitive conditions facing the distribution

of gaming apps are different from the competitive conditions facing other apps, that is both

irrelevant and imprecise. It is irrelevant because, as noted, the Apple conduct at issue extends to

a wide variety of apps, and neither Epic’s claims nor Epic’s business is limited to gaming apps.

It is imprecise because the logical conclusion of Apple’s position would be to fragment the

market even further. The substitution possibilities facing iOS players of an immersive multi-

player game like Fortnite that is available on several platforms are different from the substitution

possibilities facing iOS players of games that depend on GPS positioning like Pokémon Go

(which are available only on mobile devices) or of simple and casual games like Words With



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suggesting this pricing move was in response to or affected by declining costs or increased

competitive pressures. And Apple expects “that the App Store will remain profitable

notwithstanding the implementation of the Small Business Program”. (Cue Dep. 134:4-6, 134:8.)

                112.    Third, Apple’s treatment of developers is consistent with the exercise of

monopoly power. Apple’s distribution agreements are contracts of adhesion that developers

small and large—including multi-billion dollar companies like Epic, Microsoft, and Facebook—

must accept without an opportunity to negotiate terms. Additionally, developers are at the mercy

of the App Store’s App Review process when it comes to distributing their apps to consumers, as

Apple has significant discretion in deciding which apps are approved, delayed or rejected during

review. (Findings of Fact § X.E.) Finally, Apple has used the App Store “as a weapon against

competitors” (PX99, at 5; Shoemaker Dep. 75:12-16), rejecting or delaying apps that compete

with its own products on “pretextual grounds” (Shoemaker Dep. 88:2-8).

        B.      Apple willfully maintains its monopoly power.

                113.    The Court has found that Epic’s market definitions are proper, and that

Apple has monopoly power in the iOS App Distribution Market. The next step of the analysis is

to consider whether Apple has engaged in anti-competitive conduct to maintain its monopoly.

                114.    Unilateral conduct, that is, conduct by one firm as opposed to a

combination of firms, is evaluated under the “rule of reason.” Qualcomm, 969 F.3d at 991.

“Regardless of whether the alleged antitrust violation involves concerted anticompetitive conduct

under § 1 or independent anticompetitive conduct under § 2, the three-part burden-shifting test

under the rule of reason is essentially the same. . . . The similarity of the burden-shifting tests

under §§ 1 and 2 means that courts often review claims under each section simultaneously.” Id.;

accord Microsoft, 253 F.3d at 59 (“[I]t is clear . . . that the analysis under section 2 is similar to

that under section 1 regardless whether the rule of reason label is applied.” (quoting Mid-Texas
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Commc’ns Sys., Inc. v. Am. Tel. & Tel. Co., 615 F.2d 1372, 1389 n.13 (5th Cir. 1980))); see also

Standard Oil Co. v. United States, 221 U.S. 1, 61-62 (1911) (“[W]hen the [second] section [of

the Sherman Act] is thus harmonized with . . . the [first], it becomes obvious that the criteria to

be resorted to in any given case for the purpose of ascertaining whether violations of the section

have been committed is the rule of reason guided by the established law . . . .”).

                115.    Apple argues that the rule of reason is inapplicable to its conduct in this

case and that a “more specific” rule should apply, such as the duty to deal doctrine. (Legal

Framework (ECF No. 276) at 58.) The law in this Circuit is clear, however, that Section 2

claims use “essentially the same” three-part burden-shifting test under the rule of reason as

Section 1 claims. See Qualcomm, 969 F.3d at 991.3

                116.    One of the bases on which Apple argues for a different analytical

framework is to urge the Court to view this case as a so-called “refusal to deal” case. (See Legal

Framework (ECF No. 276) at 57.)

                117.    In a refusal to deal case, a plaintiff seeks to establish liability because of a

firm’s refusal to engage in a transaction with the plaintiff. For example, in the paradigmatic

refusal to deal case, Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585 (1985), a

ski resort operator refused to participate with the plaintiff in selling a joint lift ticket package that

covered its mountains and the plaintiff’s mountain. But the refusal to deal case law that Apple

invokes applies only to unconditional refusals to deal, such as the ski resort operator’s flat

refusal to sell a joint ticket. Such unconditional refusals to deal give rise to liability only in very

narrow cases. Verizon Commc’ns Inc. v. L. Offs. of Curtis V. Trinko, LLP, 540 U.S. 398, 409

(2004); Qualcomm, 969 F.3d at 994.


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        The Court discusses Section 1 in greater detail below. (See § V below.)

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                118.    If a defendant engages in a conditional refusal to deal, however, the

“refusal to deal” framework does not apply. Kodak , 504 U.S. at 463 & n.8 ; Lorain J. Co. v.

United States, 342 U.S. 143, 155 (1951); Microsoft, 253 F.3d at 70-73; United States v. Dentsply

Int’l, Inc., 399 F.3d 181, 188-90 (3d Cir. 2005). In a conditional refusal to deal case, courts will

examine the specific conditions that the defendant imposes and the effects that those conditions

have on competition.

                119.    Here, the unconditional refusal to deal framework does not apply. Apple

willingly dealt with Epic for years, and Apple willingly deals with countless other app

developers. Epic’s claims center on conditions that Apple places on its willingness to deal. In

particular, Apple conditions developers’ access to the iOS platform on developers’ agreement to

abide by Apple’s rules, such as the rule prohibiting apps that act as storefronts and thus could

compete with Apple on app distribution, the rule prohibiting apps that stream games, and (as

discussed further below) the rule requiring Apple’s IAP system to be used for in-app purchases

of digital content. In essence, like countless other monopolists, Apple conditions its willingness

to deal on developers’ agreement to preserve Apple’s exclusivity in certain markets. These

allegations do not invoke the unique circumstances applicable to unconditional refusal to deal

cases like Aspen Skiing. See Kodak, 504 U.S. at 463 n.8 (holding that defendant’s willingness to

deal with third parties only on condition that they do not deal with its competitors is not analyzed

as a “unilateral refusal to deal”).

                120.    Therefore, the Court analyzes Apple’s conduct under the rule of reason.

                121.    Under the rule of reason, the plaintiff has the initial burden to

“demonstrat[e the] anticompetitive effect” of the monopolist’s conduct. Qualcomm, 969 F.3d

at 991 (internal quotation marks omitted). If the plaintiff meets this burden, “then the



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monopolist may proffer a procompetitive justification for its conduct. If the monopolist asserts a

procompetitive justification . . . then the burden shifts back to the plaintiff to rebut that claim. If

the plaintiff cannot rebut the monopolist’s procompetitive justification, then the plaintiff must

demonstrate that the anticompetitive harm of the conduct outweighs the procompetitive benefit.”

Id. (internal quotation marks and citations omitted).

                122.     The Court concludes that Apple has engaged in conduct with significant

anti-competitive effects (see § I.B.i below); Apple’s pro-competitive justifications are pretextual

(see § I.B.ii below); and the anti-competitive effects of Apple’s conduct outweigh its

procompetitive justifications (see § I.B.iii below).

                i.       Apple has engaged in conduct with significant anti-competitive effects.

                123.     “[T]he possession of monopoly power will not be found unlawful [under

Section 2] unless it is accompanied by an element of anticompetitive conduct.” Verizon

Commc’ns v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004); Qualcomm,

969 F.3d at 990; see also Grinnell, 384 U.S. at 570-71 (requiring “the willful acquisition or

maintenance of that power as distinguished from growth or development as a consequence of a

superior product, business acumen, or historic accident” for a Section 2 monopolization claim).

The plaintiff must show “anticompetitive abuse or leverage of monopoly power, or a predatory

or exclusionary means of attempting to monopolize the relevant market.” Qualcomm, 969 F.3d

at 990.

                124.     As discussed above, Apple uses its near total control over the iOS App

Distribution Market to entrench the App Store as the only distribution option and block all

potential competitors.

                125.     The App Store is the only permitted channel for developers to deliver their

iOS apps to the consumer. (Findings of Fact § IV.A.) Apple preinstalls the App Store on the
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home screen of every iPhone. (Findings of Fact ¶ 226.) Apple does not pre-install, or otherwise

allow, any other competing app stores on iOS devices. (Findings of Fact ¶ 227.)

               126.    Apple’s contracts with developers prohibit the distribution of competing

app stores as well as apps that have similar functions (i.e., game streaming services). (Findings

of Fact ¶¶ 219, 222.) As part of its App Review process, Apple rejects and refuses to distribute

apps that do not comply with these prohibitions. (Findings of Fact ¶¶ 558, 561, 562.) Further,

Apple’s “FEAR team” has been tasked with preventing “illicit” distribution. (Findings of Fact

¶ 529.) Apple removes competing app stores from the iOS platform. (Findings of Fact ¶ 559.)

               127.    Apple also has designed technical restrictions into iOS that prevent the

distribution of apps and app stores outside of the App Store. To install or run on iOS, all third-

party apps must be validated and signed using an Apple-issued certificate, and Apple controls the

way in which third-party developers obtain their code signing certificates. (Findings of Fact .)

               128.    Epic alleges that the foregoing conduct has significant anti-competitive

effects. The Court agrees.

               129.    Anti-competitive effects are those that “harm the competitive process and

thereby harm consumers. In contrast, harm to one or more competitors will not suffice.”

Qualcomm, 969 F.3d at 990 (internal quotation marks and citation omitted) (emphasis in

original).

               130.    A plaintiff can prove anticompetitive effects directly and/or indirectly.

Am. Express, 138 S. Ct. at 2284. “Direct evidence of anticompetitive effects would be proof of

actual detrimental effects on competition, such as reduced output, increased prices, or decreased

quality in the relevant market.” Id. (quotation marks, alterations and citations omitted).




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“Indirect evidence would be proof of market power plus some evidence that the challenged

restraint harms competition.” Id. (citations omitted).

               131.    Courts consider the combined anti-competitive effects of a defendant’s

conduct. City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1376 (9th Cir. 1992) (“[I]t

would not be proper to focus on specific individual acts of an accused monopolist while refusing

to consider their overall combined effect.”). In a two-sided market, courts must take into

consideration the effects of the defendant’s conduct on both sides of the market. Am. Express,

138 S. Ct. at 2287.

               132.    There is strong evidence in the record that the technical and contractual

restrictions that Apple imposes to prevent all competing app distribution on iOS devices have

harmed the competitive process. On operating systems that do not have such restrictions—

Windows, macOS, and Android in China—there is vigorous competition among multiple app

distribution channels, including both two-sided app stores and single-sided direct distribution of

apps from developer websites. If Apple did not totally foreclose competition on iOS, app

distributors would similarly compete on iOS—as shown by these other operating systems and by

various efforts to achieve competing distribution on iOS over the years, such as through

streaming games and “jailbreaking”. (Evans.)

               133.    In the absence of competition for app distribution on iOS, Apple has

behaved like a “sleepy monopolist” with respect to that aspect of its business. (Evans.) While

Apple touts the innovation it has displayed over the years in various other areas, it has been slow

to adapt or improve the App Store; it has invested little in the App Store; and it has provided

limited distribution services and largely kept prices constant (or, in some cases, raised them)




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while earning more and more in profit. (Evans.) As a result, both consumers and developers in

the iOS App Distribution Market have suffered anti-competitive effects.

               134.    Specifically, there is substantial evidence in the record of anti-competitive

effects on consumers in the iOS App Distribution Market, including: (1) fewer app stores with

fewer innovative features and less choice (Findings of Fact ¶¶ 247, 249, 259-61); (2) higher

prices due to developers passing on Apple’s supra-competitive commission to consumers

(Findings of Fact § V.B); (3) fewer apps and less innovative apps (Findings of Fact ¶ 258); and

(4) increased consumer switching and “mixing-and-matching costs” from a lack of “middleware”

(Athey; Findings of Fact § V.E).

               135.    There also is substantial evidence of anti-competitive effects on

developers, including: (1) reduced output and less innovation due to Apple’s supra-competitive

commission (Findings of Fact ¶ 258); (2) inferior store features as compared to potential

alternatives (Findings of Fact ¶¶ 248-251, 259-62); (3) higher costs due to slow app review and

arbitrary decisions and errors (Findings of Fact ¶¶ 538-40); (4) lack of exposure for apps created

by smaller developers (Findings of Fact ¶ 262); (5) poor customer service (Findings of Fact

¶¶ 318-21); and (6) the suppression of tools that would make it easier for developers to persuade

consumers to switch to a competing platform, such as a multi-platform app store (Athey;

Findings of Fact § V.E); and (7) Apple preferencing its own apps over competing third-party

apps (Findings of Fact § V.D).

               136.    The Court finds that this evidence, discussed in more detail in the Findings

of Fact, is strong evidence of substantial anti-competitive effects.

               ii.     Apple’s procompetitive justifications are pretextual.

               137.    “[I]f a plaintiff successfully establishes a prima facie case under § 2 by

demonstrating anticompetitive effect[s], then the monopolist may proffer a ‘procompetitive
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justification’ for its conduct.” Qualcomm, 969 F.3d at 991 (quoting Microsoft, 253 F.3d at 59).

A procompetitive justification is “a nonpretextual claim that [the defendant’s] conduct is indeed

a form of competition on the merits because it involves, for example, greater efficiency or

enhanced consumer appeal.” Id.

               138.    Apple justifies its prohibition on alternative app distribution channels on

iOS by pointing to the supposed security benefits of funneling all apps through the App Review

process. This is a pretext.

               139.    As an initial matter, most security features for the iPhone are located at the

operating system level. For example, Apple requires sandboxing on iOS, which creates

restrictions for how an app can interact with the operating system, the device, and other apps.

Apple could continue to enforce such security mechanisms even if apps were distributed outside

of the App Store. (Mickens.) Other essential security functions performed at the operating

system level include (1) address space layout randomization (“ASLR”); (2) W^X memory; and

(3) secure booting. (Mickens.) These features are separate from App Review. (Mickens.)

Thus, restricting app distribution is not necessary to achieve these security measures.

               140.    Apple considers macOS to be a secure platform, even though, as noted

above, Apple does not prevent third-party distribution of apps on macOS like it does on iOS.

(Findings of Fact § X.B.)

               141.    With respect to the App Review process specifically, the process is not an

effective method of detecting security issues or preventing the distribution of malicious software.

Legions of bad apps make their way into the App Store. They always have and always will.

Many are described above in the Findings of Fact. (Findings of Fact § X.G.) Apple’s App

Review has no “secret sauce”. Instead, the manual portion of the App Review relies on a cursory



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review by human reviewers with no special qualifications. The automated portion of the App

Review relies on automated tools, most of which are publicly available and well understood by

the security community. (Findings of Fact § IX.F.) Apple could continue to utilize these tools

even if it allowed distribution outside the App Store, as it does today through the notarization

process on macOS. And if it chooses not to, the evidence shows that third parties could replicate

(and potentially improve upon) both the human and automated features of Apple’s process.

(Lee.)

               142.    Apple permits limited exceptions to its no “store within a store” policy and

is not aware of any security issues introduced through these stores. (See, e.g., PX305; PX30).)

For example, the app Roblox allows consumers access to multiple user-generated games within

the Roblox world, none of which are reviewed by Apple. (Findings of Fact ¶ 560.) Between

2015 and 2018, another app store, Tribe, was available on iOS. (Findings of Fact ¶ 559.)

Although Apple ultimately removed Tribe from iOS, that decision was not the result of any

security issues with Tribe. (Findings of Fact ¶ 559.) In fact, Apple has not conducted any

studies of whether third-party app stores increase the security risks to iOS users. (Findings of

Fact ¶ 563.)

               143.    To the contrary, security could be a vector on which alternative app stores

compete if they were allowed on iOS. Apple is not the only company capable of protecting

users. Indeed, alternative app stores could very well achieve better security results on iOS than

Apple alone. (Lee.) The evidence shows that due to the tremendous number of apps the App

Store must ingest each week, reviewers spend little time reviewing each app; at the very least, a

more highly-curated store could have reviewers spend more time on examining the ins and outs

of a given app. (Findings of Fact ¶ 521.)



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               144.   For the foregoing reasons, the Court concludes that Apple’s

procompetitive justification is pretextual. Although the Court could conclude its analysis here

and find in Epic’s favor, the Court will move on to the next step of the analysis assuming, for the

sake of argument, that Apple’s procompetitive justification is not pretextual.

               iii.   The anti-competitive effects of Apple’s conduct outweigh its
                      procompetitive justifications.

               145.   There is one more step of the rule of reason analysis. “If the plaintiff

cannot rebut the monopolist’s procompetitive justification, ‘then the plaintiff must demonstrate

that the anticompetitive harm of the conduct outweighs the procompetitive benefit.’” Qualcomm,

969 F.3d at 991 (quoting Microsoft, 253 F.3d at 59). If “the monopolist’s conduct on balance

harms competition”, it is “condemned as exclusionary for purposes of § 2”. Microsoft, 253 F.3d

at 59.

               146.   Apple argues that this is not the law. Instead, Apple claims that balancing

is inapplicable in a Section 2 case and that Epic’s only option is to show that the procompetitive

justifications for Apple’s conduct are entirely pretextual. (Legal Framework (ECF No. 276) at

66.) Apple is wrong. The Ninth Circuit—and many other courts—have held that it is

appropriate to balance procompetitive benefits against anti-competitive harms under Section 2.

See Qualcomm, 969 F.3d at 991 (quoted above); Microsoft, 253 F.3d at 59 (quoted above); New

York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 658 (2d Cir. 2015) (“[The plaintiff] has

shown that whatever procompetitive benefits exist are outweighed by the anticompetitive

harms.”); Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 480 (7th Cir. 2020) (“The trier of fact

must first evaluate the evidence and determine whether Comcast’s procompetitive justifications

outweigh the anticompetitive harms from its conduct.”). The cases upon which Apple relies do

not stand for a contrary proposition. See Behrend v. Comcast Corp., No. CIV.A. 03-6604, 2012


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WL 1231794, at *19 n.31 (E.D. Pa. Apr. 12, 2012) (acknowledging the balancing test but

concluding that plaintiffs had waived their ability to rely on it); Morris Commc’ns Corp. v. PGA

Tour, Inc., 364 F.3d 1288, 1295 (11th Cir. 2004) (failing to address whether the balancing test

applied); ACT, Inc. v. Sylvan Learning Sys., Inc., 296 F.3d 657, 670 (8th Cir. 2002) (same). This

Court follows the Ninth Circuit’s caselaw and will, therefore, apply the balancing test.

               147.    When balancing Apple’s procompetitive justifications, the Court also

considers whether Apple’s conduct achieves those benefits “in an unnecessarily restrictive way”.

See Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 894 (9th Cir. 2008) (“Anticompetitive

conduct is behavior that tends to impair the opportunities of rivals and either does not further

competition on the merits or does so in an unnecessarily restrictive way.” ).Apple argues that

there is no “less restrictive alternative” requirement in Section 2 cases. (Legal Framework (ECF

No. 276) at 65 (citing Image Tech. Serv. v. Eastman Kodak Co., 903 F.2d 612, 620 (9th Cir.

1990).) Focusing on whether or not there is a separate “less restrictive alternative” step in

Section 2 cases elevates form over substance. Regardless of how the analysis is labeled, it makes

no sense to credit Apple in the balancing step for the full scope of its procompetitive

justifications when Apple has alternatives. Otherwise, trivial business justifications providing

marginal benefit easily obtainable without harming competition could be argued to cleanse anti-

competitive conduct harming millions or, in this case, billions of consumers, simply because they

do not rise to the level of absolute pretext. Therefore, the Court will weigh Apple’s

procompetitive justifications in light of Apple’s alternatives.

               148.    Apple does have less restrictive alternatives to achieve its alleged

procompetitive benefit of security. Apple’s experience with macOS, where it does not restrict

app distribution exclusively to the App Store, confirms that less restrictive alternatives exist.



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qualifications; and Apple’s automated tools, such as static and dynamic analyzers, are well-

understood and frequently used by security professionals outside of Apple. (Findings of Fact

§ X.H.)

               150.    38.     Therefore, the Court gives Apple little credit in the balancing for

its procompetitive security justifications.

               151.    To the extent that there is any residual procompetitive benefit to Apple’s

conduct that cannot be captured by less restrictive alternatives, the anti-competitive effects of

Apple’s conduct clearly outweigh those benefits. Epic has detailed at great length the many

harms caused by Apple’s complete foreclosure of the iOS App Distribution Market. For

example, Apple’s conduct results in higher prices for consumers; it reduces output and

innovation by forcing developers to pay supra-competitive commissions and subjecting

developers to the arbitrary and error-prone App Review process. (Findings of Fact § V.B, V.C.)

This in turn reduces consumers’ choice of apps and app features. To take another example,

Apple preferences its own apps over third-party developers’ apps in numerous ways, including

by using App Review to block competitor apps and by programming the App Store search

function to prioritize Apple apps. (Findings of Fact § V.D.) Again, both developers and

consumers are harmed because Apples practices make it harder for developers deliver their apps

to consumers. The list goes on. By contrast, Apple has offered nothing but the unsupported,

entirely theoretical concern that opening up iOS to third-party distribution may result in

marginally more bad apps than already exist on the App Store (see § II.B.ii above).

       C.      Apple’s conduct caused antitrust injury to Epic.

               152.    The third and final element of Epic’s Section 2 claim requires that Epic

prove that Apple’s anti-competitive conduct caused Epic injury. The Court concludes that it did.



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               153.    “Causal antitrust injury is a substantive element of an antitrust claim.”

Somers v. Apple, Inc., 729 F.3d 953, 963 (9th Cir. 2013). “The four requirements for antitrust

injury are ‘(1) unlawful conduct, (2) causing an injury to the plaintiff, (3) that flows from that

which makes the conduct unlawful, and (4) that is of the type the antitrust laws were intended to

prevent.’” Feitelson v. Google Inc., 80 F. Supp. 3d 1019, 1027 (N.D. Cal. 2015) (quoting Am.

Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190 F. 3d 1051, 1055 (9th Cir. 1999)).

               154.    Epic has been injured as a would-be competing app distributor on iOS.

Epic currently distributes apps on PCs and Macs through a curated app store called the Epic

Games Store (“EGS”). (Sweeney; Allison.) If EGS were permitted on iOS, Epic would compete

with Apple in the iOS App Distribution Market. (Sweeney.) This would allow Epic to earn

revenue from the distribution of third-party apps as well as to grow the EGS userbase to make it

a more desirable storefront for consumers and developers alike. (Sweeney.) Due to Apple’s

restrictions, however, Epic has been denied these benefits and has suffered antitrust injury. See

Am. Ad Mgmt., Inc. v. Gen. Telephone Co., 190 F.3d 1051, 1057 (9th Cir. 1999) (recognizing

“potential entrants” as market participants that can suffer antitrust injury).

               155.    In addition, Epic has been injured as an app developer. Up until

August 13, 2020, Epic distributed Fortnite and certain other apps to iOS user through Apple’s

App Store. (Sweeney.) Epic still distributes other game and non-game apps, such as

Houseparty, through the App Store. Absent Apple’s rules, Epic would distribute its apps

through many different means, including from its website like it does on PCs, Macs, and

Android, through EGS like it does on PCs and Macs, and through third-party iOS app stores.

(Sweeney.) By distributing its apps exclusively through the App Store, Epic has paid supra-




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competitive commissions and received worse service than it would receive in a competitive

market. (Findings of Fact § V.C.)

         D.     Epic should not be denied relief based on Apple’s meritless affirmative
                defenses.

                156.    The analysis is not quite yet over. A defendant is permitted to plead

affirmative defenses, which if proved shield the defendant from liability, even if the plaintiff has

proved each element of its claim.

                157.    Apple has alleged a kitchen sink of affirmative defenses—27 in total. It

has offered little to the Court by way of individualized explanation. (Apple’s Answer (ECF

No. 66) at pp. 36-41.) None justifies denying Epic relief.4

                i.      Unclean hands is not an affirmative defense to an antitrust action
                        (Affirmative Defense 12).

                158.    Apple has alleged that Epic’s “claims for injunctive relief are barred, in

whole or in part, by the doctrine of unclean hands”. (Apple’s Answer (ECF No. 66) at p. 40.)

                159.    “‘Unclean hands’ has not been recognized as a defense to an antitrust

action for many years”. Memorex Corp. v. Int’l Bus. Mach. Corp., 555 F.2d 1379, 1381 (9th Cir.

1977); see Broadcom Corp. v. Qualcomm Inc., 2009 WL 650576, at *11 (S.D. Cal. Mar. 11,

2009) (“The defense of unclean hands does not apply to antitrust claims.”); see also McMullen v.

Hoffman, 174 U.S. 639, 654 (1899); Cont’l Wall Paper Co. v. Louis Voight & Sons Co., 212 U.S.

227, 262 (1909); Perma Life Mufflers, Inc. v. Int’l Parts. Corp., 392 U.S. 134, 139 (1968);




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      [Note to Court: In the interest of brevity, Epic has responded to only the affirmative
defenses that it believes Apple is likely to present at trial. If at trial Apple presents additional
affirmative defenses, or casts any affirmative defenses differently than addressed herein, Epic
respectfully requests an opportunity to brief those defenses.]

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Kaiser Steel Corp. v. Mullins, 455 U.S. 72, 77 (1982). Thus, the Court denies Apple’s unclean

hands defense as a matter of law.

               160.    Even if the doctrine of unclean hands could bar antitrust claims (which it

cannot), Apple has not established the defense here on the facts.

               161.    To prevail on a defense of unclean hands, a defendant must prove by clear

and convincing evidence that (1) “the plaintiff’s conduct is inequitable”, and (2) “the conduct

relates to the subject matter of [the plaintiff’s] claims”. Fuddruckers, Inc. v. Doc’s B.R. Others,

Inc., 826 F.2d 837, 847 (9th Cir. 1987); see TrafficSchool.com, Inc. v. Edriver, Inc., 653 F.3d

820, 833 (9th Cir. 2011).

               162.    “[D]etermining whether the doctrine of unclean hands precludes relief

requires balancing the alleged wrongdoing of the plaintiff against that of the defendant, and

‘weigh[ing] the substance of the right asserted by [the] plaintiff against the transgression which,

it is contended, serves to foreclose that right.’” Northbay Wellness Grp., Inc. v. Bayries,

789 F.3d 956, 960 (9th Cir. 2015).

               163.    Here, while it is true that Epic implemented direct payment without

disclosing to Apple that it was doing so, Epic did so only because Epic knew that Apple would

use its monopoly power to reject Version 13.40 of Fortnite if Apple knew that Version 13.40

contained a payment processing interface that could provide users with more than one option for

processing in-app payments. (Findings of Fact ¶ 444.) The Court has found that Apple’s

conduct is unlawful, and Epic’s efforts to gather facts to support its claims and challenge that

unlawful conduct does not rise to the level of unclean hands.




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               ii.    Epic’s claims are not barred by the FTAIA or international comity
                      (Affirmative Defenses 6 and 7).

               164.   Apple has alleged two affirmative defenses based on the geographic scope

of Epic’s claims. Both defenses fail.

                      a.      The FTAIA does not bar Epic’s claims.

               165.   Apple has alleged that Epic’s “claims are barred, in whole or in part, by

the Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a, insofar as Plaintiff makes claims

concerning transactions or alleged conduct involving trade or commerce with foreign nations

outside U.S. jurisdiction”. (Apple’s Answer (ECF No. 66) at p. 37.)

               166.   Apple’s conduct does “involve trade or commerce [with] . . . foreign

nations” to the extent that the scope of that conduct is worldwide. Apple requires developers to

sign its primary developer agreement—the Apple Developer Program License Agreement (the

“DPLA”)—worldwide; Apple applies the rules for its app review process, called the App Store

Review Guidelines (the “Guidelines”), worldwide; and Apple blocks direct downloading of apps

and app stores worldwide. (Findings of Fact ¶ 168.)

               167.   But Apple is incorrect that the Foreign Trade Antitrust Improvements Act

(“FTAIA”) bars Epic’s claims in whole or in part.

               168.   The FTAIA provides in full:

               “Sections 1 to 7 of [the Sherman Act] shall not apply to conduct
               involving trade or commerce (other than import trade or import
               commerce) foreign nations unless—

               (1) such conduct has a direct, substantial, and reasonably
               foreseeable effect—

                      (A) on trade or commerce which is not trade or commerce
                      with foreign nations, or on import trade or import
                      commerce with foreign nations; or



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                       (B) on export trade or export commerce with foreign
                       nations, of a person engaged in such trade or commerce in
                       the United States; and

               (2) such effect gives rise to a claim under the provisions of sections
               1 to 7 of [the Sherman Act], other than this section.

               If sections 1 to 7 of [the Sherman Act] apply to such conduct only
               because of the operation of paragraph (1)(B), then sections 1 to 7
               of this title shall apply to such conduct only for injury to export
               business in the United States.” 15 U.S.C. § 6a.

               169.    The statute establishes a general proposition that the Sherman Act does

not apply to conduct involving foreign trade but provides two broad exceptions that, when boiled

down, demonstrate that the Sherman Act generally applies except to conduct that “adversely

affect[s] only foreign markets”. F. Hoffmann-La Roche Ltd. v. Empagran S.A., 542 U.S. 155,

161 (2004) (emphasis added); see also id. at 158 (explaining that the FTAIA “excludes from the

Sherman Act’s reach much anticompetitive conduct that causes only foreign injury” (emphasis

added)).

               170.    The FTAIA does not bar Epic’s claims for two independent reasons.

First, Apple’s conduct falls within the exception contained in paragraphs (1)(A) and (2).

Second, Apple’s conduct falls within the exception contained in paragraphs (1)(B) and (2).

               171.    Paragraphs (1)(A) and (2): Paragraph (1)(A) removes the general bar on

conduct involving foreign trade where the “conduct has a direct, substantial, and reasonably

foreseeable effect” on “trade or commerce which is not trade or commerce with foreign nations,

or on import trade or import commerce with foreign nations”. 15 U.S.C. § 6a(1)(A).

               172.    A direct effect “follows as an immediate consequence of the defendant’s

activity”, “without deviation or interruption”. United States v. LSL Biotechnologies, 379 F.3d

672, 680 (9th Cir. 2004). An effect is substantial if it “involves a sufficient volume of U.S.

commerce” and is not “a mere ‘spillover effect’”. Sun Microsystems Inc. v. Hynix

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Semiconductor Inc., 534 F. Supp. 2d 1101, 1110 (N.D. Cal. 2007). An effect is reasonably

foreseeable if it would “have been evident to a reasonable person making practical business

judgments”. Animal Sci. Prods., Inc. v. China Minmetals Corp., 654 F.3d 462, 471 (3d Cir.

2011).

               173.    Here, as a result of Apple’s restrictions, Epic cannot offer its distribution

services on iOS to other developers, whether foreign or domestic; distribute its apps on

alternative app stores created by app distributors, whether foreign or domestic; or engage the

services of in-app payment processors, whether foreign or domestic.5 The effect of this conduct

is direct, as Apple’s conduct expressly prohibits alternative app stores and non-IAP payment

methods. (Findings of Fact ¶ 222.) The effect is also substantial, given the size of the app

economy, the relevant markets, and Epic’s userbase. (Findings of Fact ¶¶ 124, 352.) Finally, the

effect is reasonably foreseeable, as Apple intends to foreclose alternative app stores and non-IAP

payment methods, both domestic and foreign. (Findings of Fact Sections V.A, VI.D.)

               174.    Paragraph (2) requires that the “effect gives rise to a claim under the

provisions of sections 1 to 7 of [the Sherman Act]”. 15 U.S.C. § 6a. To show that an “effect

‘gives rise’ to the plaintiff’s injury”, courts apply a “proximate causation standard”, which means

that causation must be sufficiently direct. United States v. Hui Hsiung, 778 F.3d 738, 758-59

(9th Cir. 2015) (quoting In re Dynamic Random Access Memory (DRAM) Antitrust Litig.,

546 F.3d 981, 987 (9th Cir. 2008)).

               175.    Under paragraph (2), the effect “gives rise to a claim under the provisions

of sections 1 to 7 of [the Sherman Act]” because Epic’s claims arise in part from the fact that it


    5
      The Court discusses Apple’s payment processing restrictions in more detail below (see
Sections IV, V, VII), but references those restrictions here in the interest of not repeating the
FTAIA analysis.

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cannot distribute its apps on alternative app stores or use non-IAP payment methods, whether

foreign or domestic. (See Sections II.C, IV.B.iii.)

               176.    Because paragraphs (1)(A) and (2) of the FTAIA are satisfied, the statute

does not bar Epic’s claims.

               177.    Paragraphs (1)(B) and (2): Even if Epic could not satisfy

paragraphs (1)(A) and (2) (which it can), the FTAIA still would not bar Epic’s claim if Epic

could satisfy Paragraphs (1)(B) and (2). Epic can satisfy these paragraphs as well.

               178.    Under paragraph (1)(B), Apple’s conduct “has a direct, substantial, and

reasonably foreseeable effect . . . on export trade or export commerce with foreign nations, of a

person engaged in such trade or commerce in the United States”. 15 U.S.C. § 6a(1)(B).

               179.    Epic exports apps worldwide on iOS and sells in-app content to foreign

consumers, and, absent Apple’s anti-competitive conduct, would provide app distribution and in-

app payment processing services worldwide on iOS. Therefore, Epic is engaged in export

commerce. See TI Inv. Servs., LLC v. Microsoft Corp., 23 F. Supp. 3d 451, 469 (D.N.J. 2014)

(holding that U.S. defendant’s sales of VoIP services to consumers in India constitute export

commerce under the FTAIA).

               180.    Apple prevents Epic from exporting Epic’s apps and selling in-app content

to foreign consumers through the channels of Epic’s choice, and prevents Epic from providing

any app distribution and in-app payment processing services worldwide on iOS. (Findings of

Fact Sections V.A, VI.D.) The effect of Apple’s conduct on export trade or commerce is direct,

as Apple’s conduct expressly forecloses alternative app stores and non-IAP payment methods.

(Findings of Fact Sections V.A, VI.D.) The effect is substantial, given the size of the app

economy, the relevant markets, and Epic’s userbase. (Findings of Fact ¶¶ 124, 352.) Finally, the



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effect is reasonably foreseeable, Apple intends to foreclose alternative app stores and non-IAP

payment methods. (Findings of Fact Sections V.A, VI.D.)

                181.    Under paragraph (2), the effect “gives rise to a claim under the provisions

of sections 1 to 7 of [the Sherman Act]” because Epic’s claim arises in part from the fact that

Epic cannot export its apps or sell in-app content to foreign consumers through the channels of

its choice, or provide any app distribution and in-app payment processing services worldwide on

iOS. (See Sections II.C, IV.B.iii.)

                182.    Because paragraphs (1)(B) and (2) of the FTAIA are satisfied, the statute

does not bar Epic’s claims.

                        b.      The doctrine of international comity does not bar Epic’s claims.

                183.    International comity refers to the respect owed by one sovereign to

another. Apple has alleged that Epic’s “claims are barred, in whole or in part, by the doctrine of

international comity, insofar as Plaintiff seeks injunctive relief affecting transactions and conduct

occurring outside U.S. jurisdiction”. (Apple’s Answer (ECF No. 66) at p. 37.) Apple is wrong.

                184.    The Sherman Act may reach overseas to protect against domestic antitrust

injury. “No one denies that America’s antitrust laws, when applied to foreign conduct, can

interfere with a foreign nation’s ability independently to regulate its own commercial affairs.

But our courts have long held that application of our antitrust laws to foreign anticompetitive

conduct is nonetheless reasonable, and hence consistent with principles of prescriptive comity,

insofar as they reflect a legislative effort to redress domestic antitrust injury that foreign

anticompetitive conduct has caused.” Hoffmann-La Roche, 542 U.S. at 165.

                185.    Courts in the Ninth Circuit consider a variety of factors when deciding

how much deference to give foreign interests. “The elements to be weighed include the degree

of conflict with foreign law or policy, the nationality or allegiance of the parties and the locations
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or principal places of businesses or corporations, the extent to which enforcement by either state

can be expected to achieve compliance, the relative significance of effects on the United States

as compared with those elsewhere, the extent to which there is explicit purpose to harm or affect

American commerce, the foreseeability of such effect, and the relative importance to the

violations charged of conduct within the United States as compared with conduct abroad.”

Timberlane Lumber Co. v. Bank of Am., N.T. & S.A., 549 F.2d 597, 614 (9th Cir. 1976),

superseded by FTAIA on other grounds.

               186.    The United States’ interests in this action are significant. Epic and Apple

are both incorporated and headquartered in the United States (Findings of Fact ¶¶ 40, 341), and

the DPLA is governed by “the laws of the United States and the State of California” (PX2453

§ 14.10).

               187.    By contrast, Apple has not pointed to any conflict between Epic’s

requested injunction and any foreign interests, much less provided evidence on the relative

importance of such interests. Apple has not proved this defense.

               iii.    Epic has not failed to join an indispensable party (Affirmative
                       Defense 11).

               188.    Apple has alleged that Epic “has failed to join all parties necessary for a

just adjudication of their purported claims”. (Apple’s Answer (ECF No. 66) at p. 38.) Although

it is not clear which parties Apple alleges are necessary, the Court understands that Apple alleges

that Epic’s corporate affiliates are necessary parties. This is incorrect.

               189.    Federal Rule of Civil Procedure 19 “establishes two broad categories of

required parties”. Ward v. Apple Inc., 791 F.3d 1041, 1048 (9th Cir. 2015). First, “a party is

‘required’ if, ‘in that person’s absence, the court cannot accord complete relief among existing

parties’”. Id. (quoting Fed. R. Civ. P. 19(a)(1)(A)). Second, a “party is required if: that person


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claims an interest relating to the subject of the action and is so situated that disposing of the

action in the person’s absence may: (i) as a practical matter impair or impede the person’s ability

to protect the interest; or (ii) leave an existing party subject to a substantial risk of incurring

double, multiple, or otherwise inconsistent obligations because of the interest”. Id. (quoting Fed.

R. Civ. P. 19(a)(1)(B)).

                190.    The party asserting the absence of a necessary party bears the burden of

persuasion. Makah Indian Tribe v. Verity, 910 F.2d 555, 558 (9th Cir. 1990). Apple has not met

its burden.

                191.    Epic’s affiliates are not necessary parties under the first category. Epic’s

requested injunction restrains Apple, which is a party. The fact that Epic’s affiliates may be

benefited by the injunction does not make them necessary parties. As explained below, the

Court can grant injunctive relief that affects persons beyond the parties. (See ¶¶ 479-81 below.)

                192.    Further, Epic’s affiliates are not necessary parties under the second

category. Apple cannot be concerned that Epic’s affiliates’ absence will “as a practical matter

impair or impede [their] ability to protect the[ir] interest”. Fed. R. Civ. P. 19(a)(1)(B)(i). Nor

will Apple be “subject to a substantial risk of incurring double, multiple, or otherwise

inconsistent obligations” based on Epic’s affiliates’ absence. Fed. R. Civ. P. 19(a)(1)(B)(ii).

Epic is not seeking any monetary damages in this case, and the injunctive relief it is seeking is

the same as it would be if all of its affiliates were also plaintiffs here.

                iv.     Epic has not waived, and is not estopped from asserting, any claims
                        (Affirmative Defenses 18 and 19).

                193.    Apple alleges that “claims are barred, in whole or in part, by the doctrine

of waiver [and estoppel], including because Plaintiff renewed the term of the License Agreement

on June 30, 2020—the same day that its CEO Tim Sweeney contacted Apple to request a ‘side


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letter’ exempting Plaintiff from certain obligations under the License Agreement. Apple denied

the request, and Plaintiff continued to enjoy the benefits of the License Agreement. Thus, the

doctrine of waiver bars Plaintiff’s claims, in whole or in part.” (Apple’s Answer (ECF No. 66) at

pp. 39-40.) Neither defense applies here.

                       a.      Waiver

               194.    “‘[W]aiver’ means the intentional relinquishment or abandonment of a

known right. Waiver requires an existing right, the waiving party’s knowledge of that right, and

the party’s actual intention to relinquish the right.” Lynch v. Cal. Coastal Comm’n, 3 Cal. 5th

470, 475 (2017) (citations and quotation marks omitted). “Waiver always rests upon intent. The

intention may be express, based on the waiving party’s words, or implied, based on conduct that

is so inconsistent with an intent to enforce the right as to induce a reasonable belief that such

right has been relinquished.” Id. (citations and quotation marks omitted).

               195.    Epic did not waive its claims. On June 30, 2020, Epic asked Apple to

permit alternative app stores and non-IAP payment methods on iOS. (PX2457.) On July 10,

2020, Apple rejected Epic’s requests. (PX2459.) On July 17, 2020, Epic responded that “Epic is

in a state of substantial disagreement with Apple’s policy and practices, and we will continue to

pursue this”. (PX2458.) Epic entered into a renewal of the DPLA on June 30, 2020—before

Apple rejected Epic’s requests and only because Apple required it. (Sweeney.) Apple’s

argument that Epic intended to waive its claims against Apple is without evidentiary support.

                       b.      Equitable estoppel.

               196.    “Equitable estoppel precludes a party from claiming the benefits of a

contract while simultaneously attempting to avoid the burdens that contract imposes.” Comer v.

Micor, Inc., 436 F.3d 1098, 1101 (9th Cir. 2006) (quotation marks omitted); accord Kramer v.

Toyota Motor Corp., 705 F.3d 1122, 1128 (9th Cir. 2013).

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                197.   To establish an equitable estoppel defense, Apple must prove that

“(1) [Epic] was aware of the true facts; (2) [Epic] intended its representation to be acted on or

acted such that [Apple] had a right to believe it so intended; (3) [Apple was] ignorant of the true

facts; and (4) [Apple] relied on [Epic’s] representation to [its] detriment.” Acri v. Int’l Ass’n of

Machinists & Aerospace Workers, 781 F.2d 1393, 1398 (9th Cir. 1986); accord Strong v. Cty. of

Santa Cruz, 15 Cal. 3d. 720, 725 (1975). Equitable estoppel applies “where the conduct of one

side has induced the other to take such a position that it would be injured if the first should be

permitted to repudiate its acts.” Old Republic Ins. Co. v. FSR Brokerage, Inc., 80 Cal. App. 4th

666, 678 (2000).

                198.   Apple’s argument that Epic should be equitably estopped from asserting

its claims against Apple fails for similar reasons as waiver. Epic did not “intend[] its

representation to be acted on” and Apple was not “ignorant of the true facts”, Acri, 781 F.2d

at 1398, because Epic made no representation that it would not pursue its claims. Instead, Epic

wrote the opposite: “Epic is in a state of substantial disagreement with Apple’s policy and

practices, and we will continue to pursue this”. (PX2458.) Further, Apple has not pointed to any

evidence that it “relied on” the exchange in the summer of 2020 “to [its] detriment”. Acri, 781

F.2d at 1398.

                v.     Epic did not ratify, agree to, acquiesce in, or consent to Apple’s conduct
                       (Affirmative Defense 8).

                199.   Apple alleges that Epic’s “claims are barred, in whole or in part, because

of Plaintiff’s ratification, agreement, acquiescence, authorization, or consent to Apple’s alleged

conduct, including by renewing the term of the License Agreement on June 30, 2020—the same

day that its CEO Tim Sweeney contacted Apple to request a ‘side letter’ exempting Plaintiff

from certain obligations under the License Agreement. Apple denied the request, and Plaintiff


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continued to enjoy the benefits of the License Agreement, thereby ratifying, agreeing to,

acquiescing, authorizing, and/or consenting to Apple’s alleged conduct.” (Apple’s Answer (ECF

No. 66) at pp. 39-40.)

               200.      It is unclear which doctrine Apple seeks to apply here. Regardless, the

Court rejects this affirmative defense because Epic did not ratify, agree to, acquiesce in, or

consent to Apple’s conduct. On June 30, 2020, Epic entered into a renewal of the DPLA because

Apple required it. (Sweeney; Grant.) There is no evidence that Epic intended to ratify, agree to,

acquiesce in, or consent to Apple’s conduct by this renewal. Nor is there any evidence that

Apple understood Epic to have ratified, agreed to, acquiesced in, or consented to Apple’s

conduct by this renewal. To the contrary, Epic explained within weeks that “Epic is in a state of

substantial disagreement with Apple’s policy and practices, and we will continue to pursue this”.

(PX2458.)

               201.      The Court rejects these affirmative defenses.

               vi.       The Noerr-Pennington doctrine does not apply here (Affirmative
                         Defense 14).

               202.      Apple has alleged that Epic’s “claims are barred, in whole or in part,

insofar as they challenge the exercise of rights protected by the First Amendment of the United

States Constitution, by Article I, Section 3 of the California Constitution, and by the Noerr-

Pennington doctrine”. (Apple’s Answer (ECF No. 66) at pp. 40-41.)

               203.      The Noerr-Pennington doctrine allows private citizens to exercise their

First Amendment rights to petition the government without fear of antitrust liability. See Eastern

R.R. Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127 (1961); United Mine

Workers of Am. v. Pennington, 381 U.S. 657 (1965).




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                204.    As discussed in more detail below (see Section XIII.D below), Apple

seeks a declaration that the Developer Agreement and DPLA are lawful contracts, that Apple’s

terminations of the Developer Agreement and DPLA with Epic were lawful, and that Apple has

the contractual right to terminate the Developer Agreements and DPLAs with Epic’s affiliates.

(Legal Framework, App’x A (ECF No. 276-1) at 8-9; see also Apple’s Answer (ECF No. 66) at

p. 65.) Apple argues that this request for a declaration is protected by the Noerr-Pennington

doctrine.

                205.    The Noerr-Pennington doctrine does not apply here because Epic does not

argue that Apple’s request for this declaration violates the antitrust laws. Instead, Epic argues

that Apple’s termination or threatened termination of these contracts (i.e., Apple’s retaliation

against Epic for implementing Epic direct payment) violates the antitrust laws. That Apple has

sought a declaration does not immunize Apple’s underlying conduct from liability.

                vii.    Epic’s claims are not barred by the statute of limitations nor the equitable
                        doctrine of laches (Affirmative Defenses 9 and 17).

                206.    Apple alleges that Epic’s “claims are barred in whole or in part by the

statute of limitations applicable to its respective claims”, or “by the doctrine of laches”. (Apple’s

Answer (ECF No. 66) at pp. 38-39.) The Court concludes otherwise.

                        a.      Epic’s claims are not barred by any statutes of limitations.

                207.    Epic’s claims are not barred by any statutes of limitations.

                208.    Statutes of limitations refer to the time period during which a claim must

be brought. “Unlike damages claims under section 4 [of the Clayton Act], which are subject to

section 4B’s four-year statute of limitations, there is no statute of limitations for injunctive relief

claims under section 16.” Oliver v. SD-3C LLC, 751 F.3d 1081, 1085 (9th Cir. 2014).




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                 209.   Therefore, Epic’s Section 2 claim is not barred by any statute of

limitations because no such statute applies to them. See id.

                        b.     Epic’s claims are not barred by laches.

                 210.   “Laches is an equitable defense that prevents a plaintiff, who with full

knowledge of the facts, acquiesces in a transaction and sleeps upon his rights.” Danjaq LLC v.

Sony Corp., 263 F.3d 942, 950-51 (9th Cir. 2001). A defendant must prove that (1) the plaintiff

delayed in initiating the lawsuit; (2) the delay was unreasonable; and (3) the delay resulted in

prejudice. Id.

                 211.   “Claims for injunctive relief . . . [under the Clayton Act] are subject to the

equitable defense of laches.” Id. “[I]n computing the laches period”, section 4B’s four-year

statute of limitation is used as a “guideline”. Id.

                 212.   Epic did not unreasonably delay pursuing its claims—there is simply no

basis for an assertion of laches. Nearly all of the actions involving Epic in this case have

occurred within the last four years. Fortnite launched on iOS in April 2018; EGS launched in

December 2018; Epic entered into a renewal of the DPLA in June 2020; Epic launched Epic

direct payment on iOS in August 2020; and Apple removed Fortnite from the App Store in

August 2020. (Findings of Fact Section IX.M.) Because Epic was “injured within the four-year

limitations period”, “laches does not bar [its] federal antitrust claim”. Oliver, 751 F.3d at 1087.

                 213.   Further, even if Epic had unreasonably delayed (which it did not), Apple

suffered no prejudice. In fact, Apple has been engaged in continuous litigation over the App

Store since at least 2011, when a putative class of consumer plaintiffs filed suit in a related

action. (Pepper v. Apple Inc., Case No. 4:11-cv-06714-YGR-TSH (N.D. Cal.), ECF No. 1.)

Any alleged delay by Epic in suing over related conduct could not have prejudiced Apple.

                                           *      *       *
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                214.    For the foregoing reasons, the Court does not sustain any of Apple’s

affirmative defenses, and finds Apple liable for unlawfully maintaining its monopoly in the iOS

App Distribution Market.

III.    SECTION 2 OF THE SHERMAN ACT: APPLE’S DENIAL OF AN ESSENTIAL
        FACILITY IN THE IOS APP DISTRIBUTION MARKET (COUNT 2).

                215.    Epic alleges that Apple is a monopolist in an essential facility—the iOS

operating system. According to Epic, access to iOS is necessary for app distributors to distribute

apps on iOS, and Apple denies access to all distributors, thereby foreclosing competition in the

iOS App Distribution Market. The Court agrees with Epic. This claim, a so-called “essential

facility” claim, is an independent basis for Apple’s liability under Section 2.

                216.    The Ninth Circuit has consistently recognized essential facility claims

under Section 2 of the Sherman Act. Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171,

1185 (9th Cir. 2016); MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1128-29 (9th Cir.

2004); City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1379 (9th Cir. 1992).

                217.    The legal elements of an essential facility claim under governing Ninth

Circuit precedent are undisputed. (Legal Framework (ECF No. 276) at 68.) To establish such a

claim, a plaintiff must show that (1) the defendant is “a monopolist in control of an essential

facility”; (2) the plaintiff “is unable reasonably or practically to duplicate the facility”; (3) the

defendant “has refused to provide [the plaintiff] access to the facility”; and (4) “it is feasible for

[the defendant] to provide such access”. Aerotec, 836 F.3d at 1185; Metronet, 383 F.3d at 1128-

29; Alaska Airlines, Inc. v. United Airlines, Inc., 948 F.2d 536, 542-46 (9th Cir. 1991). Epic has

met its burden on each of these elements.

                218.    Epic has proved that (1) Apple is a monopolist in control of the iOS

platform, which is an essential facility in the iOS App Distribution Market (Section II.A); (2) it is


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not possible for Epic reasonably or practicably to duplicate the iOS platform (Section II.B);

(3) Apple has refused to give Epic access to the iOS platform in Epic’s capacity as a potential

app distributor (Section II.C); and (4) Apple could feasibly provide Epic with access to the iOS

platform for the purpose of distributing apps (Section II.D).

                  219.   Epic, as a potential competitor of Apple with respect to the essential

facility at issue here, has standing to bring this essential facility claim against Apple

(Section II.E).

        A.        Apple is a monopolist in control of an essential facility—the iOS platform.

                  220.   “Essential facility” is a term of art under the antitrust laws. “[W]hat

makes a facility essential is not the nature of the facility itself, but the effect upon competition

that withholding the facility might have.” City of Anaheim, 955 F.2d at 1380.

                  221.   “A facility that is controlled by a single firm will be considered ‘essential’

only if control of the facility carries with it the power to eliminate competition in the downstream

market.” Alaska Airlines, 948 F.2d at 544; see also Aerotec, 836 F.3d at 1184 (an essential

facility is “critical[ ] to competition”).

                  222.   Here, Apple plainly exercises complete control over the iOS platform.

See MCI Commc’ns Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081, 1133 (7th Cir. 1983) (affirming

jury verdict on essential facilities claim where defendant “had complete control” over the

necessary facilities). Apple develops iOS. (PX2573 at 1.) Apple installs iOS on only Apple

devices, and does not license iOS to other original equipment manufacturers. (PX2573 at 1.)

Apple establishes the terms and conditions upon which consumers and developers interact with

iOS. (Findings of Fact Section II.)

                  223.   Apple then uses its control over the iOS platform to eliminate competition

in the downstream iOS App Distribution Market. Apple technologically blocks consumers from
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downloading native apps through any channel except the App Store. (Findings of Fact ¶ 185.)

App distributors cannot compete by making apps available to consumers through a website.

(Findings of Fact ¶¶ 185-97.) Apple also conditions all app developers’ access to iOS on the

developers’ agreement to distribute their apps solely through the App Store. (Findings of Fact

Section IV.A) Thus, developers with access to iOS are contractually prohibited from competing

with Apple as app distributors.

               224.    Apple has intentionally created an ecosystem that rendered the iOS

platform an essential facility: it has locked in consumers as well as developers, and it has

eliminated all competitive options for downstream iOS App Distribution Market. Because app

distributors cannot compete in the iOS App Distribution Market without access to iOS, iOS is an

essential facility. See Sumotext Corp. v. Zoove, Inc., Case No. 16-cv-01370-BLF, 2020 WL

127671, at *10 (N.D. Cal. Jan. 10, 2020) (denying summary judgment and allowing essential

facilities claim to proceed to trial where access to the facility was essential to compete in the

market).

               225.    Apple has argued that its ownership of intellectual property, such as

Apple’s patents, copyrights, or trademarks related to iOS prevent this Court from finding that

iOS is an essential facility. This argument is without merit.

               226.    Intellectual property rights provide their owner with the right to exclude

others; nothing more. See Siemens Med. Sol. U.S., Inc. v. St.-Gobain Ceramics & Plastics, Inc.,

647 F.3d 1373, 1375 (Fed. Cir. 2011) (“As we have long recognized, however, each patent

grants only a right to exclude.”). It is now axiomatic, however, that “a patent does not

necessarily confer market power upon the patentee”. Ill. Tool Works Inc. v. Indep. Ink, Inc., 547

U.S. 28, 46 (2006). Where there is no market power, conduct related to patents raises no



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antitrust concerns. Where a firm does have market power, however, the fact that it also has

intellectual property rights does not give it free rein to misuse that power to harm competition.

As this Court found at the preliminary injunction stage, “intellectual property rights do not

confer a privilege to violate the antitrust laws”. Epic Games, Inc. v. Apple Inc., No. 4:20-CV-

05640-YGR, 2020 WL 5993222, at *10 (N.D. Cal. Oct. 9, 2020) (internal quotation marks

omitted). Indeed, the law is full of examples where courts condemn the misuse of market power

over products or technologies that are protected by intellectual property rights. See, e.g.,

Microsoft, 253 F.3d at 63 (rejecting as “border[ing] upon the frivolous” Microsoft’s argument

that it had “an absolute and unfettered right to use its intellectual property as it wishes”); New

York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 660 (2d Cir. 2015) (affirming order

granting preliminary injunction in antitrust case and rejecting defendant’s argument that its

patent gave it an “absolute and unfettered right to use its intellectual property as it wishes”

(internal quotation marks omitted)). Apple’s intellectual property gave Apple the right to

prevent all third parties from writing apps for use on iOS. Apple chose not to exercise that right,

but instead to make its intellectual property widely available to developers, resulting in the

emergence of an aftermarket in which Apple has monopoly power. Apple cannot escape the

ramifications of its decision to open iOS and the market realities that decision created.

               227.    In sum, there is no legal principle that exempts iOS from the essential

facility doctrine so long as all of the other elements have been met. See Bellsouth Advert. &

Publ’g Corp. v. Donnelley Info. Publ’g, Inc., 719 F. Supp. 1551, 1566 (S.D. Fla. 1988), rev’d on

other grounds, 999 F.2d 1436 (11th Cir. 1993) (“Although the doctrine of essential facilities has

been applied predominantly to tangible assets, there is no reason why it could not apply, as in




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this case, to information wrongfully withheld” because the “effect in both situations is the same:

a party is prevented from sharing in something essential to compete”.).

                228.    Therefore, the Court concludes that Apple is a monopolist in control of an

essential facility.

        B.      Epic is unable to reasonably or practically duplicate the iOS platform.

                229.    The second element of an essential facility claim relates to the plaintiff’s

ability to duplicate the facility. “A facility is ‘essential’ only if it is ‘otherwise unavailable and

cannot be reasonably or practically replicated.’” MetroNet Servs., 383 F.3d at 1129-30.

                230.    Epic cannot possibly duplicate the iOS platform. If Epic did go to the

enormous lengths necessary to develop a competing smartphone operating system, by definition,

it would give rise to an entirely different platform. Thus, doing so would not permit competition

in the iOS App Distribution Market because, as noted, apps developed for one operating system

do not work on other operating systems. Apple is the sole gatekeeper for the iOS platform and

without its permission, Epic cannot compete in the iOS App Distribution Market.

        C.      Apple has refused to provide Epic—as an app distributor—access to the iOS
                platform.

                231.    The third element requires that a plaintiff show that the defendant denied

access to the alleged essential facility. MetroNet Servs., 383 F.3d at 1129; Aerotec, 836 F.3d

at 1185.

                232.    Here, Apple denies potential app distributors like Epic access to iOS

outright. As explained above, Apple technologically blocks app distributors from making apps

or app stores available on websites for download by consumers. (Findings of Fact ¶¶ 218-19.)

Apple’s “FEAR team” has been tasked with preventing “illicit” distribution. (Findings of Fact




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¶ 529.) When Epic requested that Apple permit Epic to distribute a mobile version of EGS that

would distribute iOS apps to consumers, Apple refused. (Findings of Fact Section IX.M.)

               233.    Apple, of course, has provided Epic access to the iOS platform in Epic’s

capacity as an app developer. But that is not the focus of Epic’s essential facility claim. As

noted, Apple conditions access to the App Store, and thus to iOS users, on the requirement that

developers not compete with Apple in the downstream iOS App Distribution Market. (PX2453

(DPLA) §§ 3.2(g), 3.3.2, 7.6; PX2790 (Guidelines) § 3.2.2(i).) Apple vigorously enforces these

agreements and removes apps from iOS that operate as app stores. (Finding of Fact ¶¶ 259; 558-

64.) The fact that Epic is able to access the iOS platform as a developer, then, does not change

the fact that Epic is not permitted to access the iOS platform as a competing app distributor.

               234.    Accordingly, Apple denies Epic access to the iOS platform.

       D.      It is feasible for Apple to provide access to the iOS platform.

               235.    For denial of access to give rise to liability, it must be technically and

practicably feasible for the monopolist to give competitors access to its essential facility. MCI,

708 F.2d at 1133; see also Hecht v. Pro-Football, Inc., 570 F.2d 982, 992-93 (D.C. Cir. 1977).

               236.    The Court finds that it is both technically and practically feasible for

Apple to allow access. iOS already has the capability to permit third parties to make apps

available to users directly, rather than the App Store. Apple’s Developer Enterprise Program

permits employers to distribute apps directly to their employee, without going through the App

Store or Apple’s App Review. (Findings of Fact Section X.I.)

               237.    Again here, macOS is instructive. Apple allows app distributors to

distribute apps to consumers outside of the Mac App Store on macOS. (Findings of Fact

¶ 247(b).) Scott Forstall, the architect of iOS, testified that iOS was based on macOS

(Forstall 57:2-5, 64:19-21), and that while “the technical infrastructure . . . will allow for other
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distribution mechanisms”, it is not Apple’s “policy . . . to allow that”. (Forstall Dep. 129:8-

130:19.) There is no evidence that it would be infeasible to change that policy now.

               238.    Finally, contrary to Apple’s previous assertion (see Legal Framework

(ECF No. 276) at 81), there is no requirement that, to prove feasibility, a plaintiff must prove that

the defendant provided access to others in the ordinary course of business. The Ninth Circuit has

never adopted such a requirement. See, e.g., City of Anaheim, 955 F.2d at 1380 (discussing

feasibility requirement without mentioning the monopolist’s “ordinary course of business”).

Moreover, the out of circuit case on which Apple relies, Laurel Sand & Gravel, Inc. v. CSX

Transp., Inc., 924 F.2d 539 (4th Cir. 1991), did not establish such a rule but instead looked to the

defendant’s prior practices as support for finding that the defendant “ha[d] articulated a number

of legitimate business reasons for refusing” access. Id. at 545.

               239.    In any event, as described above, Apple does provide third parties access

to the iOS platform through the Developer Enterprise Program in the ordinary course—albeit on

the condition that they agree not to compete with Apple by distributing apps to consumers.

(PX2620 § 3.2.)6

         E.    Epic has standing, as a potential competitor, to bring its essential facility
               claim.

               240.    Finally, the Court addresses Epic’s standing to bring an essential facility

claim. Standing essentially asks the question of whether this plaintiff is the right type of plaintiff

to bring the claim. The Court finds that Epic has standing.



    6
      Courts have noted that the fourth element of an essential facility claim “basically raises the
familiar question of whether there is a legitimate business justification for the refusal to provide
the facility”. City of Anaheim, 955 F.2d at 1380. As explained above, Apple has no legitimate
business justification for its refusal to provide Epic and other app distributors access to the iOS
platform. (See Section I.B.ii above.)

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                241.    Both current and potential competitors have standing to bring an essential

facility claim. Apple itself acknowledged this principle in a related case. See Pistacchio v.

Apple Inc., Case No. 4:20-cv-07034-YGR (N.D. Cal.), ECF No. 37 at 18 (“Only actual or

potential competitors of the defendant may claim access to an essential facility.” (internal

quotation marks omitted)).

                242.    Potential competitor standing furthers the purpose of the essential facility

doctrine, which is to prevent the monopolist from “extend[ing] monopoly power from one stage

of production to another, and from one market into another”. City of Anaheim, 955 F.2d at 1379

(internal quotation marks omitted). Where, as here, the monopolist has foreclosed all

competition in the downstream market, only potential competitors can further this purpose.

                243.    Accordingly, the courts of appeals regularly explain the doctrine in terms

of both actual and potential competitors. See, e.g., Ferguson v. Greater Pocatello Chamber of

Com., Inc., 848 F.2d 976, 983 (9th Cir. 1988); MCI, 708 F.2d at 1147 n.100.

                244.    Here, Epic is a potential competitor of Apple in the iOS App Distribution

Market. Epic has an app store—EGS—on both PCs and Macs, and would bring EGS to iOS but

for Apple’s refusal of access to iOS. (Findings of Fact ¶ 407.) Therefore, Epic has standing as a

potential competitor to bring its essential facility claim. See Ferguson, 848 F.2d at 983; MCI,

708 F.2d at 1147 n.100.

                245.    For the foregoing reasons, the Court holds that Apple has denied access to

an essential facility in violation of Section 2.7


    7
      To the extent that Apple asserts as affirmative defenses to Count 2 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), the Court denies those affirmative defenses with respect to Count 2 (denial
of essential facility in the iOS App Distribution Market) for the same reasons. (See Section I.D
above.)

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IV.    SECTION 2 OF THE SHERMAN ACT: APPLE’S MONOPOLY
       MAINTENANCE OF THE IOS IN-APP PAYMENT SOLUTIONS MARKET
       (COUNT 4).

               246.       After the App Store launched in 2008, certain developers followed a

business model that would come to dominate the App Store. They made their apps available for

free or for a modest fee, and then charged users for additional content available in their apps

(“in-app purchases”). (Findings of Fact ¶ 112.) To manage these payments, developers were

free to design their own user interface, select a payment processor, establish their own payment

solution, and own all aspects of that interaction with their customer. (Findings of Fact ¶ 112.)

               247.       In 2009, Apple eliminated this flexibility and mandated that all developers

offering in-app purchases of digital content use Apple’s own payment processing system, known

as In-App Purchase (“IAP”). (Findings of Fact ¶ 113.) The IAP mandate usurped developers’

direct relationships with their customers and diverted all payments by consumers through Apple,

which extracts a 30% commission, before passing on the remainder to the developer. (Findings

of Fact ¶ 113.) Developers—who had previously handled transactions in a variety of ways and

for a fraction of the 30% that Apple now charged (Findings of Fact ¶ 112)—had two choices:

accept Apple’s terms, or change their business model (either by ceasing to offer in-app purchases

or by getting off iOS).

               248.       Apple’s enforcement of IAP is contractual. The evidence at trial

demonstrated that it is not technically necessary. (Findings of Fact Section VII.) Indeed, the fact

that the App Store was launched and opened to third parties before IAP was introduced

demonstrates that developers had a way of completing in-app purchases before IAP existed.

(Findings of Fact ¶ 112.) Moreover, to this day, apps that sell physical goods and services, such

as clothing or ride shares, continue to manage payments outside the IAP system, using payment

solutions of their choice.
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                249.   The IAP requirement is an express provision of the DPLA, which specifies

that, subject to exceptions not relevant here, no app may “provide, unlock or enable additional

features or functionality” other than through IAP. (PX2453 § 3.3.3.) The result of this

prohibition is that developers are prohibited from using competing payment solutions for in-app

purchases of digital content. To police this requirement, the “App Store Review Guidelines”

make clear that apps will be rejected if they contain a competing payment solution for such

purchases. (PX2558 § 3.1.1.)

                250.   Epic alleges that by the foregoing actions, Apple has monopolized a

separate aftermarket on the iOS platform—the iOS In-App Payment Solutions Market. The

Court agrees.

                251.   The elements for a Section 2 claim are discussed above: monopoly power

in a relevant market; willful maintenance of that monopoly; and injury to the plaintiff. (See

Section II above.) Epic has established each of these elements for its claim that Apple

unlawfully maintains its monopoly in the iOS In-App Payment Solutions Market. (See Sections

IV.A-C below.)

       A.       Apple possesses monopoly power in the iOS In-App Payment Solutions
                Market.

                252.   Epic has established that there is an aftermarket for solutions for accepting

and processing payments for the purchase of digital content (the “iOS In-App Payment Solutions

Market”) (Section IV.A.i below), and that Apple has monopoly power in this market (Section

IV.A.ii below).




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               i.      There is an aftermarket for solutions for accepting and processing
                       payments for the purchase of digital content within iOS apps.

               253.    The legal standard for market definition is discussed above; it considers

potential substitutes for the products at issue and the geographic scope of competition. (See ¶ 31

above.)

               254.    The Court finds that the iOS In-App Payment Solutions Market is a

properly defined market.

               255.    As noted, many developers monetize their apps by offering in-app

purchases, and many consumers desire the additional content available for purchase within apps.

Therefore, both consumers and developers demand seamless and convenient solutions for

accepting and processing payments for digital content in apps. (Findings of Fact ¶¶ 275-79.)

               256.    The evidence at trial demonstrated that the possibility of purchasing digital

content outside of an app is not a substitute for in-app purchasing. In-app purchases are more

convenient. Leaving the app to make a purchase generally takes additional time and requires

additional steps, and so users prefer not to leave the app. Convenience is particularly important

for in-app purchases, many of which are small or time-sensitive. An extended delay may cause

the consumer to second-guess and no longer make the purchase, costing the developer sales.

(Findings of Fact ¶¶ 278-79.) As a result, in-app payment processing solutions are the only

effective alternative for in-app purchases.

               257.    While it is true that Apple does not impose its IAP requirement on all app

developers—and indeed requires developers that sell physical goods and services on iOS to use

payment solutions other than IAP—that does not defeat Epic’s proposed market for payment

solutions relating to digital content purchased within an app. That is because Apple targets

developers who offer in-app purchases of digital content and is able to raise the price on those


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customers above a competitive level without causing sufficient substitution to make that price

increase unprofitable. Developers of other apps, such as those that sell physical goods and

services, are not a source of customers whose substitution would constrain the price increase. As

the Department of Justice and Federal Trade Commission have explained in their Horizontal

Merger Guidelines, “[i]f a hypothetical monopolist could profitably target a subset of customers

for price increases”, then relevant markets can be “defined around those targeted customers, to

whom a hypothetical monopolist would profitably and separately impose at least a SSNIP”. U.S.

Dep’t of Justice & Fed. Trade Comm’n, Horizontal Merger Guidelines § 4.1.4 (2010).

               258.    The “targeted customers” here are developers who offer digital content for

in-app purchase; for such developers, other forms of earning revenue from their apps are not

sufficient substitutes to discipline a price increase. As noted, directing customers to make

purchases outside the app would be a qualitatively different experience that would substantially

decrease the volume of purchases. In any event, Apple expressly forbids app developers from

informing customers that making purchases of digital content outside the app is even an option.

(PX2558 § 3.1.1.) Likewise, ceasing to offer in-app purchases and moving to an advertising-

based model would entail material changes to the app experience. To use Fortnite as an

example, putting advertisements inside the game would fundamentally alter gameplay, dilute the

immersive nature of the app and force changes on the game’s aesthetic. (Sweeney; Weissinger.)

Very few developers would find it an appropriate substitute to make such radical changes to their

business model in response to a SSNIP on the price of payment solutions for in-app purchases.

Changing their business model to the sale of physical goods and services would of course be an

even larger tectonic shift in their business, unlikely to occur in sufficient numbers to make a

SSNIP unprofitable. Indeed, the fact that many developers utilize IAP today, even though under



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               260.    Apple contests Epic’s proposed market definition by arguing that IAP is

more than just a “payment processor”, meaning that it is inappropriate to lump IAP into a mere

“payment processing” market. (See, e.g., Schmalensee.) Apple argues that IAP provides a host

of other services besides just payment processing. (Schmalensee.) The Court finds that Apple is

elevating nomenclature over substance. Epic has shown that, absent the IAP requirement that

Apple imposes, app developers would create or select alternative payment solutions, including

but not limited to core payment processing functionality (which developers may very well

outsource, as indeed Apple does for IAP). These solutions would compete on price, fraud and

security controls, parental controls, ease of integration, speed, flexibility in payment credential

(e.g., credit card, debit card, carrier billing, proprietary services like AliPay, cryptocurrency), and

so on. (Findings of Fact Section VI.B.) To the extent that Apple contends that IAP can perform

more functions or perform them better, that is a basis on which Apple can and should compete in

a competitive market, rather than a basis to deny the existence of a relevant market.

               261.    Apple has demonstrated monopoly power in the iOS In-App Payment

Solutions Market based in part on its demonstrated ability to raise the prices it charges

developers. Apple’s ability to profitably raise prices shows that the iOS In-App Payment

Solutions Market is properly defined. See U.S. Anchor Mfg., Inc. v. Rule Indus., Inc., 7 F.3d 986,

999 (11th Cir. 1993) (finding that “the ability to discriminate against a distinct group of

customers by charging higher prices for otherwise similar products demonstrates the existence of

market power with respect to that group”); State of Ill. ex rel. Hartigan v. Panhandle E. Pipe

Line Co., 730 F. Supp. 826, 900 (C.D. Ill. 1990), aff’d, 935 F.2d 1469 (7th Cir. 1991) (defining

market “by reference to the capabilities of different types of end-users [of oil and gas]” to resist

the exercise of monopoly power, leading to price discrimination).



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                 262.   The evidence at trial demonstrates that Apple’s IAP commission far

exceeds the levels charged by other payment solutions, including even payment solutions

employed by iOS apps that sell physical goods and services, which average 5% or even less.

Moreover, Apple has in fact raised prices to developers: first, with the 2009 imposition of a 30%

commission on in-app purchases, and again with the 2011 imposition of that commission on

subscriptions (that previously had not been subject to a commission). (Findings of Fact Section

II.F.)    As discussed above, these prices have allowed Apple to generate a persistently high

margin over a sustained period of time, further demonstrating its market power. (See ¶¶ 107-08

above.)

                 263.   It is significant to the Court that Apple’s own executives are unaware of

price increases in IAP causing any switching at all. At their depositions, Eddy Cue (one of

Apple’s highest executives, present from the earliest days of the App Store and in charge of it for

a number of years) and Matt Fischer (the head of the App Store) were unaware of any instances

or studies showing that the increased cost of in-app purchases resulted in consumers switching

from iOS to Android. (Findings of Fact ¶ 174.)

                 264.   Finally, the iOS In-App Payment Solutions Market is a proper aftermarket

of the Smartphone Operating System Market for the same reasons that the iOS App Distribution

Market is a proper aftermarket. Without iOS, there would be no market for in-app payment

processing solutions on iOS. And the restraints at issue apply only to the aftermarket, not the

initial market for smartphone operating systems. Consumers do not contractually agree to obtain

payment processing for in-app digital purchases only through IAP when they purchase an

iPhone, and competition in the foremarket does not discipline Apple’s anti-competitive practices

in the aftermarket. (See Section II.A above.)



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               265.    Like the Smartphone Operating System and iOS App Distribution

Markets, the iOS In-App Payment Solutions Market is worldwide except for China. When

permitted to obtain their own payment processing services, developers, including Apple,

generally contract with payment processors to provide service in many countries, which suggests

that competition is worldwide. (Findings of Fact ¶¶ 450-43, 572.) Moreover, IAP processes

payments worldwide, and Apple’s IAP requirements in the DPLA and Guidelines apply

worldwide. (Findings of Fact ¶ 27.) China, however, is different because restrictions imposed

by the Chinese government limit both payment processors’ and developers’ abilities to operate in

China and have created an insular market. (Findings of Fact ¶ 283.)

               266.    For the foregoing reasons, the Court concludes that the iOS In-App

Payment Solutions Market is a properly defined aftermarket. It is worldwide, excluding China.

               ii.     Apple has monopoly power in the iOS In-App Payment Solutions Market.

               267.    The legal standard for monopoly power is discussed above. It is the

ability to raise prices above those that would be charged in a competitive market. (See ¶ 103

above.)

               268.    Many pieces of evidence establish that Apple has monopoly power in the

iOS In-App Payment Solutions Market.

               269.    First, Apple has a 100% market share, and imposes impenetrable barriers

to entry by contractually prohibiting all alternative payment solutions for digital content.

(Findings of Fact ¶ 27.) “Monopoly power may be inferred from a firm’s possession of a

dominant share of a relevant market that is protected by entry barriers.” Microsoft, 253 F.3d

at 51.

               270.    Second, Apple charges supra-competitive prices in the iOS In-App

Payment Solutions Market. Apple’s commission is 30%, while the competitive level is about
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3%-5%. (Findings of Fact ¶ 297(a).) A firm’s ability to “profitably raise prices substantially

above the competitive level” is also evidence of monopoly power. Microsoft, 253 F.3d at 51.

               271.    As noted above, even Apple’s Phil Schiller did not believe “that 70/30 will

last that unchanged forever” because “someday we will see enough challenge from another

platform or web based solutions to want to adjust our model”. (Findings of Fact ¶ 239; PX417.)

It is difficult to imagine a clearer admission of supra-competitive pricing.

               272.    Relatedly, Apple enjoys the freedom to price without any connection to

costs. (Findings of Fact ¶ 238.) This, too, is evidence of monopoly power. See, e.g., In re IBM

Peripheral EDP Devices Antitrust Litig., 481 F. Supp. 965, 977 (N.D. Cal. 1979) (recognizing

that a firm’s ability to “disregard cost” and “choose among a range of price options in order to

achieve its profit goals” is indicative of monopoly power).

               273.    Apple’s assertion that its IAP commission is not supra-competitive

because comparable commissions are charged by game console makers is unpersuasive. There

are a number of reasons why this argument is without merit. To begin with, the Court has not

been asked to—and does not—address the competitive situation relating to payment solutions

used by developers of apps for gaming consoles and thus expresses no opinion, one way or the

other, on whether those commissions are an appropriate benchmark for iOS commissions.

               274.    Importantly, Apple’s attempt to analogize itself to console makers

wrongly conflates two radically different business models. As noted above, Apple launched the

App Store not in order to make money from the distribution of apps (or from providing payment

processing solutions for in-app purchases), but to maximize its sales of iPhones, which are the

core of Apple’s business model and its main source of revenue and profits to this day. Gaming

consoles, by contrast, follow the exact opposite business model: gaming consoles are sold at



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order to determine value and real costs. The 30% commission paid to console makers cannot be

assumed as an apples to apples comparison to what Apple charges. (Kreiner.)

               276.   Third, for reasons stated elsewhere, Apple’s treatment of developers

further demonstrates Apple’s monopoly power. (See ¶ 112 above); see also Microsoft, 253 F.3d

at 58 (finding aspects of Microsoft’s behavior “difficult to explain unless Windows is a

monopoly power” and noting that its “pattern of exclusionary conduct could only be rational if

the firm knew that it possessed monopoly power”).

               277.   The Court concludes that Apple has monopoly power in the iOS In-App

Payment Solutions Market.

       B.      Apple willfully maintains its monopoly power.

               278.   The Court has found that Epic’s market definitions are proper, and that

Apple has monopoly power in the iOS In-App Payment Solutions Market. As discussed above,

the next step of the analysis is to consider whether Apple has engaged in anti-competitive

conduct to maintain its monopoly. The Court analyzes this question under the rule of reason.

               279.   When the significant evidentiary record is placed against the legal

standard, the Court concludes that Apple’s conduct violates the rule of reason. Apple’s conduct

has significant anti-competitive effects on developers and consumers (Section VI.B.i below);

Apple’s procompetitive justifications are pretextual (Section VI.B.ii below); and the anti-

competitive effects of Apple’s conduct outweigh any alleged benefits (Section VI.B.iii below).

               i.     Apple’s IAP requirement has significant anti-competitive effects.

               280.   Apple concedes that Section 3.3.3 of the DPLA and Guideline 3.1.1

require exclusive use of IAP for in-app payment processing of digital content. (Findings of Fact

¶¶ 293-94.)



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               281.    These contractual restrictions are enforced by Apple’s App Review

process. During App Review, Apple rejects apps that do not comply with its IAP requirement.

Since 2017, Apple has terminated thousands of developer accounts for introduction of non-IAP

payment methods. (Findings of Fact ¶ 285.)

               282.    Apple has used its monopoly power to retaliate against developers who

have included an alternative payment processing system in their apps. Epic’s August 2020

“hotfix” provided the Court with an example of this. Epic first sought permission to include its

own payment processing system and when that request was denied (PX2457; PX2459), enabled

Epic direct payment in Fortnite on iOS without Apple’s permission. Not only did Apple remove

Fortnite from the App Store, Apple threatened to terminate all of Epic’s and Epic’s affiliates’

Apple Developer Program accounts and revoke Epic’s access to tools necessary “to improve

hardware and software performance of Unreal Engine on Mac and iOS hardware”. (DX3460.)

               283.    Epic is not the only developer Apple has retaliated against in relation to

the IAP requirement. In 2018, Netflix chose to evaluate the value that IAP conferred. It

conducted tests to determine whether IAP was negatively impacting its business; it tested

different geographies, some with IAP and some without; Apple responded with “punitive

measures” intended to make Netflix “feel the pain”. (Findings of Fact ¶ 305.)

               284.    The legal standard for anti-competitive effects is discussed above. The

Court looks to direct evidence, such as increased prices, reduced output, and reduced quality, as

well as indirect evidence, which consists of market power plus some evidence that the

challenged restraint harms competition. (See ¶¶ 129-31 above.) There is both strong direct and

indirect evidence in this case.




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               285.    Apple has monopoly power, and expressly prohibits entry by any

competing in-app payment processors for digital content on iOS. As a result, developers and

consumers must use Apple’s one-size-fits-all IAP, must pay Apple’s supra-competitive

commission, and cannot enjoy the benefits of innovation by other payment solutions. (Findings

of Fact Section VI.D.) This alone is sufficient indirect evidence to prove anti-competitive effects

on developers and consumers. See Microsoft, 253 F.3d at 62 (finding anticompetitive effects

where Microsoft “reduced rival browsers’ usage share not by improving its own product but,

rather, by preventing OEMs from taking actions that could increase rivals’ share of usage”);

Macquarie Grp. v. Pac. Corp. Grp., No. 08-cv-2113-IEG-WMC, 2009 WL 539928, at *8 (S.D.

Cal. Mar. 2, 2009) (“The exclusion of competitors from the market place has the anticompetitive

effect of allowing defendant to charge supracompetitive prices and, additionally, reduces

consumer options.”); United States v. Visa U.S.A., Inc., 163 F. Supp. 2d 322, 408 (S.D.N.Y.

2001) (finding “defendants’ exclusionary rules restrict competition between networks and harm

consumers by denying them innovative and varied products”); see also In re Nat’l Collegiate

Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239, 1256-57 (9th Cir. 2020)

(concluding district court properly found “significant anticompetitive effects in the relevant

market” where “elite student-athletes lack any viable alternatives to [D1], they are forced to

accept, to the extent they want to attend college and play sports at an elite level after high school,

whatever compensation is offered to them by [D1] schools, regardless of whether any such

compensation is an accurate reflection of the competitive value of their athletic services”

(quoting In re Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., 375 F.

Supp. 3d 1058, 1070 (N.D. Cal. 2019))).

               286.    There is also substantial direct evidence of anti-competitive effects.



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               287.    As an initial matter, Apple has increased prices for in-app payment

processing over time. In 2009, Apple began requiring IAP; prior to that time, developers could

use other payment solutions for in-app purchases. (Findings of Fact ¶ 112.) In 2011, Apple

extended its IAP requirements to subscriptions; again, prior to that time, developers could use

other payment solutions for subscriptions. (Findings of Fact ¶¶ 121-22.) There is also evidence

that developers pass on Apple’s commission to consumers, resulting in increased prices to

consumers. (Findings of Fact ¶ 256.) Increased prices are classic direct evidence of the injurious

exercise of market power. As the Supreme Court found in a related case, “A claim that a

monopolistic retailer (here, Apple) has used its monopoly to overcharge consumers is a classic

antitrust claim.” Apple Inc. v. Pepper, 139 S. Ct. 1514, 1519 (2019); see also Wilk v. Am. Med.

Ass’n, 895 F.2d 352, 360-62 (7th Cir. 1990) (finding that impeding consumers’ free choice and

raising costs were anti-competitive effects).

               288.    There is evidence that Apple’s IAP requirements have resulted in

decreased output. Some small businesses cannot afford to absorb Apple’s commission rate, and

cannot afford to pass the costs on to consumers without losing users. (Findings of Fact ¶ 258.)

As Steve Jobs, Apple’s founder, acknowledged in an email about enforcing the IAP requirement,

Apple’s commission “is prohibitive for many things”. (PX438.)

               289.    Finally, there is significant evidence of decreased quality.

               290.    First, Apple’s IAP requirement prevents developers from controlling their

relationships with their customers and must rely on Apple to resolve any payment disputes over

transactions. This disconnect between customers and developers leads to confusion and

complaints. (Findings of Fact ¶¶ 316-21.)




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general. Nor has Apple conducted studies regarding potential security issues that would arise

were Apple to allow developers to alternative payment solutions. (Findings of Fact ¶¶ 567-69.)

                 305.   In fact, third-party payment processors may provide better security than

Apple. Third-party payment providers have multi-platform datasets that can detect fraud better

than Apple can through IAP. Security could also be a vector on which third-party payment

processors may compete and innovate, leading to better security. (Findings of Fact ¶¶ 574-75;

Lee.)

                 306.   Further evidence that Apple’s justification is pretextual is evident in the

record with regard to Epic direct payment. Epic direct payment is Epic’s own payment

processing service. It has been used for a number of years for in-app purchases on other

platforms (for instance, on PCs). It is a proven, safe and secure system that complies with

appropriate payment industry standards. To safeguard customers’ payment credentials, Epic

stores the details with its third-party payment partners, and internal Epic teams conduct security

checks of the infrastructure. (Findings of Fact ¶¶ 457-59.) In August 2020, Epic turned on the

Epic direct payment functionality within iOS. The Fortnite app on iOS has had Epic direct

payment as a payment option ever since, and it is undisputed that Apple has not found any

security issues in Epic direct payment. It is reasonable to assume Apple looked very hard to find

some. Moreover, there is no evidence in the record that the introduction of Epic direct payment

to iOS in August 2020 caused any security or privacy issues on any iOS device on which it was

used. (Findings of Fact ¶ 460.)

                 307.   The Court concludes that Apple’s procompetitive justification of security

is pretextual.




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to the app economy, as have countless others, including developers like Epic that are harmed by

Apple’s conduct. The question at issue in this case is not whether Apple has generally provided

benefits to consumers and developers, but rather whether the specific conduct at issue provides

such benefits or, instead, harms competition. On that question, the Court sides with Epic.

(Evans.)

               316.    This is not the first time that Apple has tried to defend anti-competitive

conduct by pointing to unrelated innovations. In the ebooks litigation (Findings of Fact ¶ 63),

Apple argued that “iPad’s backlit touchscreen, audio and video capabilities, and ability to offer

consumers a number of services on a single device revolutionized tablet computing”. United

States v. Apple, Inc., 791 F.3d 290, 335 (2d Cir. 2015) (Livingston, J. concurring). After Apple

appealed a loss of that case, the Second Circuit affirmed. Id. at 298. Judge Livingston declined

to find that these features justified Apple’s conduct, stating that they were “unrelated to Apple’s

[anti-competitive conduct]”, and that the district court “was correct not to score these hardware

innovations as procompetitive benefits” because “Apple was not the only entity that could use

the iPad’s new features to enhance the ebook experience—other retailers, or the publishers

themselves, could have designed and launched ebook applications on the platform”. Id. at 335

(Livingston, J. concurring). Here too, just as other firms could distribute apps on the iOS

platform, other firms could provide payment solutions for in-app purchases of digital content in

iOS apps.

               317.    For the foregoing reasons, the Court concludes that Apple’s “investment”

procompetitive justification is pretextual. See Areeda & Hovenkamp, Antitrust Law ¶ 1764a (4th

ed. 2020 Supp.) (explaining that the “Recovery of investment” defense to tying is unpersuasive

because “[i]f the defendant cannot recover its investment in an unrestrained market, the market



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presumably tells us that its product is not worthwhile”). Here, it is clear that Apple would

continue to make hefty profits without the IAP requirement and would indeed continue to have a

significant incentive to invest in the iOS ecosystem.

                iii.   The anti-competitive effects of Apple’s conduct outweigh any benefits.

                318.   Apple’s procompetitive justifications are pretextual. The Court may stop

there and find liability. However, even if Apple’s actions were not pretextual, Epic would

nonetheless prevail on the basis that the anti-competitive effects of Apple’s conduct outweigh

any benefits.

                319.   As noted above (see ¶ 147 above), the Court considers Apple’s

procompetitive justifications in light of its less restrictive alternatives. With respect to security,

the evidence demonstrates that Apple could require that all payment solutions on iOS maintain

minimum security features. Any uniform, minimum standards would ensure that rogue payment

processors that may jeopardize users’ data are not allowed. For example, Apple could require

compliance with the Payment Card Industry Data Security Standard (PCI-DSS), which sets

rigorous security requirements to prevent cardholder data loss as well as general requirements for

the prevention, detection, and response to security incidents for all organizations accepting

and/or processing payments. (Findings of Fact ¶ 457.) Epic’s eCommerce system, as well as

third-party payment systems such as Square and Stripe are all Level 1 PCI-DSS compliant,

meaning they are required to adhere to the strictest security standards and are subject to audits of

their security systems. (Ko; Findings of Fact ¶ 457.)

                320.   With respect to compensation for its investments, as discussed above,

there are a number of alternatives to requiring the use of Apple’s IAP that would still allow

Apple a profit. See Image Tech. Serv., Inc. v. Eastman Kodak Co., 903 F.2d 612, 619 (9th Cir.

1990), aff’d sub nom. Eastman Kodak, 504 U.S. 451 (“[I]t is a less restrictive alternative for [the
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defendant] to structure its prices for equipment, parts, and service so that the price for which [the

defendant] sells each of these reflects [its] investment costs in that area.”). Apple gets paid in a

variety of ways already. (Findings of Fact Section II.F.) To the extent Apple is concerned about

not receiving the same level of compensation if the IAP requirement is removed, that is no

defense—if Apple cannot obtain the same price in a competitive market, that is just further proof

of its illegal conduct.

                321.      Apple has pointed to protection of its intellectual property rights as a

defense of the IAP requirement. As the Court has explained above, intellectual property rights

do not confer any immunity from the antitrust laws. (See ¶¶ 226-27 above.) An intellectual

property holder cannot license its products on anti-competitive terms. See Digidyne Corp. v.

Data General Corp., 734 F.2d 1336, 1338, 1343-44 (9th Cir. 1984) (rejecting defendant’s

argument that its refusal to license its operating system except to purchasers of its CPUs was

justified by the need “to recover its substantial investment in software research and

development” because “defendant must recover the cost of [the operating system] development

by pricing [the operating system] appropriately, not by tying it to a separate product”); Microsoft,

253 F.3d at 63 (“Intellectual property rights do not confer a privilege to violate the antitrust

laws.” (internal quotation marks omitted)).

                322.      For the foregoing reasons, the Court gives little weight to Apple’s

competitive justifications. To the extent that there are any procompetitive benefits to Apple’s

conduct that cannot be achieved by other means that do not harm competition, the anti-

competitive effects of Apple’s conduct outweigh these procompetitive benefits. See Microsoft,

253 F.3d at 64; Actavis, 787 F.3d at 659. Epic has detailed the many harms caused by Apple’s




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conditioning of access to app distribution on the use of Apple’s IAP, while Apple has nothing

but theoretical concerns that it claims might arise in the absence of its restrictions. (Evans.)

                323.    For the foregoing reasons, the Court concludes that Apple’s conduct is

anti-competitive.

        C.      Apple’s conduct caused antitrust injury to Epic.

                324.    The final element of a Section 2 claim is antitrust injury. As explained

above, the legal standard requires unlawful conduct causing an injury to the plaintiff that flows

from that which makes the conduct unlawful, and that is of the type the antitrust laws were

intended to prevent. (See ¶ 153 above.)

                325.    Epic has been injured as a would-be provider of a competing payment

solution. Epic offers a payment solution through Epic direct payment to apps distributed by EGS

on PCs and Macs that choose to use Epic’s solution. (Sweeney; Ko.) Developers of apps

distributed through EGS can also choose to use a competing payment solution. (Findings of Fact

Section XI.H.) The Epic direct payment solution includes a variety of features like supporting

regional pricing and accepting payments in 29 different currencies, combined with outsourced

payment processing from providers like Chase, PayPal, and Adyen. (Findings of Fact Section

XI.O.) If EGS were permitted on iOS and Apple did not require use of IAP, Epic would offer

Epic direct payment to apps distributed by EGS on iOS, including both Epic’s own apps and

third-party apps. Because Apple prohibits alternative payment processing solutions for digital

content, Epic has lost revenue and the ability to compete with IAP. Epic, therefore, has suffered

antitrust injury as a competitor to Apple. See Am. Ad Mgmt., Inc. v. Gen. Telephone Co., 190

F.3d 1051, 1057 (9th Cir. 1999) (recognizing “potential entrants” as a market participant that can

suffer antitrust injury).



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                326.   In addition, Epic has been injured as an app developer. Epic self-supplies

Epic direct payment to its own apps on PCs, Macs, and Android. (Findings of Fact Section

XI.O.) As Epic’s actions on August 13, 2020 made abundantly clear, if Apple did not require

use of IAP, Epic would not use IAP exclusively. (Sweeney; Ko.) Epic would self-supply Epic

direct payment. (Sweeney; Ko.) By having to use IAP, Epic has paid supra-competitive prices,

suffered from impaired customer relationships, and lost the benefits of choice and innovation that

competition among third-party payment processors would bring. (Findings of Fact Section VIII;

Evans.) As the Ninth Circuit has recognized, “[c]onsumers in the market where trade is

allegedly restrained are presumptively proper plaintiffs to allege antitrust injury”. Glen Holly

Ent., Inc. v. Tektronix, Inc., 352 F.3d 367, 372 (9th Cir. 2003) (internal quotation marks omitted).

                327.   Therefore, the Court finds that Apple is liable for unlawful monopoly

maintenance in the iOS In-App Payment Solutions Market in violation of Section 2 of the

Sherman Act.8

 V.        SECTION 1 OF THE SHERMAN ACT: APPLE’S UNREASONABLE
           RESTRAINT OF TRADE IN THE IOS APP DISTRIBUTION MARKET
           (COUNT 3).

                328.   So far, the Court’s opinion has addressed Apple’s unilateral conduct under

Section 2 of the Sherman Act. The Sherman Act also prohibits conduct involving two or more

persons that unreasonably retrains trade. The Court now turns to this conduct.

                329.   Section 1 of the Sherman Act prohibits “[e]very contract, combination in

the form of trust or otherwise, or conspiracy, in restraint of trade or commerce among the several


      8
      To the extent that Apple asserts as affirmative defenses to Court 4 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), the Court denies those affirmative defenses with respect to Count 4
(monopoly maintenance in the iOS In-App Payment Solutions Market) for the same reasons.
(See Section II.D above.)

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States, or with foreign nations”. 15 U.S.C. § 1. “To establish liability under § 1, a plaintiff must

prove (1) the existence of an agreement, and (2) that the agreement was in unreasonable restraint

of trade”. Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1178 (9th Cir. 2016).

               330.    “Restraints can be unreasonable in one of two ways. A small group of

restraints are unreasonable per se because they always or almost always tend to restrict

competition and decrease output. Typically only ‘horizontal’ restraints—restraints ‘imposed by

agreement between competitors’—qualify as unreasonable per se. Restraints that are not

unreasonable per se are judged under the ‘rule of reason’”, which “requires courts to conduct a

fact-specific assessment of market power and market structure . . . to assess the [restraint]’s

actual effect on competition”. Am. Express, 138 S. Ct. at 2283-84 (alteration in original)

(citations omitted). “The existence of market power is a significant finding that casts an

anticompetitive shadow over a party’s practices in a rule-of-reason case.” Hahn v. Oregon

Physicians’ Serv., 868 F.2d 1022, 1026 (9th Cir. 1988).

               331.    Applying Section 1, the DPLA is an agreement that unreasonably restrains

trade for purposes of Section 1.

               332.    The DPLA is an agreement between Apple and Epic. Apple also has

DPLAs with other developers.

               333.    The parties agree that “express ‘agreements’ are ‘direct evidence of

concerted activity’ and satisfy the first element of a Section 1 claim”. (Legal Framework (ECF

No. 276) at 23 (quoting Paladin Assocs., Inc. v. Montana Power Co., 328 F.3d 1145, 1153 (9th

Cir. 2003)); see Sun Microsystems Inc. v. Hynix Semiconductor Inc., 608 F. Supp. 2d 1166, 1192

(N.D. Cal. 2009) (“One way of proving concerted action is by express agreement.”).). “A

plaintiff ‘need not prove intent to control prices or destroy competition to demonstrate the



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element of an agreement among two or more entities.” (Id. (quoting Paladin, 328 F.3d

at 1153-54 (internal quotation marks and alterations omitted)).)

               334.   An agreement can give rise to Section 1 liability even if it does not

advance the interests of all parties and instead involves some form of coercion. See, e.g.,

Datagate, Inc. v. Hewlett-Packard Co., 60 F.3d 1421, 1427 (9th Cir. 1995) (“A showing that the

buyer of the tied product was coerced by the tying arrangement into making the purchase is

sufficient to show that the buyer was not merely ‘acting independently.’”); Cargill Inc. v.

Budine, No. CV-F-07-349-LJO-SMS, 2007 WL 4207908, at *3 (E.D. Cal. Nov. 27, 2007);

Packaging Sys., Inc. v. PRC-Desoto Int’l, Inc., 268 F. Supp. 3d 1071, 1085 (C.D. Cal. 2017).

The DPLA is an agreement within the meaning of Section 1.

               335.   Further, the provisions of the DPLA requiring distribution of iOS apps

through Apple’s App Store and prohibiting alternative app stores—Sections 3.2(g), 3.3.2,

and 7.6—constitute an unreasonable restraint of trade.

               336.   As noted above, the rule of reason requires the Court to consider the

defendant’s market power. The parties agree that “[m]arket power under Section 1 requires a

lesser showing than monopoly power under Section 2”. (Legal Framework (ECF No. 276) at 26

(citing Kodak, 504 U.S. at 481.)

               337.   The Court has already found that the iOS App Distribution Market is a

relevant antitrust market. Consumers and developers have no substitutes for app distribution on

iOS because, among other reasons, apps and app stores developed for other operating systems do

not work on iOS. (See ¶¶ 66-79 above.) The Court also found that Apple possesses monopoly

power in the iOS App Distribution Market because, among other reasons, Apple has a 100%




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market share, high profit margins, and the ability to foreclose all competitors. (See ¶¶ 103-12

above).

                338.   Because the rule of reason analysis under Section 1 is “essentially the

same” as the rule of reason analysis under Section 2, the Court will not repeat the analysis here.

See Qualcomm, 969 F.3d at 991.9 The Court previously found that Sections 3.2(g), 3.3.2,

and 7.6 of the DPLA form one part of Apple’s unlawful conduct under Section 2. For the same

reasons, those provisions an unreasonable restraint of trade under Section 1. (See Section II

above.) Therefore, the Court finds Apple liable for unreasonably restraining trade in the iOS

App Distribution Market.10

VI.        SECTION 1 OF THE SHERMAN ACT: APPLE’S UNREASONABLE
           RESTRAINT OF TRADE IN THE IOS IN-APP PAYMENT SOLUTIONS
           MARKET (COUNT 5).

                339.   Next, the Court applies Section 1 to the iOS In-App Payment Solutions

Market.

                340.   As noted, Section 1 requires an agreement that constitutes an unreasonable

restraint of trade. (See Section V above.) A violation of Section 1 requires a showing that



      9
      Apple disputes that the rule of reason test is applied in the same way under Sections 1
and 2 of the Sherman Act. For example, it contends that there is no “less restrictive alternative”
component to the third step of the rule of reason under Section 2. Because all of the ways in
which Apple contends the analysis differs make it less demanding to prove a Section 1 violation,
the analysis above with respect to Section 2 necessarily means that Epic has shown a violation of
the rule of reason under Section 1 as well. To the extent that any elements of the rule of reason
analysis discussed above apply only to Section 1, the Court considers them as part of this
Section 1 analysis and incorporates herein the discussion of those issues that appears above.
      10
       To the extent that Apple asserts as affirmative defenses to Count 3 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), the Court denies those affirmative defenses with respect to Count 3
(unreasonable restraint of trade in the iOS App Distribution Market) for the same reasons. (See
Section II.D above.)

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Apple’s conduct violates the rule of reason, which is evaluated under substantially the same

standard described above. (See Section II.B above.)

                 341.   The Court has found that the DPLA is an agreement for purposes of

Section 1 (see Section V above); that Apple has market power in the iOS In-App Payment

Solutions Market (see Section IV.A above); and that the DPLA’s requirement that developers

use Apple’s IAP to the exclusion of all other payment processors for digital content violates the

rule of reason (see Section IV.B above).

                 342.   Therefore, the Court concludes that Apple is liable for unreasonably

restraining trade in the iOS In-App Payment Solutions Market.11

VII.        SECTION 1 OF THE SHERMAN ACT: APPLE’S TIE OF APP DISTRIBUTION
            AND PAYMENT PROCESSING (COUNT 6).

                 343.   Conduct may be per se unlawful under the antitrust laws when

experience shows that the conduct is always or nearly always anti-competitive.

                 344.   Tying can be an example of such conduct. Tying involves the linking of

two separate products from two separate product markets. Jefferson Parish Hosp. Dist. No. 2 v.

Hyde, 466 U.S. 2, 21 (1984), abrogated on other grounds by Ill. Tool Works Inc. v. Indep. Ink,

Inc., 547 U.S. 28 (2006).

                 345.   Epic alleges that Apple’s IAP requirement is a classic contractual tie.

Apple conditions access to iOS app distribution on developers’ agreement to use only Apple’s

IAP for in-app purchases of digital content. The Court agrees.



       11
       To the extent that Apple asserts as affirmative defenses to Count 5 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), the Court denies those affirmative defenses with respect to Count 5
(unreasonable restraint of trade in the iOS In-App Payment Solutions Market) for the same
reasons. (See Section II.D above.)

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               346.    “For a tying claim to suffer per se condemnation, a plaintiff must prove:

(1) that the defendant tied together the sale of two distinct products or services; (2) that the

defendant possesses enough economic power in the tying product market to coerce its customers

into purchasing the tied product; and (3) that the tying arrangement affects a not insubstantial

volume of commerce in the tied product market.” Cascade Health Sols. v. PeaceHealth,

515 F.3d 883, 913 (9th Cir. 2008) (citation omitted); see also Jefferson Parish, 466 U.S. at 12-

18; Kodak, 504 U.S. at 461-62.12

               347.    Apple has argued that the rule of reason, rather than per se analysis,

should govern in tying cases where the tied good is “physically and technologically integrated

with the tying good”. (Legal Framework (ECF No. 276) at 35 (quoting Microsoft, 253 F.3d at

90).) In Microsoft, the defendant technologically integrated its operating system with its web


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        Apple has argued that there is a fourth element—a “pernicious effect” on competition in
the tied market—for per se tying claims. (Legal Framework (ECF No. 276) at 46.) But Ninth
Circuit precedent establishes that “the per se rule relieves plaintiff of the burden of
demonstrating an anticompetitive effect, which is assumed”. Newman v. Universal Pictures,
813 F.2d 1519, 1522-23 (9th Cir. 1987); Hirsh v. Martindale-Hubbell, Inc., 674 F.2d 1343, 1247
(9th Cir. 1982) (Once [the three per se tying] elements are established, a tying arrangement is
presumptively illegal and will be prohibited without a specific showing of anticompetitive
purpose or effect.”); Betaseed, Inc. v. U and I Inc., 681 F.2d 1203, 1215 (9th Cir. 1982) (“Once
[the per se tying elements] are demonstrated, no specific showing of unreasonable
anticompetitive effect is needed.”); see also Fortner Enters., Inc. v. U.S. Steel Corp., 394 U.S.
495, 498 (1969) (“[A]t least when certain prerequisites are met, arrangements of this kind are
illegal in and of themselves, and no specific showing of unreasonable anticompetitive effect is
required.”). Although certain district courts have considered whether tying conduct has a
“pernicious effect on competition” in the tied product market, Apple has not identified any Ninth
Circuit case adopting the “pernicious effect” requirement. That phrase derives from the Supreme
Court’s decision in Northern Pac. R. Co. v. United States, 356 U.S. 1 (1958), which emphatically
endorsed the per se treatment of tying, finding it to be among the “practices which because of
their pernicious effect on competition and lack of any redeeming virtue are conclusively
presumed to be unreasonable and therefore illegal without elaborate inquiry as to the precise
harm they have caused”. Id. at 5. Even if there were a separate “pernicious effect” requirement
for per se tying (which there is not), Apple’s tie meets that requirement because Epic has proven
substantial anti-competitive effects in the iOS In-App Payment Solutions Market. (See Section
IV.B above.)

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browser, and the court declined to condemn this technologically integrated product as per se

unlawful for fear of chilling product innovation. Id. at 89-95. Microsoft is distinguishable for at

least two reasons. First, as explained below, the App Store and IAP are not technologically

integrated as Microsoft’s operating system was with its web browser. The tie here is a

contractual one, and the Microsoft court did not question the line of “Supreme Court tying cases”

that apply the per se standard to “contractual ties”. See id. at 90.

               348.    Apple’s conditioning of access to the App Store on developers’ use of IAP

for in-app purchases of digital content meets each element of per se tying. (Sections VII.A-D

below.) In the alternative, Apple’s conduct violates the rule of reason. (Section VII.E below.)

       A.      Apple ties together the sale of two distinct products—app distribution and
               payment solutions.

               349.    As noted, the first element of a per se tying claim requires that the plaintiff

prove that the defendant ties two separate products together. Here, app distribution and payment

solutions for in-app purchases are separate products (Section VII.A.i) that Apple has

contractually tied together (Section VII.A.ii).

               i.      App distribution and in-app payment processing solutions are separate
                       products.

               350.    “[T]he answer to the question whether one or two products are involved

turns not on the functional relation between them, but rather on the character of the demand for

the two items.” Jefferson Parish, 466 U.S. at 19; see also Rick-Mik Enters., Inc. v. Equilon

Enters. LLC, 532 F.3d 963, 975 (9th Cir. 2008). There must be “sufficient demand for the

purchase of [the tied product] separate from [the tying product] to identify a distinct product

market in which it is efficient to offer [the tied product] separately from [the tying product]”.

Jefferson Parish, 466 U.S. at 21-22; see also Rick-Mik, 532 F.3d at 975.



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               351.   “[T]he ‘purchaser demand’ test of Jefferson Parish examines direct and

indirect evidence of consumer demand for the tied product separate from the tying product.

Direct evidence addresses the question whether, when given a choice, consumers purchase the

tied good from the tying good maker, or from other firms. Indirect evidence includes the

behavior of firms without market power in the tying good market, presumably on the notion that

(competitive) supply follows demand”. Rick-Mik, 532 F.3d at 975 (citations and internal

quotation marks omitted).

               352.   Apple asserts that IAP and the App Store are an integrated product, and

that app distribution cannot be separated from the solution that is used to handle subsequent in-

app purchases. (Defendant Apple Inc.’s Opposition to Epic Games, Inc.’s Motion for a

Preliminary Injunction (ECF No. 73) at 19-20.) The record does not support this position.

Instead, the evidence shows demand for alternative payment solutions on iOS separate from the

demand for app distribution on iOS.

               353.   Apple’s position suggests an organic, integrated development—that as the

App Store developed, so too did IAP. This is contradicted by several facts in the trial record.

During the time between the launch of the App Store in 2008 and the introduction of IAP in

2009, in-app payment processing and app distribution were entirely separate and iOS developers

were monetizing their apps with purchase solutions that were self-provided. (Forstall

Dep. 230:5-11, 230:16-18, 230:20-231:2.) As a result, in-app payment processing and app

distribution were entirely separate. (See PX897 at ‘449-51 (January 2008, C.K. Haun: “Many

games have a healthy after-market in additional game levels, enhanced graphics for in-game

activities, and other data up to and including completely new games that can be created from a

installed [sic] base game engine. Many for a fee. Some developers will want this for their



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iPhone apps. . . . “[T]he new level/enhanced graphics business for fee (outside of [the iTunes

Music Store]) [is] possible easily”. Greg Joswiak: “If this is accurate, it sounds like we’ll have

to make sure our terms don’t allow this.”); Forstall Dep. 277:16-278:5.)

               354.      The history of IAP undercuts Apple’s claim of a necessarily integrated

product. See Kodak, 504 U.S. at 462-63 (finding “[e]vidence in the record indicat[ing] that

services and parts have been sold separately in the past” to cast doubt on the defendant’s claim of

a “unified market” for services and parts).

               355.      Other aspects of the evidentiary record further support the independence

of these two products.

               356.      First, Apple provides both app distribution without payment solutions, and

payment solutions without app distribution.

               357.      Apple provides distribution services through the App Store without

requiring use of IAP for “Multiplatform Services”, “Enterprise Services,” “Person-to-Person

Services”, “app[s] that enable[] people to purchase physical goods or services that will be

consumed outside of the app”, and “Free Stand-Alone Apps”. (PX2158 (Guidelines) § 3.1.3.)

“If a consumer is selling a good, [a] hard good, for example, or a good that isn’t delivered in the

app”, then “they have their own payment mechanism” and Apple is “not involved in that

transaction from a monetary point of view”. (Findings of Fact ¶ 576.)

               358.      The evidence shows that for categories of apps for which Apple does not

require the use of IAP, developers offer their own payment methods. Many of the most

significant apps, including Grubhub, Wish, StubHub, Uber, DoorDash, Lyft, Instacart,

Postmates, Amazon Shopping, Walmart, eBay, Amazon Prime Video, Altice One, and Canal+,

procure payment processing services from sources other than Apple, i.e., separately from the



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(Findings of Fact ¶ 299.) When given the choice, many developers use alternatives. The

evidence at trial shows several developers that distribute their games through EGS have elected

to use their own solutions for in-app transactions. (Findings of Fact Section XI.H.)

               367.    Fifth, the in-app payment processing industry has grown substantially over

the last two decades. A number of third-party payment processors, such as Chase Paymentech,

Adyen, Worldpay, PayPal, Inc., Checkout.com, and Stripe, compete with each other along a

number of dimensions, including their ability to accommodate varying consumer payment

preferences, service multiple geographies, improve user interfaces, and deliver insights from data

on payment processing to provide business insights. (Findings of Fact Section XI.O.) The

vibrant competition among payment processors outside of iOS is strong evidence of separate

demand. See Kodak, 504 U.S. at 462 (reasoning that “the development of the entire high-

technology service industry is evidence of the efficiency of a separate market for service”).

               368.    Citing Am. Express, 138 S. Ct. (“Amex”), Apple argues that the App Store

and IAP are not separate products because IAP is an “input[] into transactions” provided by the

App Store. (Schmalensee.) This argument is unpersuasive. While Amex instructs that two-sided

transaction platforms like the App Store “facilitate a single, simultaneous transaction between

participants”, the Court made this observation in the context of explaining why it was necessary

to “[e]valuat[e] both sides of a two-sided transaction platform . . . to accurately assess

competition” (with “both sides” referring to cardholders and merchants in that case). Amex, 138

S. Ct. at 2286-87. Here, the two sides of the App Store are consumers and developers, and the

Court has considered both sides in defining the relevant markets, assessing market power, and

considering market effects—and has therefore followed this instruction from Amex. Apple reads

Amex to say that not only must the two sides of the platform be considered, but also that products



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and services that are downstream from a two-sided transaction platform (like payment solutions

for subsequent in-app purchases) must also be considered part of that platform. But Amex says

no such thing. For example, Amex says nothing about the market in which providers of credit

card terminals compete, even though such terminals are clearly an “input” without which credit

card transactions would not be possible. Amex does not address the question of separate demand

for tying purposes. That question is not resolved merely by calling a market two-sided; it instead

depends on the “purchaser demand” test from Jefferson Parish described above.

                369.    Apple has argued that even when separate demand exists for tied products,

courts “should” also require “proof of [a] seller[’s] ability to unbundle” those products. (Legal

Framework (ECF No. 276) at 41 (internal quotation marks omitted).) Apple has not identified

any court that has adopted such a rule. In Jefferson Parish, 466 U.S. at 21, the Supreme Court

established the “purchaser demand” test. Under that test, a plaintiff need not prove that a

defendant can unbundle the tied and tying products in order to carry its burden of showing that

the two products are separate and distinct. Applied here, Epic has carried its burden and more.

The evidence demonstrates not only separable demand for the App Store and IAP, but also that

there is no real technical reason why they need be integrated at all. Apple’s tie is not

technological, it is contractual.

                370.    The Court concludes that app distribution and payment processing are

separate products.

                ii.     Apple ties app distribution and in-app payment solutions.

                371.    A tie exists where “sale of the desired (‘tying’) product is conditioned on

purchase of another (‘tied’) product”. Aerotec, 836 F.3d at 1178 (citation omitted). “[T]he

essential characteristic of an invalid tying arrangement lies in the seller’s exploitation of its

control over the tying product to force the buyer into the purchase of a tied product that the buyer
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either did not want at all, or might have preferred to purchase elsewhere on different terms.”

Jefferson Parish, 466 U.S. at 12.

               372.    As explained above, Apple does not dispute that it conditions app

distribution on the exclusive use of Apple’s IAP for purchases of digital content under

Section 3.3.3 of the DPLA and Guideline 3.1.1. (See § IV above.)

               373.    Apple argues, however, that even if IAP and App Distribution are separate

products, they have not been tied because offering in-app purchases of digital content or

charging for an app are only two of the many options offered to developers to monetize their

apps in the App Store. (Schmalensee.) This argument misses the point. The purpose of the

tying doctrine is to prevent a defendant from foreclosing competition for the tied product. If

some developers choose not to offer in-app purchases because of Apple’s IAP requirement, that

proves only that Apple’s IAP requirement restricts output in the iOS In-App Payment Solutions

Market. It does not vindicate Apple’s tie. Independently, the factual premise of Apple’s

argument is incorrect, as many apps cannot—as a practical matter—take advantage of other ways

to monetize. (Evans.) For example, in-game advertising would create a poor experience for

users and is not a viable substitute for selling digital content in Fortnite. (Findings of Fact

¶ 360.)

               374.    The Court concludes that Apple ties app distribution and payment

processing.

          B.   Apple coerces developers into using IAP.

               375.    Next, the Court assesses whether Apple has sufficient market power in the

tying product market—that is, the iOS App Distribution Market. “[T]he Supreme Court has

condemned tying arrangements when the seller has the market power to force a purchaser to do

something that he would not do in a competitive market.” Cascade, 515 F.3d at 915.
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               376.    “[W]hat is required in a per se case is not power over the whole market for

the tying product, but only . . . a ‘type of market power [that] has sometimes been referred to as

leverage defined here as a supplier’s ability to induce his customers for one product to buy a

second product from him that would not be purchased solely on the merit of that second

product.’” Digidyne Corp. v. Data Gen. Corp., 734 F.2d at 1341 (quoting Jefferson Parish, 466

U.S. at 14 n.20); see also Cty. of Toulumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1157 (9th Cir.

2001) (requiring for a per se violation “such power in the tying product or service market that the

existence of forcing is probable” (internal quotation marks omitted)).

               377.    Apple has a 100% monopoly in the iOS App Distribution Market, and

employs this power to coerce developers into using IAP. (See § II.A above); CollegeNet, Inc. v.

Common Application, Inc., 355 F. Supp. 3d 926, 955 (D. Or. 2018) (“[F]orcing (or coercion) is

likely if the seller has power in the tying product market” (quoting Robert’s Waikiki U-Drive,

Inc. v. Budget Rent-a-Car Sys., Inc., 732 F.2d 1403, 1407 (9th Cir. 1984))). In fact, developers

are prohibited from using alternatives to IAP for purchases of digital content, and if developers

resist the tie, they lose access to more than one billion iOS users.

               378.    The Court finds that Apple has sufficient market power to coerce

developers into using IAP, and has so coerced them.

       C.      Apple’s tie affects a not insubstantial volume of commerce.

               379.    The final element to proving a tie is determining whether the alleged tie

affects a not insubstantial volume of commerce in the tied product market. Here, as set forth

above, the iOS In-App Payment Solutions Market is the tied market, and Apple’s practices have

affected a not insubstantial volume of commerce.

               380.    A substantial volume of commerce with respect to the tied product is

foreclosed where “a total amount of business, substantial enough in terms of dollar-volume so as
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                386.    The Court concludes that Apple is liable for per se tying under Section 1.

        E.      In the alternative, Apple’s tie violates the rule of reason.

                387.    Even if the Court had determined that Epic had not proven the elements of

per se tying or that the per se standard did not apply, Apple would still be liable for a Section 1

tying violation.

                388.    Apple has argued that “[t]o prevail under the rule of reason, a plaintiff

initially must prove the first three requirements of a per se tying claim”. (Legal Framework

(ECF No. 276) at 49.) This is incorrect. The per se elements “are necessary only to bring into

play the doctrine of per se illegality”. Fortner Enters., 394 U.S. at 499-500. If a plaintiff fails to

establish per se liability, a plaintiff “can still prevail on the merits”, id. at 500, by demonstrating

that a defendant “violated the Sherman Act because it unreasonably restrained competition”

under the rule of reason, Jefferson Parish, 466 U.S. at 29; Microsoft Corp., 253 F.3d at 95-97;

Epic Games, 2020 WL 5993222, at *16 n.28 (citing Microsoft and noting that “Epic Games may

be able to prove anticompetitive effects even if it cannot show separate products”).

                389.    Under the rule of reason, Epic “can prove, on the basis of a more thorough

examination of the purposes and effects of the practices involved, that the general standards of

the Sherman Act have been violated”. Fortner Enters., 394 U.S. at 500.

                390.    For rule of reason tying, Epic must show “an actual adverse effect on

competition caused by the tying arrangement”. Brantley v. NBC Universal, Inc., 675 F.3d 1192,

1200 (9th Cir. 2012) (citation and internal quotation marks omitted). Courts conduct this

analysis using the familiar three-part burden-shifting framework. See id. at 1197; (§ V above).

                391.    Application of the burden-shifting analysis for Epic’s tying claim is the

same as for its more general Section 1 claim relating to the iOS In-App Payment Solutions



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 Market. For the reasons stated above (see § VI above), Epic has proven its claim under that

 framework.13

VIII.        CALIFORNIA’S CARTWRIGHT ACT: APPLE’S UNREASONABLE
             RESTRAINT OF TRADE IN THE IOS APP DISTRIBUTION MARKET
             (COUNT 7).

                  392.   Epic brings suit not only under the federal antitrust laws, but also under

 the California antitrust and unfair competition laws. Although these laws largely track federal

 law, they are broader in important ways.

                  393.   The Cartwright Act makes “unlawful, against public policy and void”

 “every trust”, defined as “a combination of capital, skill, or acts by two or more persons . . . [t]o

 create or carry out restrictions in trade or commerce”. Cal. Bus. & Prof. Code §§ 16720, 16726.

                  394.   “Interpretations of federal antitrust law are at most instructive, not

 conclusive, when construing the Cartwright Act, given that the Cartwright Act was modeled not

 on federal antitrust statutes but instead on statutes enacted by California’s sister states around the

 turn of the 20th century.” Aryeh v. Canon Bus. Sols., Inc., 55 Cal. 4th 1185, 1195 (2013)

 (citation omitted). “The Ninth Circuit has recognized after Aryeh it ‘is no longer the law in

 California’ that the Cartwright Act is ‘coextensive with the Sherman Act.’” In re Lithium Ion

 Batteries Antitrust Litig., No. 13-MD-2420, 2014 WL 4955377, at *10 (N.D. Cal. Oct. 2, 2014)

 (quoting Samsung Elecs. Co. v. Panasonic Corp., 747 F.3d 1199, 1205 n.4 (9th Cir. 2014)).

                  395.   As recognized by the California Supreme Court, “[t]he Cartwright Act is

 broader in range and deeper in reach than the Sherman Act”. In re Cipro Cases I & II, 61 Cal.



        13
        To the extent that Apple asserts as affirmative defenses to Count 6 the same affirmative
 defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
 Distribution Market), the Court denies those affirmative defenses with respect to Count 6 (tie of
 app distribution and payment processing) for the same reasons. (See § I.D above.)

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4th 116, 161 (2015) (quoting Cianci v. Super. Ct., 40 Cal. 3d 903, 920 (1985)). It “reaches

beyond the Sherman Act to threats to competition in their incipiency—much like section 7 of the

Clayton Act, which prohibits mergers that ‘may . . . substantially . . . lessen competition, or . . .

tend to create a monopoly—and thereby goes beyond clear-cut menaces to competition in order

to deal with merely ephemeral possibilities.” Cianci, 40 Cal. 3d at 918 (citations and internal

quotation marks omitted).

               396.    Epic’s claim that Apple unreasonably restrains trade in the iOS App

Distribution Market in violation of the Cartwright Act (Count 7) includes the same conduct as

Epic’s claim that Apple unreasonably restrains trade in the iOS App Distribution Market in

violation of Section 1 of the Sherman Act (Count 3). Accordingly, because Epic has prevailed

on Count 3 (see § V above), the Court also finds in Epic’s favor on Count 7.

               397.    Finally, to the extent that Apple alleges the affirmative defenses addressed

above in the context of Count 1 (monopoly maintenance in the iOS App Distribution Market),

the Court should deny those affirmative defenses with respect to Count 6 (unreasonable restraint

of trade in the iOS App Distribution Market) for the same reasons (see § II.D above), except as

to two of the affirmative defenses, which are rejected for different reasons discussed below.

               398.    First, with respect to Apple’s FTAIA affirmative defense, the FTAIA

applies to only “Sections 1 to 7 of this title”—that is, the Sherman Act. 11 U.S.C. § 6a.

Therefore, it does not limit the scope of California statutes, such as the Cartwright Act (or UCL,

which is discussed below).

               399.    Second, with respect to Apple’s statute of limitations defense, a statute of

limitations does not apply to Epic’s federal claims, but a statute of limitations does apply to

Epic’s California claims. “The statute of limitations under the Cartwright Act and UCL is four



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years.” Bartlett v. BP W. Coast Prods. LLC, No. 18-CV-01374, 2019 WL 2177655, at *2 (S.D.

Cal. May 17, 2019) (citing Cal. Bus. & Prof. Code §§ 16750.1, 17208); see also Garrison v.

Oracle Corp., 159 F. Supp. 3d 1044, 1062 (N.D. Cal. 2016) (same). Because Epic brought suit

within four years of suffering injury (see § II.D.v.b above), Epic’s claims are timely under the

these statutes of limitations.

                400.    Accordingly, the Court finds that Apple has violated the Cartwright Act in

the iOS App Distribution Market.

IX.        CALIFORNIA’S CARTWRIGHT ACT: APPLE’S UNREASONABLE
           RESTRAINT OF TRADE IN THE IOS IN-APP PAYMENT SOLUTIONS
           MARKET (COUNT 8).

                401.    Epic also alleges that Apple violated the Cartwright Act by unreasonably

restraining trade in the iOS In-App Payment Solutions Market. This claim is based on the same

conduct as Epic’s claim that Apple unreasonably restrained trade in the iOS In-App Payment

Solutions Market in violation of Section 1 of the Sherman Act (Count 5). Accordingly, because

Epic has prevailed on Count 5 (see § VI above ), it also prevails on Count 8.14

 X.        CALIFORNIA’S CARTWRIGHT ACT: APPLE’S TIE OF APP DISTRIBUTION
           AND PAYMENT PROCESSING (COUNT 9).

                402.    As explained above, Apple has tied app distribution and payment

processing in violation of Section 1 of the Sherman Act. (See § VII above.) This conduct also

violates the Cartwright Act.




      14
        To the extent that Apple asserts as affirmative defenses to Count 8 the same affirmative
addressed above in the context of Count 1 (monopoly maintenance in the iOS App Distribution
Market) and/or Count 7 (unreasonable restraint of trade in the iOS App Distribution Market), the
Court denies those affirmative defenses with respect to Count 8 (unreasonable restraint of trade
in the iOS In-App Payment Solutions Market) for the same reasons. (See §§ II.D, VIII above.)

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               403.    To establish a per se tying claim under § 16720 of the Cartwright Act, the

plaintiff must show “(1) a tying agreement, arrangement or condition [] whereby the sale of the

tying product [or service] was linked to the sale of the tied product or service; (2) the party had

sufficient economic power in the tying market to coerce the purchase of the tied product; (3) a

substantial amount of sale was effected in the tied product; and (4) the complaining party

sustained pecuniary loss as a consequence of the unlawful act”. UAS Mgmt., Inc. v. Mater

Misericordiae Hosp., 169 Cal. App. 4th 357, 369 (2008) (alternation adding “or service” in

original) (quoting Classen v. Weller, 145 Cal. App. 3d 27, 37 (Ct. App. 1983)). In addition, a tie,

even if not per se illegal, may still be an “unreasonable restraint[] of trade” under the Cartwright

Act. Kim v. Servosnax, Inc., 10 Cal. App. 4th 1346, 1361 (1992).

               404.    Epic’s claim that Apple unlawfully ties app distribution to in-app payment

solutions in the iOS In-App Payment Solutions Market in violation of the Cartwright Act is

based on the same conduct as Epic’s claim that Apple unlawfully ties app distribution to in-app

payment solutions in the iOS In-App Payment Solutions Market in violation of Section 1 of the

Sherman Act (Count 6). If Apple’s conduct violates Section 1 of the Sherman Act, it also

necessarily violates the Cartwright Act. Accordingly, because Epic has prevailed on Count 6

(see § VII above), it also prevails on Count 9.

               405.    By tying app distribution and in-app payment solutions in the iOS In-App

Payment Solutions Market, Apple has violated the Cartwright Act.15



    15
       To the extent that Apple asserts as affirmative defenses to Count 9 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), Count 6 (tie of app distribution and payment processing), and/or Count 7
(unreasonable restraint of trade in the iOS App Distribution Market), the Court denies those
affirmative defenses with respect to Count 9 (tie of app distribution and payment processing) for
the same reasons. (See §§ II.D, VII.D, VIII above.)

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XI.    CALIFORNIA’S UNFAIR COMPETITION LAW: APPLE’S UNFAIR
       COMPETITION IN THE IOS APP DISTRIBUTION MARKET AND IOS IN-APP
       PAYMENT SOLUTIONS MARKET (COUNT 10).

               406.   Epic alleges that Apple has violated one other California statute.

California’s Unfair Competition Law (“UCL”) prohibits business practices that constitute “unfair

competition”, which is defined, in relevant part, as “any unlawful, unfair or fraudulent business

act or practice”. Cal. Bus. & Prof. Code § 17200. Claims under the UCL are available to both

business competitor and consumer plaintiffs. Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co.,

20 Cal. 4th 163, 186-87 & n.12 (1999).

               407.   Epic brings its UCL claim both as an app distributor that competes with

Apple and as a consumer of Apple’s app distribution and IAP services.

               408.   As explained below, Apple’s conduct in the iOS App Distribution Market

and iOS In-App Payment Solutions Market is unlawful and/or unfair. (See § XI.A.) Further,

Epic has statutory standing both as a competitor and consumer to bring its UCL claim. (See

§ XI.B.)

               409.   For the reasons explained below, the Court finds that Apple has violated

the UCL.

       A.      Apple’s conduct in the iOS App Distribution Market and iOS In-App
               Payment Solutions Market is unlawful and/or unfair.

               410.   Apple’s conduct is both unlawful (see § XI.A.i) and unfair (see § XI.A.ii)

under the UCL.

               i.     Apple’s conduct is unlawful under the UCL.

               411.   The UCL “permits violations of other laws to be treated as unfair

competition that is independently actionable”. AngioScore, Inc. v. TriReme Med., LLC, 70 F.

Supp. 3d 951, 961 (N.D. Cal. 2014) (citation omitted). The law covers any conduct that “can


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properly be called a business practice and that at the same time is forbidden by law”. Korea

Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1143 (2003) (citation omitted).

“Virtually any law—federal, state or local—can serve as a predicate for an action under Business

and Professions Code section 17200.” Durell v. Sharp Healthcare, 183 Cal. App. 4th 1350, 361

(2010) (citation omitted).

               412.    Thus, in order to be found to be “unlawful” for purposes of Epic’s UCL

claim, the Court must find that Apple also has violated the Sherman Act or Cartwright Act. See,

e.g., Aleksick v. 7-Eleven, Inc., 205 Cal. 4th 1176, 1185 (Ct. App. 2012); Cascades Comput.

Innovation LLC v. RPX Corp., No. 12-CV-01143-YGR, 2013 WL 316023, at *15 (N.D. Cal. Jan.

24, 2013); Datel Holdings Ltd. v. Microsoft Corp., 712 F. Supp. 2d 974, 999 (N.D. Cal. 2010).

               413.    As discussed above, Epic has established that Apple’s conduct in the iOS

App Distribution Market and iOS In-App Payment Solutions Market violates the Sherman Act

and Cartwright Act. (See §§ II-VII above.) Accordingly, Apple’s conduct is also unlawful under

the UCL.

               ii.     Apple’s conduct is unfair under the UCL.

               414.    Conduct that violates the antitrust laws is also unfair under the UCL. See

Cel-Tech, 20 Cal. 4th at 187 (for business competitor claim, Cel-Tech test is satisfied by a

violation of the antitrust law); Drum v. San Fernando Valley Bar Ass’n, 182 Cal. App. 4th 247,

257 (2010) (for consumer claim under tethering test, analysis mirrors Cel-Tech test); id. (for

consumer claim under balancing test, conduct is unlawful if it is “substantially injurious to

consumers” and the conduct’s harm outweighs its utility).

               415.    While a violation of antitrust law may be sufficient, it is not necessary;

conduct may be actionable as unfair under the UCL even if it does not violate an antitrust law.

Cel-Tech, 20 Cal. 4th at 180 (“[A] practice may be deemed unfair even if not specifically
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proscribed by some other law.”); Chavez v. Whirlpool Co., 93 Cal. App. 4th 363, 375 (2001)

(California courts “do not hold that in all circumstances an ‘unfair’ business act or practice must

violate an antitrust law to be actionable under the unfair competition law”); Korea Kumho

Petrochemical v. Flexsys Am. LP, No. C07-01057, 2008 WL 686834, at *9 (N.D. Cal. Mar. 11,

2008) (dismissing Sherman Act and Cartwright Act claims, but declining to dismiss UCL claim,

finding that although plaintiff had not pled an antitrust violation, defendant’s alleged threats

against plaintiff’s customers and attempts to organize boycotts directed at its customers

constituted an “unfair” practice).

               416.    As a competitor and a consumer with respect to Apple (see § XI.B below),

Epic has shown that Apple’s conduct is unfair for purposes of the UCL.

               417.    When the plaintiff is a business competitor, it must show that the alleged

conduct “threatens an incipient violation of an antitrust law, or violates the policy or spirit of one

of those laws because its effects are comparable to or the same as a violation of the law, or

otherwise significantly threatens or harms competition”. Cel-Tech, 20 Cal. 4th at 187. The

business competitor plaintiff must show that “any finding of unfairness to competitors under [the

UCL] [is] tethered to some legislatively declared policy or proof of some actual or threatened

impact on competition”. Id. at 186-87; see also People’s Choice Wireless, Inc. v. Verizon

Wireless, 131 Cal. App. 4th 656, 662 (2005) (conduct violates the policy or spirit of antitrust

laws if the “effect of the conduct is comparable to or the same as a violation of the antitrust

laws”).

               418.    Here, as discussed in detail above, Epic has sufficiently demonstrated that

Apple’s conduct in the iOS App Distribution Market and iOS In-App Payment Solutions Market




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“threatens or harms competition” and is thus unfair for purposes of a UCL claim brought by a

business competitor. Cel-Tech, 20 Cal. 4th at 187; (see §§ II-X above).

               419.    When UCL claims are brought by consumers of the defendant’s products

or services, California law is unsettled with regard to the correct standard to apply. Lozano v. AT

& T Wireless Servs., Inc., 504 F.3d 718, 735-36 (9th Cir. 2007). California courts have applied

three tests to evaluate claims by consumers of unfairness the UCL: (1) the “tethering test”,

(2) the “balancing test”, and (3) the FTC test. Drum v. San Fernando Valley Bar Ass’n, 182 Cal.

App. 4th 247, 257 (2010); In re Adobe Sys., Inc. Privacy Litig., 66 F. Supp. 3d 1197, 1226 (N.D.

Cal. 2014); Camacho v. Auto. Club of S. Cal., 142 Cal. App. 4th 1394, 1403 (2006). However,

the Ninth Circuit has “decline[d] to apply the FTC standard in the absence of a clear holding

from the California Supreme Court”. Lozano, 504 F.3d at 736. Therefore, “[t]he remaining

options . . . are to apply Cel-Tech to this case and require that the unfairness be tied to a

legislatively declared policy or to adhere to the former balancing test”. Id. (internal quotation

marks and citation omitted); In re Adobe, 66 F. Supp. 3d at 1226 (for consumer claims under the

unfairness prong of the UCL, “there are at least two possible tests: (1) the ‘tethering test’, . . .

and (2) the ‘balancing test’”).

               420.    The “tethering test” mirrors the Cel-Tech test that is applied in the context

of business competitor claims, as discussed above. Adobe, 66 F. Supp. 3d at 1226-27 (citing

Cel-Tech while analyzing the consumer plaintiff’s UCL claim under the “tethering test”). Epic

has sufficiently demonstrated that Apple’s conduct in the iOS App Distribution Market and iOS

In-App Payment Solutions Market “threatens or harms competition” in the iOS App Distribution

Market and thus violates the UCL under the tethering test. (See §§ II-X above.)




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               421.    The “balancing test” requires a consumer plaintiff to show that (1) a

defendant’s conduct “is immoral, unethical, oppressive, unscrupulous or substantially injurious

to consumers” and (2) “the utility of the defendant’s conduct” is outweighed by “the gravity of

the harm to the alleged victim”. Drum, 182 Cal. App. 4th at 257 (citation and internal quotation

marks omitted).

               422.    Apple has argued that “a balancing test is inappropriate for consumer

claims”. (Legal Framework (ECF No. 276) at 97.) This is incorrect. The balancing test remains

good law after Cel-Tech for claims brought by consumers because “the [Cel-Tech] court

expressly limited its new test to actions by competitors”. Davis v. HSBC Bank Nev., N.A., 691

F.3d 1152, 1170 (9th Cir. 2012).

               423.    Epic has demonstrated that the balancing test is satisfied with respect to

Apple’s conduct in the iOS App Distribution Market and iOS In-App Payment Solutions Market.

Apple’s anti-competitive conduct with respect to iOS app distribution harms consumers, who are

denied choice and innovation in app distribution channels and are forced to pay higher prices and

suffer inferior customer service from Apple, the unwelcome middleman. Similarly, Apple’s

anti-competitive conduct with respect to payment processing harms consumers, who are denied

choice and innovation in payment processing solutions and are forced to pay higher prices and

lose control of their relationships with their users. (See §§ II.B, IV.B above.)

       B.      Epic has statutory standing to bring its UCL claim.

               424.    To file suit under the UCL, a plaintiff must demonstrate it has standing .

The UCL permits claims to be brought by any “person”, which includes “natural persons,

corporations, firms, partnerships, joint stock companies, associations and other organizations of

persons”. Cal. Bus. & Prof. Code §§ 17201, 17204. To bring a claim under the UCL, a plaintiff

must “(1) establish a loss or deprivation of money or property sufficient to quantify as injury in
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fact, i.e., economic injury, and (2) show that the economic injury was the result of, i.e., caused

by, the unfair business practice”. Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310, 322 (2011); see

also Cal. Bus. & Prof. Code § 17204.

                425.    The injury-in-fact requirement “incorporate[s] the established federal

meaning . . . for federal standing under article III”. Kwikset Corp., 51 Cal. 4th at 322.

Accordingly, an injury in fact must be “concrete and particularized . . . and actual or imminent,

not conjectural or hypothetical”. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)

(citations and internal quotation marks omitted); see also Juliana v. United States, 947 F.3d

1159, 1168 (9th Cir. 2020).

                426.    The UCL requires the plaintiff to “demonstrate some form of economic

injury”. Kwikset Corp., 51 Cal. 4th at 323. For example, “[a] plaintiff may (1) surrender in a

transaction more, or acquire in a transaction less, than he or she otherwise would have; (2) have a

present or future property interest diminished; (3) be deprived of money or property to which he

or she has a cognizable claim; or (4) be required to enter into a transaction, costing money or

property, that would otherwise have been unnecessary”. Id. (citation omitted). If the plaintiff

proves “a personal, individualized loss of money or property in any nontrivial amount, he or she

has also . . . proven injury in fact”. Id. at 325.

                427.    To satisfy the causation requirement, a plaintiff must show “a causal

connection” between the defendant’s conduct and alleged injury. Id. at 326. This “imposes a

requirement that a violation must cause or result in some sort of damage”. Id. (citations, internal

quotation marks, and alterations omitted).

                428.    Epic meets each of these requirements and has statutory standing. Epic

has standing under the UCL both as a potential competitor of Apple in the iOS App Distribution



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Market and iOS In-App Payment Solutions Market (see XI.B.i below), and as a customer of

Apple in the iOS App Distribution Market and iOS In-App Payment Solutions Market (see

XI.B.ii below).

               i.     Epic has standing as a potential competitor of Apple.

               429.   Injury in fact. With respect to the iOS App Distribution Market, Epic has

been injured as a would-be competing app distributor. Epic already distributes apps on PCs and

Macs through EGS. If EGS were permitted on iOS, Epic would compete directly with Apple in

the iOS App Distribution Market. (Findings of Fact ¶¶ 249, 347, 390, 391, 407.)

               430.   With respect to the iOS In-App Payment Solutions Market, Epic has been

injured as a would-be competing payment solution provider. Epic offers payment solutions

through Epic direct payment to apps distributed by EGS on PCs and Macs. If EGS were

permitted on iOS and Apple did not require use of IAP, Epic would offer Epic direct payment to

apps distributed by EGS on iOS. (Findings of Fact ¶ 290.)

               431.   Lost money or property. With respect to the iOS App Distribution

Market, if EGS were permitted on iOS, Epic would earn revenue from the distribution of third-

party games as well as grow the EGS userbase to make it a more desirable storefront for

consumers and developers alike—but for Apple’s complete foreclosure of alternative means of

app distribution on iOS. (Findings of Fact ¶¶ 250, 255.)

               432.   With respect to the iOS In-App Payment Solutions Market, Epic would

earn revenue from developers using its payment solution on apps distributed by EGS—but for

Apple’s IAP requirement. (Findings of Fact ¶ 290.)

               433.   Causation. With respect to the iOS App Distribution Market, Apple’s

conduct expressly prohibits Epic from distributing apps for iOS and has thus caused the injuries

described above. (Findings of Fact ¶¶ 249, 250, 255, 347, 390, 391, 407.)
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               434.    With respect to the iOS In-App Payment Solutions Market, Apple’s

conduct expressly prohibits Epic from handling in-app payments for digital content on iOS and

has thus caused the injuries described above. (Findings of Fact ¶ 290.)

               ii.     Epic has standing as a customer of Apple in the iOS App Distribution
                       Market and iOS In-App Payment Solutions Market.

               435.    Apple has disputed that Epic can bring a claim under the consumer

standard. (Legal Framework (ECF No. 276) at 88.) However, a “consumer” under the UCL may

include a business consumer or client. See Copart, Inc. v. Sparta Consulting, Inc., 339 F. Supp.

3d 959, 992 (E.D. Cal. 2018) (in an action by Copart, a global used car auction company, against

Sparta, which was hired to design and build a new business management system for Copart, the

court evaluated Copart’s UCL claim against Sparta in the consumer context, finding that “Copart

was Sparta’s consumer or client, not a competitor”). As an app developer, Epic is a business

consumer of Apple. Apple distributes Epic’s apps and handles in-app purchases on Epic’s

behalf.

               436.    Injury in fact. Epic has been injured as a customer of Apple. With

respect to the iOS App Distribution Market, Epic been foreclosed from using methods of app

distribution other than Apple’s App Store on iOS. Up until August 13, 2020, Epic distributed

Fortnite and certain other apps to iOS users through Apple’s App Store. Epic still distributes

other apps, such as Houseparty, through the App Store. Absent Apple’s rules, Epic would not

distribute its apps through the App Store. Instead, Epic would directly distribute its apps to users

like it currently does on PC, Mac, and Android, and/or distribute them through EGS on iOS.

(Findings of Fact ¶¶ 249, 391.)

               437.    With respect to the iOS In-App Payment Solutions Market, Epic has been

foreclosed from using non-IAP payment methods. Epic self-supplies Epic direct payment to its


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own apps on PC, Mac, and Android. If Apple did not require use of IAP, Epic would not use

IAP exclusively. Epic would self-supply Epic direct payment. (Findings of Fact ¶ 290.)

                 438.   Lost money or property. With respect to both the iOS App Distribution

Market and In-App Payment Solutions Market, Epic has paid supra-competitive commissions for

in-app payment processing solutions that it would not have paid in the absence of Apple

requiring that developers use the App Store and IAP. (Findings of Fact § VIII.A.)

                 439.   Causation. With respect to both the iOS App Distribution Market and In-

App Payment Solutions Market, Apple’s conduct expressly prohibits Epic from distributing apps

for iOS or from using non-IAP payment methods and has thus caused the injuries described

above. (Findings of Fact, §§ IV.A, V.I.)

                 440.   For the foregoing reasons, the Court finds that Apple has violated the

UCL.16

XII.        EPIC IS ENTITLED TO A PERMANENT INJUNCTION IN THE IOS APP
            DISTRIBUTION MARKET AND IOS IN-APP PAYMENT SOLUTIONS
            MARKET.

                 441.   To remedy Apple’s misconduct, Epic seeks a permanent injunction in a

form described in Appendix A of the parties’ joint Legal Framework (ECF No. 276-1). The

Court attaches that document as Appendix 1 hereto.

                 442.   Epic’s requested injunction would not require substantial changes to the

iOS platform: Apple could continue bundling the App Store with iOS devices; it could continue


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       To the extent that Apple asserts as affirmative defenses to Count 10 the same affirmative
defenses addressed above in the context of Count 1 (monopoly maintenance in the iOS App
Distribution Market), Count 6 (tie of app distribution and payment processing), and/or Count 7
(unreasonable restraint of trade in the iOS App Distribution Market), the Court denies those
affirmative defenses with respect to Count 10 (unfair competition in the iOS App Distribution
Market and iOS In-App Payment Solutions Market) for the same reasons. (See §§ II.D, VII.D,
VIII above.)

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scanning apps for, and taking other steps to prevent distribution of, malware; it could continue

moderating the content that appears on the App Store in whatever manner it chooses; and it could

continue offering IAP as a payment solution. What Apple would be unable to do is preference

its own App Store or payment solution by prohibiting or discriminating against competitors on

iOS.

               443.    Epic is entitled to this injunction under federal law (see § XII.A below)

and California law (see § XII.B below).

        A.     Epic is entitled to a permanent injunction for its federal claims.

               444.    Under Section 16 of the Clayton Act, “[a]ny person, firm, corporation, or

association shall be entitled to sue for and have injunctive relief, in any court of the United States

having jurisdiction over the parties, against threatened loss or damage by a violation of the

antitrust laws . . . , when and under the same conditions and principles as injunctive relief against

threatened conduct that will cause loss or damage is granted by courts of equity, under the rules

governing such proceedings”. 15 U.S.C. § 26.

               445.    Epic is entitled to a permanent injunction under Section 16 because Epic

has antitrust standing to seek such relief (see § XII.A.i below); the traditional equitable factors

for a permanent injunction are satisfied (see § XII.A.ii below); and the scope of Epic’s requested

injunction is proper (see § XII.A.iii below).

               i.      Epic has antitrust standing to seek a permanent injunction.

               446.    The elements of antitrust standing are undisputed. (Legal Framework

(ECF No. 276) at 132.)

               447.    “‘[A]ntitrust standing’ is a threshold requirement that every plaintiff must

satisfy to bring a private suit under the federal . . . antitrust laws”. Lorenzo v. Qualcomm Inc.,

603 F. Supp. 2d 1291, 1300 (S.D. Cal. 2009). “To have standing [to seek injunctive relief] under

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§ 16 [of the Clayton Act], a plaintiff must show (1) a threatened loss or injury cognizable in

equity (2) proximately resulting from the alleged antitrust violation”. City of Rohnert Park v.

Harris, 601 F.2d 1040, 1044 (9th Cir. 1979). As discussed previously, Epic has satisfied the

standard for antitrust injury and shown that Apple proximately caused its injuries.

               448.    In the iOS App Distribution Market, Epic has been injured as a consumer

of app distribution because it is unable to distribute its iOS apps through any distribution channel

other than the App Store. (See § II.C above.) Epic also has been harmed as an app distributor

because Apple has prohibited Epic from offering EGS on iOS. (See § II.C above.)

               449.    Similarly, in the iOS In-App Payment Solutions Market, Apple has

harmed Epic as an app developer because Epic cannot enjoy a choice of payment processing

solutions, is denied the benefits of innovation in in-app payment processing, and is forced to pay

a supra-competitive rate for using Apple’s IAP. (See § IV.C above.) Apple has also harmed

Epic as a provider of competing in-app payment solutions because Epic cannot make Epic direct

payment available as an option for apps that would be distributed by EGS on iOS. (See § IV.C

above.)

               450.    Therefore, Epic has antitrust standing for Epic’s claims in both markets to

seek a permanent injunction.

               ii.     The traditional equitable factors for a permanent injunction are satisfied.

               451.    In general, “a plaintiff seeking a permanent injunction must satisfy a four-

factor test before a court may grant such relief. A plaintiff must demonstrate: (1) that it has

suffered an irreparable injury; (2) that remedies available at law, such as monetary damages, are

inadequate to compensate for that injury; (3) that, considering the balance of hardships between

the plaintiff and defendant, a remedy in equity is warranted; and (4) that the public interest

would not be disserved by a permanent injunction”. eBay Inc. v. MercExchange, L.L.C.,
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547 U.S. 388, 391 (2006). At least one court in the Ninth Circuit has held that the Sherman Act

does not impose any additional requirements on plaintiffs before a court may grant a permanent

injunction. See O’Bannon v. Nat’l Collegiate Athletic Ass’n, 7 F. Supp. 3d 955, 1007 (N.D. Cal.

2014), aff’d in part, vacated in part on other grounds, 802 F.3d 1049 (9th Cir. 2015). But if the

equitable factors apply here, Epic has satisfied them.

               452.    First, Epic has suffered irreparable harm. Irreparable harm is harm “for

which there is no adequate legal remedy”. Ariz. Dream Act Coal. v. Brewer, 757 F.3d 1053,

1068 (9th Cir. 2014). “A lessening of competition constitutes an irreparable injury under [Ninth

Circuit] case law”. Boardman v. Pac. Seafood Grp., 822 F.3d 1011, 1023, 1025 (9th Cir. 2016)

(affirming preliminary injunction); see also Optronic Techs., Inc. v. Ningbo Sunny Elec. Co.,

No. 5:16-CV-06370-EJD, 2020 WL 1812257, at *3 (N.D. Cal. Apr. 9, 2020) (permanently

enjoining defendant and finding irreparable injury where antitrust violations “caused structural

harm” to the relevant market and “created a reasonable likelihood of substantially lessening

competition”), appeal docketed, No. 20-15837 (9th Cir.).

               453.    As noted above, Apple has foreclosed competition in the iOS App

Distribution Market. (See § II.B above.) Apple’s negative impact on competition has injured

Epic in its capacity as an app developer and as a competing distributor. (See § II.C above.)

These harms are irreparable. See Boardman, 822 F.3d at 1023; Optronic, 2020 WL 1812257,

at *3.

               454.    Further, as explained above, Apple’s conduct has foreclosed competition

in the iOS In-App Payment Solutions Market. The lack of competition injures Epic as an app

developer and as a competing provider of payment solutions. (See Section IV.C above.) Such

harm is irreparable. See Ariz. Dream Act Coal., 757 F.3d at 1068.



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               455.    A plaintiff can also prove irreparable harm by showing that “remedies

available at law, such as monetary damages, are inadequate to compensate for the injury”, Herb

Reed Enters., LLC v. Fla. Entm’t Mgmt., Inc., 736 F.3d 1239, 1249-50 (9th Cir. 2013), or “where

‘[t]he nature of the plaintiff’s loss may make damages very difficult to calculate’”, Cornucopia

Prods., LLC v. Dyson Inc., No. CV 12-00234-PHX-NVW, 2012 WL 3094955, at *9 (D. Ariz.

July 27, 2012) (quoting Roland Machinery Co. v. Dresser Indus., Inc., 749 F.2d 380, 386 (7th

Cir. 1984)).

               456.    It is impossible to quantify the harm that Epic has suffered as a developer

unable to use non-IAP payment solutions or to distribute apps to the roughly one billion iOS

users except through the App Store. The evidence at trial demonstrated that Epic’s inability to

process refunds has generated a constant stream of customer complaints, impairing Epic’s good

will. See Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 841 (9th Cir. 2001)

(“loss of prospective customers or goodwill certainly supports a finding of . . . irreparable

harm”). Similarly, how successful EGS or Epic direct payment could be on iOS but for Apple’s

foreclosure of competition is unknown. See Cornucopia, 2012 WL 3094955, at *9 (finding

irreparable harm where “it is difficult to predict Dyson’s damages”). Monetary damages cannot

be calculated for the additional reason that, because Apple’s unlawful conduct continues, the

harm to Epic is ongoing. See MGM Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1219

(C.D. Cal. 2007) (finding irreparable injury where the defendant’s conduct “has and will

continue to irreparably harm Plaintiffs’ [legal interests]” and “Plaintiffs cannot possibly recover

all damages . . . as a consequence of the [defendant’s conduct]”).

               457.    Second, damages would be inadequate. “‘The necessary prerequisite’ for

a court to award equitable remedies is ‘the absence of an adequate remedy at law.’” Barranco v.



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3D Sys. Corp., 952 F.3d 1122, 1129 (9th Cir. 2020) (quoting Dairy Queen, Inc. v. Wood, 369

U.S. 469, 478 (1962)). Whether remedies available at law are inadequate to compensate for the

injury “inevitably overlaps” with the first prong of the injunctive relief analysis. MGM, 518 F.

Supp. 2d at 1219. As explained above, it is impossible to quantify the harm that Epic has

suffered. Moreover, no monetary award would enable Epic to freely compete in the iOS App

Distribution Market or iOS In-App Payment Solutions Market, and Epic has not even sought

such an award. Absent injunctive relief, Apple will continue harming Epic into the future. See

id. at 1220 (no adequate remedy at law where “[t]he only realistic method for remedying . . .

future harm . . . is by way of a permanent injunction”).

               458.    Third, the balance of hardships tips in Epic’s favor. In considering the

balance of hardships between the plaintiff and defendant, the Court “must consider the effect on

each party of the granting or withholding of the requested relief”. Klein v. City of San Clemente,

584 F.3d 1196, 1199-1200 (9th Cir. 2009) (quoting Winter v. Nat’l Res. Def. Council, Inc.,

555 U.S. 7, 24 (2008)). The balance of hardships favors the plaintiff where “an injunction will

merely prohibit [d]efendants from engaging in future unlawful activity”. Entrepreneur Media,

Inc. v. Dye, No. SA CV 18-0341-DOC, 2018 WL 6118443, at *8 (C.D. Cal. Sept. 11, 2018).

“There is no hardship to a defendant when a permanent injunction would merely require the

defendant to comply with law”. Id. (quoting Deckers Outdoor Corp. v. Ozwear Connection Pty

Ltd., No. CV 14-2307, 2014 WL 4679001, at *13 (C.D. Cal. Sept. 18, 2014)).

               459.    Epic is asking only that Apple be required to follow the law and cease its

unlawful conduct in the iOS App Distribution Market and iOS In-App Payment Solutions

Market. Moreover, Apple already has the technological capability to permit secure third-party

app distribution. (See Section III.D above.) Apple can also de-couple app distribution from



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payment processing by simply eliminating certain contractual restrictions. (Findings of Fact

§ VII.) Because the Court has found that Apple’s conduct is unlawful, the injunction will cause

no hardship to Apple. See Entrepreneur Media, 2018 WL 6118443, at *8; Deckers, 2014 WL

4679001, at *13.

               460.    Apple has argued that “misconduct by the plaintiff may be taken into

account when a court is asked to impose an equitable remedy”. (Legal Framework (ECF

No. 276) at 140 (citing Heldman, 354 F. Supp. at 1249).) But as explained above (see Section

II.D.i above), “‘[u]nclean hands’ has not been recognized as a defense to an antitrust action for

many years”. Memorex, 555 F.2d at 1381. Because the restrictions that Epic challenged through

its implementation of Epic direct payment in August 2020 were unlawful, Epic’s actions do not

disentitle it to a remedy. Apple has proffered one dated and out-of-circuit district court case,

which ruled only that unclean hands might apply at the preliminary injunction stage because “as

of now, no violation of law by defendants has been tried, established or decided”. Heldman, 354

F. Supp. at 1249. Denying a permanent injunction that would prohibit an adjudicated antitrust

violator from violating the laws would clearly undermine Congressional policy in favor of

enforcing the antitrust laws.

               461.    Even if unclean hands were applicable in determining the scope of the

remedy, it does not apply here. The core of Apple’s unclean hands defense is centered on

Project Liberty, through which Epic brought its direct pay option to the iOS platform. While

Epic did not disclose Project Liberty to Apple, Epic could not have disclosed it without causing

Apple to reject Version 13.40 of Fortnite pursuant to Apple’s anti-competitive restrictions. Epic

did not behave inequitably by launching the direct pay option, let alone at a level that would

deny it relief. See Kaiser Steel, 455 U.S. at 77 (“our cases leave no doubt that illegal promises



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will not be enforced in cases controlled by the federal law”); Perma Life Mufflers, 392 U.S. at

139 (“[T]he purposes of the antitrust laws are best served by insuring that the private action will

be an ever-present threat to deter anyone contemplating business behavior in violation of the

antitrust laws.”); (see § II.D.i above.)

                462.    Fourth, the public interest is served by injunctive relief that calls an end to

Apple’s anti-competitive conduct. “[T]he public interest inquiry primarily addresses impact on

non-parties rather than parties and takes into consideration” the “public consequences” of the

injunction. hiQ Labs, Inc. v. LinkedIn Corp., 938 F.3d 985, 1004 (9th Cir. 2019) (quotation

marks omitted). The public interest favors enforcement of the antitrust laws. See, e.g.,

California v. Am. Stores Co., 495 U.S. 271, 284 (1990); Optronic Techs. v. Ningbo Sunny Elec.

Co., No. 5:16-cv-06370-EJD, 2020 WL 1812257, at *4, *8 (N.D. Cal. Apr. 9, 2020). Requiring

Apple to allow competition in the iOS App Distribution Market and iOS In-App Payment

Solutions Market will not impair the security, privacy or reliability of iOS devices. (See Section

II.B.ii above); see Am. Stores Co., 495 U.S. at 284; Optronic Techs., 2020 WL 1812257, at *4,

*8.

                iii.    The scope of Epic’s requested injunction is proper.

                463.    “Once plaintiffs establish they are entitled to injunctive relief, the district

court has broad discretion in fashioning a remedy.” Orantes-Hernandez v. Thornburgh,

919 F.2d 549, 558 (9th Cir. 1990). The relief ordered should be based “on some clear ‘indication

of a significant causal connection between the conduct enjoined or mandated and the violation

found directed toward the remedial goal intended’”. Microsoft, 253 F.3d at 105 (quoting 3

Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 653(b) (1996)).

                464.    An order granting an injunction must “state the reasons why it issued,”

“state its terms specifically,” and “describe in reasonable detail—and not by referring to the
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complaint or other document— the act or acts restrained or required”. Fed. R. Civ. P. 65(d)(1);

see also United States v. Holtzman, 762 F.2d 720, 726 (9th Cir. 1985) (an injunction must be

“reasonably clear so that ordinary persons will know precisely what action is proscribed”).

               465.     Epic’s requested injunction is appropriately tailored with respect to the

conduct enjoined (see § XII.A.iii.a below), the persons affected (see § XII.A.iii.b below) and its

geographic reach (see § XII.A.iii.c below).

                        a.     Conduct enjoined.

               466.     An injunctive order should represent “a reasonable method of eliminating

the consequences of the illegal conduct”. Nat’l Soc’y of Prof’l Engineers v. United States,

435 U.S. 679, 698 (1978). Pursuant to their broad discretionary powers, district courts are

empowered to frame relief that is both suitable and necessary to address the anti-competitive

effects of a defendant’s illegal conduct. See Besser Mfg. Co. v. United States, 343 U.S. 444,449

(1952); United States v. E. I. du Pont de Nemours & Co., 366 U.S. 316, 322-23 (1961).

               467.     iOS App Distribution Market. Because Epic has prevailed on Counts 1,

2, and 3 of its Complaint, Epic is entitled to an order enjoining Apple from undertaking the four

specific types of conduct described below; an anti-circumvention order; and an anti-retaliation

order. (See App’x 1.)

               468.     First, the Court hereby “[e]njoin[s] Apple from further violations of

Section 1 and/or Section 2 of the Sherman Act, the Cartwright Act and/or the California Unfair

Competition Law with respect to the iOS App Distribution Market and/or the App Store on the

iOS platform”. (App’x 1.) This relief is appropriate because a court may enter an order that

“den[ies] to the defendant the fruits of its statutory violation, and ensure[s] that there remain no

practices likely to result in monopolization in the future”. Microsoft, 253 F.3d at 103 (quoting

United States v. United Shoe Mach. Corp., 391 U.S. 244, 250 (1968)). Similarly, a court may
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enjoin “acts [of the defendant] which are of the same type or class as unlawful acts which the

court has found to have been committed or whose commission in the future unless enjoined, may

fairly be anticipated from the defendant’s conduct in the past”. Zenith, 395 U.S. at 132. If Apple

could continue to violate the antitrust laws after being found liable in this case, Epic’s victory

would be hollow.

               469.    Second, the Court hereby “[e]njoin[s] Apple from restricting, prohibiting,

impeding or deterring the distribution of iOS apps through a distribution channel other than the

App Store”. (App’x 1 (footnote omitted).) A court may enjoin a defendant from “us[ing] its

monopoly to destroy threatened competition”. Lorain Journal Co. v. United States, 342 U.S.

143, 154 (1951). Similarly, a court may enjoin a defendant from preventing market participants

from “exercis[ing] new-found freedoms offered by the remedy in [an antitrust] case”. New York

v. Microsoft Corp., 224 F. Supp. 2d 76, 163 (D.D.C. 2002), aff’d sub nom. Massachusetts v.

Microsoft Corp., 373 F.3d 1199 (D.C. Cir. 2004); see also id. at 266-77 (Appendix B Final

Judgment). This relief is central to remedying Apple’s anti-competitive conduct because it will

open up the iOS App Distribution Market to competition.

               470.    Third, the Court hereby “[e]njoin[s] Apple from discriminating against or

disadvantaging iOS app distribution through channels other than the App Store”. (App’x 1.)

This relief is appropriate because a court may enjoin a defendant from engaging in

discriminatory practices that are “designed to operate as, and do[] operate as, a method of

excluding” competitors from the market. United States v. United Shoe Mach. Corp., 110 F.

Supp. 295, 321, 352 (D. Mass. 1953), aff’d, 347 U.S. 521 (1954). Similarly, a court may enter

an order that requires a defendant to offer market participants “nondiscriminatory terms and

prices”. Kodak, 125 F.3d at 1201, 1225. If alternative methods of app distribution are permitted



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on iOS but Apple can discriminate against them in favor of its own App Store, then consumers

and developers are unlikely to realize the benefits of competition.

               471.    Fourth, the Court hereby “grant[s] the following time-limited relief, which

shall be effective from the date of this Order for a period of three (3) years”. The Court

“[e]njoin[s] Apple from enforcing contractual provisions, guidelines or policies, or imposing

technical restrictions, that restrict, prohibit, impede or deter distribution of iOS app stores

through the App Store”. (App’x 1.) This relief is appropriate to remedy Apple’s past

misconduct and its anti-competitive effects in the iOS App Distribution Market and other

relevant markets, and in order to restore competition in the iOS App Distribution Market. A

court may enter an order that “eliminat[es] the consequences of the [defendant’s] illegal

conduct”. Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 698 (1978). Given

Apple’s longstanding restrictions on the iOS App Distribution Market, the App Store has an

extraordinary lead over other app stores, which is all the more meaningful because competing

app stores will need to overcome the “chicken and egg” problem associated with indirect

network effects. Permitting new app stores to be distributed on Apple’s App Store for three

years (roughly the lifespan of a smartphone (Evans)), will give new app stores a reasonable

period of time to gain exposure and an opportunity to become real competitive threats to Apple’s

App Store.

               472.    Fifth, the Court hereby “enjoin[s] Apple from circumventing th[e] Order

by taking steps that violate the purpose, if not the terms, of th[e] Order, including by imposing

disincentives or providing incentives that are designed to, and have the effect of, making real

competition in the iOS App Distribution Market and/or the iOS In-App Payment Solutions

Market impracticable”. (App’x 1.) Anti-circumvention orders like this are common features of



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antitrust injunctions. See, e.g., Nat’l Soc. of Pro. Eng’rs, 435 U.S. at 698 (“While [the

injunction] goes beyond a simple proscription against the precise conduct previously pursued[,]

that is entirely appropriate.”); Microsoft, 224 F. Supp. 2d at 163 (“Given the power wielded by a

monopolist like Microsoft, in the absence of protection against retaliation and threats of

retaliation, industry participants whose survival hinges on their relationship with such a

monopolist will be reluctant to exercise the new-found freedoms offered by the remedy in this

case.”). Epic and the Court cannot foresee all possible steps that Apple may take to undermine

the purpose of Epic’s requested injunction. Thus, Apple should be prohibited from violating

both the letter and purpose of the injunction.

               473.    Sixth, the Court hereby “permanently enjoin[s] Apple from taking any

retaliatory actions against Epic or any of its affiliates in connection with or based on Epic’s filing

of this Action, the August 2020 enablement of a direct payment option in Fortnite, or the steps

Epic took to enable that option (‘Prior Epic Actions’). For the avoidance of doubt, prohibited

retaliatory actions include conduct by Apple that denies Fortnite access to Apple’s App Store on

the basis of such Prior Epic Actions.” (App’x 1.) Epic undertook the Prior Epic Actions to

enforce the antitrust laws. In retaliation against Epic for the Prior Epic Actions, Apple has

terminated Epic’s Developer Program account, removed Fortnite from the App Store, and

threatened to revoke access to iOS and macOS developer tools necessary to support Unreal

Engine and to terminate Epic’s affiliates’ Developer Program accounts. If courts fail to protect

successful plaintiffs from retaliation by adjudicated antitrust violators, then the Congressional

policy in favor of enforcing antitrust laws will be chilled. See, e.g., Acquaire, 24 F.3d at 411-12

(affirming injunction prohibiting defendant beverage company from retaliating against

distributors that defied its unlawful policy); Milsen Co. v. Southland Corp., 454 F.2d 363, 369



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(7th Cir. 1971) (reversing denial of preliminary injunction because courts “have refused to

permit a party to benefit from contractual rights when the contract is an instrument of restraint of

trade”); Microsoft, 224 F. Supp. 2d at 163.

               474.    iOS In-App Payment Solutions Market. Because Epic has prevailed on

Counts 4, 5, and 6 of its Complaint, Epic is entitled to an order enjoining Apple from

undertaking the four specific types of conduct described below; an anti-circumvention order; and

an anti-retaliation order. (See App’x 1.)17

               475.    First, the Court hereby “[e]njoin[s] Apple from further violations of

Section 1 and/or Section 2 of the Sherman Act, the Cartwright Act and/or the California Unfair

Competition Law with respect to the iOS In-App Payment Solutions Market”. (App’x 1.) As

explained above (see ¶¶ 470-75), this type of injunction is a common remedy to prevent

repetition of antitrust violations. See Microsoft, 253 F.3d at 103; Zenith, 395 U.S. at 132.

               476.    Second, the Court hereby “[e]njoin[s] Apple from restricting, prohibiting,

impeding or deterring the use of in-app payment processors other than Apple’s IAP”. (App’x 1.)

This remedy is the core relief necessary to open up competition in the iOS In-App Payment

Solutions Market. See Microsoft, 224 F. Supp. 2d at 163.

               477.    Third, the Court hereby “[e]njoin[s] Apple from discriminating against

payment processors other than Apple’s IAP, iOS developers that use payment processors other

than Apple’s IAP, or iOS apps or app stores that use payment processors other than Apple’s

IAP”. (App’x 1.) As explained above (see ¶¶ 470-75), such non-discrimination injunctions are




    17
      In the interest of brevity, the Court will not repeat its discussion of the anti-circumvention
and anti-retaliation orders in the prior section.

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an appropriate way of preventing the defendant from undermining the core relief. See United

Shoe, 110 F. Supp. at 321, 352; Eastman Kodak, 125 F.3d at 1201, 1225-26.

               478.    Fourth, the Court hereby “[e]njoin[s] Apple from imposing a financial

penalty or technical limitation on access to the iOS platform by iOS apps (including iOS app

stores) that use payment processing solutions other than or in addition to Apple’s IAP”.

(App’x 1.) This injunction is also necessary to prevent Apple from tilting the playing field in its

favor by penalizing developers or app distributors for choosing alternative payment solutions.

See Nat’l Soc’y of Prof’l Eng’rs, 435 U.S. at 698.

                       b.      Persons affected.

               479.    In private antitrust actions, courts “possess[] broad power to fashion the

equitable relief necessary to halt conduct in violation of the Sherman Act. . . . Antitrust relief

should unfetter a market from anti-competitive conduct and pry open to competition a market

that has been closed by illegal restraints.” Gen. Atomic Co. v. Exxon Nuclear Co., No. 78-223-E,

1979 WL 1708, at *3 (S.D. Cal. Sept. 6, 1979). For that reason, the relief “should not

myopically focus solely on [plaintiff]’s harm”. Cont’l Airlines, Inc. v. United Air Lines, Inc.,

136 F. Supp. 2d 542, 550 (E.D. Va. 2001), vacated on other grounds, 277 F.3d 499 (4th Cir.

2002) (quotation marks omitted). “There is no general requirement that an injunction affect only

the parties in the suit.” Bresgal v. Brock, 843 F.2d 1163, 1169 (9th Cir. 1987). “[A]n injunction

is not necessarily made over-broad by extending benefit or protection to persons other than

prevailing parties in the lawsuit—even if it is not a class action—if such breadth is necessary to

give prevailing parties the relief to which they are entitled”. Id. at 1170-71 (emphasis in

original); see also, e.g., Kodak, 125 F.3d at 1226 (affirming injunction as to non-party market

participants affected by illegal tying arrangement as “proper under these circumstances” (citing

Hawaii v. Standard Oil Co., 405 U.S. 251, 261 (1971) (“While . . . any individual threatened
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with injury by an antitrust violation may . . .sue for injunctive relief . . . one injunction is as

effective as 100”.))). The Court should not limit the injunction to apply only to Epic because

remedying Epic’s harm requires open competition in the iOS App Distribution Market and iOS

In-App Payment Solutions Market.

                480.    The injunction opens iOS to alternative app stores—not just EGS. As a

developer, Epic will benefit from having multiple channels to distribute its apps on iOS and to

enjoy the benefits of innovation from competition on iOS. Epic could not enjoy these benefits if

the only options are self-distribution or Apple’s App Store. For similar reasons, the injunction

requires Apple to permit all developers—not just Epic—to directly distribute their apps to users

on iOS. Direct distribution on iOS will place competitive pressure on app stores, from which

Epic will benefit as a developer.

                481.    The injunction is not limited to permitting only Epic to use or provide

non-IAP payment solutions. Alternative providers will be far less likely to enter the iOS In-App

Payment Solutions Market and invest in innovation if their only potential customer is Epic. The

market has to be freed for Epic to enjoy the benefits of competition.

                        c.      Geographic reach.

                482.    The injunction applies globally, excluding China. The Court has the

ability to order Apple, located here in the United States, to take the necessary actions to

effectuate this order. The global reach of the injunction is consistent with the geographic scope

of the markets and conduct at issue. The U.S. Supreme Court has interpreted Section 16 of the

Clayton Act to permit global injunctions. See Zenith Radio Corp. v. Hazeltine Research, Inc.,

395 U.S. 100, 132-33 (1969) (upholding an injunction “barr[ing defendant] from conspiring with

others to restrict or prevent [plaintiff] from entering any . . . foreign market” where plaintiff was

“interested in expanding its foreign commerce and . . . suffered at the hands of [defendant]”).
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               483.    If Epic were able to operate EGS on iOS, it would distribute apps globally

and make Epic direct payment available to apps distributed by EGS globally, just as it does on

PC and Macs. (Findings of Fact § IX.G.) Similarly, as a developer, Epic wishes to make its own

apps available globally and to sell in-app purchases globally. (Findings of Fact ¶ 350.) Only a

global injunction will allow Epic to compete where it intends and to reach the consumers it

needs. See Zenith Radio, 395 U.S. at 132-33.

               484.    Apple has argued that “[t]he FTAIA on its face limits the geographic reach

of any injunction”. (Legal Framework (ECF No. 276) at 149.) This is wrong. The FTAIA says

nothing about injunctions on its face. See 15 U.S.C. § 6a. To the contrary, “[t]he FTAIA does

not limit the power of the federal courts; rather, it provides substantive elements under the

Sherman Act in cases involving nonimport trade with foreign nations”. United States v. Hui

Hsiung, 778 F.3d 738, 753 (9th Cir. 2015). Thus, the FTAIA does not limit the scope of the

injunctive relief the Court has the power to order.

       B.      Epic is entitled to a permanent injunction for its California law claims.

               485.    Epic is also entitled to a permanent injunction under the Cartwright Act

(see § XII.B.i below), and the UCL (see § XII.B.ii below).

               i.      California Cartwright Act.

               486.    Under the Cartwright Act, “Any person who is injured in his or her

business or property by reason of anything forbidden or declared unlawful by this chapter, may

sue therefor” to obtain “preliminary or permanent injunctive relief when and under the same

conditions and principles as injunctive relief is granted by courts generally under the laws of this

state and the rules governing these proceedings”. Cal. Bus. & Prof. Code § 16750(a).




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                487.    As explained above, “[t]he Cartwright Act is broader in range and deeper

in reach than the Sherman Act”. In re Cipro Cases, 61 Cal. 4th at 161 (quoting Cianci, 40 Cal.

3d at 920) (internal quotation marks omitted); (see §§ VIII-X above).

                488.    There are no material differences between federal antitrust law and the

Cartwright Act that would limit the scope of Epic’s requested injunction under the Cartwright

Act. Therefore, because Epic has prevailed on Counts 7, 8, and 9, Epic is entitled to the same

injunction under the Cartwright Act to which it is entitled under the Clayton Act. (See § XII.A

above.)

                489.    Apple has argued that “[i]njunctive relief obtained under the Cartwright

Act may not extend outside of California”. (Legal Framework (ECF No. 276) at 151 (citing

Healy v. Beer Inst., Inc., 491 U.S. 324, 336 (1989)).) This is contrary to the California Supreme

Court’s holding in Younger v. Jensen, which applied the Cartwright Act to “interstate and intra-

California aspects” of an investigation when the interstate aspects “significantly affect[ed]”

California’s interests. 26 Cal. 3d 397, 405-06 (1980); see also id. at 405 (“Obviously there is an

overlap between coverages of the Sherman Act and state antitrust laws that prohibit substantially

the same conduct, such as California’s Cartwright Act. Neither the Sherman Act nor the federal

prohibition of undue burdens on interstate commerce prevents those state laws from reaching

transactions that have interstate aspects but significantly affect state interests” (citations

omitted)). Apple’s interstate conduct significantly affects California’s interests because Apple’s

foreclosure of the iOS App Distribution Market harms many developers and consumers in

California. Moreover, Apple’s cited authority addressed the application of state law to

“commerce that takes place wholly outside of the State’s borders”. Healy, 491 U.S. at 336. But

California is Apple’s principal place of business and state of incorporation. (PX2573 at 1.) And



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California law governs the DPLA (PX2453 (DPLA) § 14.10)—one of the central contracts in

this case. The commerce at issue in this case clearly takes place at least in part in California.

                ii.     California UCL.

                490.    Under the UCL, “Any person who engages, has engaged, or proposes to

engage in unfair competition may be enjoined in any court of competent jurisdiction. The court

may make such orders or judgments, including the appointment of a receiver, as may be

necessary to prevent the use or employment by any person of any practice which constitutes

unfair competition, as defined in this chapter, or as may be necessary to restore to any person in

interest any money or property, real or personal, which may have been acquired by means of

such unfair competition”. Cal. Bus. & Prof. Code § 17203.

                491.    “[T]he primary form of relief available under the UCL to protect

consumers from unfair business practices is an injunction”. In re Tobacco II Cases, 46 Cal. 4th

298, 319 (2009). A private party seeking injunctive relief under the UCL may request “public

injunctive relief”, McGill v. Citibank, N.A., 2 Cal. 5th 945, 954 (2017), which is “relief that by

and large benefits the general public and that benefits the plaintiff, if at all, only incidentally

and/or as a member of the general public”, id. at 955 (citations, quotation marks and alterations

omitted). Thus, the Court has even greater authority to extend an injunction under the UCL to

third parties that are also affected by Apple’s unlawful conduct than under federal law.

                492.    There are no material differences between federal antitrust law and the

UCL that would limit the scope of Epic’s requested injunction under the UCL. Therefore,

because Epic has prevailed on Count 10, Epic is entitled to the same injunction under the UCL to

which it is entitled under the Clayton Act. (See § XII.A above.)

                493.    Apple argues that “[a] plaintiff seeking equitable relief from a federal

court under state law must meet two requirements”. (Legal Framework (ECF No. 276) at 152-
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 53.) The first purported requirement is that the plaintiff must show “that no adequate remedy at

 law exists”. Id. Epic has satisfied this requirement. (See § XII.A.ii above.) The second

 purported requirement is that “the plaintiff must ‘disprove[]’ the adequacy of an alternative

 remedy”. (Legal Framework (ECF No. 276) at 152-53.) This is not a requirement. Apple’s

 cited cases simply involved situations where the plaintiffs sought damages in addition to

 equitable relief, and Epic does not seek damages. See Anderson v. Apple Inc., No. 20-CV-2328,

 2020 WL 6710101, at *7 (N.D. Cal. Nov. 16, 2020) (“Because [the plaintiffs] also request

 money damages, it is possible their legal remedy is sufficient; on this record, they have not yet

 disproven that”.); Bird v. First Alert, Inc., No. C 14-3585 PJH, 2014 WL 7248734, at *5 (N.D.

 Cal. Dec. 19, 2014) (finding, where “plaintiff is seeking damages under the CLRA”, that

 damages were an adequate remedy at law).

XIII.    APPLE IS NOT ENTITLED TO RELIEF ON ITS COUNTERCLAIMS.

                494.    Finally, the Court addresses the five counterclaims alleged by Apple

 against Epic. (See §§ XIII.A-E below.) The Court denies relief on each.

         A.     Apple is not entitled to relief because the challenged provisions of the DPLA
                and Schedule 2 are unlawful, void as against public policy, and
                unconscionable (Count 1).

                495.    Apple alleges that Epic breached five provisions of the DPLA (§§ 3.2(f),

 3.3.2, 3.3.3, 3.3.25, 6.1) and one provision of Schedule 2 (§ 3.4), and seeks “[a]n award of

 compensatory damages in the amounts Epic contractually agreed to pay to Apple under the

 Apple Developer Program License Agreement, including 30% of in-app purchases made by iOS

 end users via Epic Direct Payment”. (See Legal Framework, App’x A (ECF No. 276-1) at 8; see

 also Apple’s Answer (ECF No. 66) at pp. 56-57.)

                496.    The DPLA is “governed by and construed in accordance with the laws of

 the United States and the State of California”. (PX2453 (DPLA) § 14.10.) Under California

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law, “the elements of a cause of action for breach of contract are (1) the existence of the contract,

(2) plaintiff’s performance or excuse for nonperformance, (3) defendant’s breach, and (4) the

resulting damages to the plaintiff”. Oasis W. Realty, LLC v. Goldman, 51 Cal. 4th 811, 821

(2011); see CACI No. 303 (2020).

               497.    Epic does not contest that it breached the DPLA and Schedule 2. Nor

does Epic contest that if the Court finds the breached provisions enforceable against Epic in this

matter, then Epic would be liable to Apple for breach of contract in an amount equal to 30% of

in-app purchases made by end users on the Fortnite iOS app via Epic direct payment.

               498.    But because these contracts are not lawful, Apple is entitled to nothing.

The Court upholds Epic’s defenses that the challenged provisions of the DPLA and Schedule 2

are unenforceable under the doctrine of illegality (see § XIII.A.i below); void as against public

policy (see § XIII.A.ii below); and unconscionable (see § XIII.A.iii below).

               i.      The challenged provisions of the DPLA and Schedule 2 are illegal under
                       the antitrust laws (Affirmative Defenses 1 and 2).

               499.    Epic has pleaded that Apple’s claims are barred in whole or in part

because the contractual provisions on which they are based are unlawful under Sections 1 and 2

of the Sherman Act, the Cartwright Act, and the UCL. (Epic’s Answer (ECF No. 106) at p. 17

(Affirmative Defenses 1 and 2).)

               500.    Federal Law. “The authorities from the earliest time to the present

unanimously hold that no court will lend its assistance in any way towards carrying out the terms

of an illegal contract.” McMullen, 174 U.S. at 654. “In such cases the aid of the court is denied,

not for the benefit of the [non-complying party], but because public policy demands that it

should be denied.” Cont’l Wall Paper, 212 U.S. at 262; see also Kaiser Steel, 455 U.S. at 77




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(“our cases leave no doubt that illegal promises will not be enforced in cases controlled by the

federal law”).

                 501.   “[T]he illegality defense should be entertained in those circumstances

where its rejection would be to enforce conduct that the antitrust laws forbid.” Kaiser Steel, 455

U.S. at 81-82. Courts decline to enforce a contract as in violation of the Sherman Act if “the

judgment of the Court would itself be enforcing the precise conduct made unlawful by [the

antitrust laws]”. Kelly v. Kosuga, 358 U.S. 516, 520 (1959); see also Bassidji v. Goe, 413 F.3d

928, 936 (9th Cir. 2005) (“Both federal law and California law begin from the core proposition

that whatever flexibility may otherwise exist with regard to the enforcement of ‘illegal’

contracts, courts will not order a party to a contract to perform an act that is in direct violation of

a positive law directive, even if that party has agreed, for consideration, to perform that act.”).

                 502.   California Law. “The object of a contract must be lawful when the

contract is made.” Cal. Civ. Code § 1596. Among other possibilities, a contract is unlawful if it

is (1) “[c]ontrary to an express provision of law,” (2) “[c]ontrary to the policy of express law,

though not expressly prohibited,” or (3) “[o]therwise contrary to good morals”. Cal. Civ. Code

§ 1667.

                 503.   “There is no doubt that the general rule requires the courts to withhold

relief under the terms of an illegal contract or agreement which is violative of public policy.”

Tri-Q, Inc. v. Sta-Hi Corp., 63 Cal. 2d 199, 218 (1965); see Tiedje v. Aluminum Taper Milling

Co., 46 Cal. 2d 450, 453-54 (1956) (“A contract made contrary to public policy or against the

express mandate of a statute may not serve as the foundation of any action, either in law or in

equity.”). “These rules are intended to prevent the guilty party from reaping the benefit of his




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wrongful conduct, or to protect the public from the future consequences of an illegal contract.”

Tri-Q, 63 Cal. 2d at 218.

               504.   “The burden ordinarily rests upon the party asserting the invalidity of the

contract to show how and why it is unlawful.” Rock River Commc’ns, Inc. v. Universal Music

Grp., Inc., 745 F.3d 343, 350 (9th Cir. 2014) (quoting Morey v. Paladini, 187 Cal. 727, 734

(1922)).

               505.   Application. The challenged provisions of the DPLA and Schedule 2 are

unlawful under federal and California law. Those provisions are non-negotiable terms in

contracts of adhesion into which Apple forces developers to enter by means of its market power.

(Findings of Fact § IV.A.) Those provisions reinforce Apple’s market power in the iOS App

Distribution Market and iOS In-App Payment Solutions Market by requiring the exclusive use of

Apple’s App Store and Apple’s IAP, prohibiting all alternative app stores and all non-IAP

payment solutions, and imposing Apple’s supra-competitive 30% commission. These provisions

are unlawful for the reasons previously explained. (See §§ II-XI above.) Because enforcing the

challenged provisions of the DPLA and Schedule 2 would further Apple’s anti-competitive

conduct, the Court denies Apple’s breach of contract counterclaim. See McMullen, 174 U.S. at

654; Cont’l Wall Paper, 212 U.S. at 262; Kaiser Steel, 455 U.S. at 77.

               ii.    The challenged provisions of the DPLA and Schedule 2 are void as against
                      public policy (Affirmative Defense 3).

               506.   Epic has pleaded that Apple’s claims are barred in whole or in part

because the contractual provisions on which they are based are void as against public policy.

(Epic’s Answer (ECF No. 106) at p. 17 (Affirmative Defense 3).)

               507.   “That is not lawful which is . . . [c]ontrary to the policy of express law,

though not expressly prohibited.” Cal. Civ. Code § 1667(2); see also Kelton v. Stravinski,


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138 Cal. App. 4th 941, 949 (2006) (“In general, a contract contrary to public policy will not be

enforced.”); Altschul v. Sayble, 83 Cal. App. 3d 153, 162 (1978) (“There is no requirement that a

contract violate an express mandate of a statute before it may be declared void as contrary to

public policy.”).

               508.    “The authorities all agree that a contract is not void as against public

policy unless it is injurious to the interests of the public as a whole or contravenes some

established interest of society.” Rosenberg v. Raskin, 80 Cal. App. 2d 335, 338 (1947).

“California has a settled public policy in favor of open competition.” Kelton, 138 Cal. App. 4th

at 946; see also Margolin v. Shemaria, 85 Cal. App. 4th 891, 901 (2000) (“Both legislative

enactments and administrative regulations can be utilized to further this state’s public policy of

protecting consumers in the marketplace of goods and services.”). A provision in a contract that

obligates a party to the contract to violate the antitrust laws is void as against public policy. See

Foley v. Interactive Data Corp., 47 Cal. 3d 654, 713 n.12 (1988) (citing Tameny v. Atlantic

Richfield Co., 27 Cal. 2d 167 (1980)).

               509.    The challenged provisions of the DPLA and Schedule 2 are void as against

public policy for reasons similar to why they are illegal. Apple uses its market power to force

developers to enter into those provisions; they foreclose all alternative app stores and non-IAP

payment solutions in the iOS App Distribution Market and iOS In-App Payment Solutions

Market, respectively; and they facilitate the imposition of Apple’s supra-competitive 30%

commission. (See § XIII.A.i above.) The Court denies Apple’s breach of contract claim because

the contractual provisions on which it is based undermine the public policy in favor of

competitive markets.




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               iii.    The challenged provisions of the DPLA and Schedule 2 are
                       unconscionable (Affirmative Defense 4).

               510.    Epic has pleaded Apple’s claims are barred in whole or in part because the

challenged provisions of the DPLA and Schedule 2 are unconscionable. (Epic’s Answer (ECF

No. 106) at pp. 17-18 (Affirmative Defense 4).)

               511.    “[A] contract or provision, even if consistent with the reasonable

expectations of the parties, will be denied enforcement if, considered in its context, it is unduly

oppressive or ‘unconscionable.’” Graham v. Scissor-Tail, Inc., 28 Cal. 3d 807, 820 (1981).

“Unconscionability has generally been recognized to include an absence of meaningful choice on

the part of one of the parties together with contract terms which are unreasonably favorable to

the other party. Phrased another way, unconscionability has both a ‘procedural’ and a

‘substantive’ element. . . . [B]oth the procedural and substantive elements must be met before a

contract or term will be deemed unconscionable. Both, however, need not be present to the same

degree. A sliding scale is applied so that ‘the more substantively oppressive the contract term,

the less evidence of procedural unconscionability is required to come to the conclusion that the

term is unenforceable, and vice versa.’” Lhotka v. Geographic Expeditions, Inc., 181 Cal. App.

4th 816, 821 (2010) (internal quotation marks and citations omitted). “If the court as a matter of

law finds the contract or any clause of the contract to have been unconscionable at the time it

was made the court may refuse to enforce the contract, or it may enforce the remainder of the

contract without the unconscionable clause, or it may so limit the application of any

unconscionable clause as to avoid any unconscionable result.” Cal. Civil Code § 1670.5(a);

Graham, 28 Cal. 3d at 820 n.19 (citing Cal. Civil Code § 1670.5) (“The judicially developed

concept of unconscionability has recently become a part of our statutory law.”).




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               512.   “The procedural element of the unconscionability analysis concerns the

manner in which the contract was negotiated and the circumstances of the parties at that time.

The element focuses on oppression or surprise. Oppression arises from an inequality of

bargaining power that results in no real negotiation and an absence of meaningful choice.

Surprise is defined as the extent to which the supposedly agreed-upon terms of the bargain are

hidden in the prolix printed form drafted by the party seeking to enforce the disputed terms.”

Gatton v. T-Mobile USA, Inc., 152 Cal. App. 4th 571, 581 (2007) (internal quotation marks and

citations omitted)). “Unconscionability analysis begins with an inquiry into whether the contract

is one of adhesion. The term contract of adhesion signifies a standardized contract, which,

imposed and drafted by the party of superior bargaining strength, relegates to the subscribing

party only the opportunity to adhere to the contract or reject it.” Armendariz v. Found. Health

Psychcare Servs., Inc., 24 Cal. 4th 83, 113 (2000) (quotation marks and alterations omitted).

               513.   “The substantive element of the unconscionability analysis focuses on

overly harsh or one-sided results,” Gatton, 152 Cal. App. 4th at 586, or “whether a contractual

provision reallocates risks in an objectively unreasonable or unexpected manner,” Lhotka,

181 Cal. App. 4th at 821. Substantive unconscionability “traditionally involves contract terms

that are so one-sided as to ‘shock the conscience,’ or that impose harsh or oppressive terms”.

Wherry v. Award, Inc., 192 Cal. App. 4th 1242, 1248 (2011).

               514.   The challenged provisions of the DPLA and Schedule 2 are

unconscionable for reasons similar to why they are illegal and void as against public policy.

They are procedurally unconscionable because they are non-negotiable terms in contracts of

adhesion. Apple does not negotiate these terms, and developers, who have to be on iOS to

monetize their apps, have no choice but to enter into them. (Findings of Fact § IV.A.) The



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challenged provisions of the DPLA and Schedule 2 are also substantively unconscionable

because they foreclose all alternative app stores and non-IAP payment solutions in the iOS App

Distribution Market and iOS In-App Payment Solutions Market, respectively, and they facilitate

the imposition of Apple’s supra-competitive 30% commission. (See § XIII.A.i above.) The

Court denies Apple’s breach of contract claim because the contract provisions on which it is

based are unconscionable.

        B.     Apple’s implied covenant claim entitles Apple to no more than Apple’s
               breach of contract claim (Count 2).

               515.    Apple has alleged an implied covenant claim against Epic based on the

same conduct and seeking the same damages as Apple’s breach of contract claim. (See Legal

Framework, App’x A (ECF No. 276-1) at 8; see also Apple’s Answer (ECF No. 66) at pp. 56-

58.)

               516.    “In California, the factual elements necessary to establish a breach of the

covenant of good faith and fair dealing are: (1) the parties entered into a contract; (2) the plaintiff

fulfilled his obligations under the contract; (3) any conditions precedent to the defendant’s

performance occurred; (4) the defendant unfairly interfered with the plaintiff’s rights to receive

the benefits of the contract; and (5) the plaintiff was harmed by the defendant’s conduct.”

Rosenfeld v. JPMorgan Chase Bank, N.A., 732 F. Supp. 2d 952, 968 (N.D. Cal. 2010) (citing

CACI No. 325 (2020)).

               517.    Apple’s implied covenant claim fails because the contractual provisions

on which it is based are unlawful. Toce v. Rentch, No. 17-cv-0603-AJB-BLM, 2018 WL

5994598, at *12 (S.D. Cal. Nov. 15, 2018) (granting summary judgment against implied

covenant claim because “the terms of the Campaign Agreement are illegal”).




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               518.    Further, even if the contractual provisions were lawful (which they are

not), Apple still would not be entitled to double recovery for its implied covenant claim. Both

causes of action “are limited to contract damages”. Applied Equip. Corp. v. Litton Saudi Arabia

Ltd., 7 Cal. 4th 503, 516 (1994) (internal quotation marks and citation omitted).

               519.    Because the Court has found that the challenged provisions of the DPLA

and Schedule 2 are unlawful, Apple cannot recover on an implied covenant claim arising from

the same provisions. The Court denies relief on Count 2.

       C.      Apple is not entitled to recover on its quasi-contract / unjust enrichment
               claim (Count 3).

               520.    Apple alleges an unjust enrichment claim “[i]n the alternative”, seeking

the same damages as its breach of contract claim. (Apple’s Answer (ECF No. 66) at pp. 56-58;

Legal Framework, App’x A (ECF No. 276-1) at 8.)

               521.    “The elements of unjust enrichment are ‘receipt of a benefit and unjust

retention of the benefit at the expense of another.’” Berger v. Home Depot USA, Inc., 741 F.3d

1061, 1070 (9th Cir. 2014) (quoting Lectrodryer v. SeoulBank, 77 Cal. App. 4th 723, 726

(2000)). “The person receiving the benefit is required to make restitution only if the

circumstances are such that, as between the two individuals, it is unjust for the person to retain

it.” Doe I v. Wal-Mart Stores, Inc., 572 F.3d 677, 684 (9th Cir. 2009) (internal quotation marks

and citation omitted) (emphasis in original).

               522.    Apple is not entitled to recover on its unjust enrichment claim.

               523.    As an initial matter, it is not unjust for Epic to retain the alleged benefits

that it received. As explained above, Apple benefited greatly from Epic’s presence on iOS.

(Findings of Fact ¶¶ 104-07.) “Exchanges where both parties benefit do not constitute unjust




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enrichment.” Howard v. Gap, Inc., No. C 06-06773 WHA, 2007 WL 164322, at *4 (N.D. Cal.

Jan. 19, 2007) (New York law).

               524.    Independently, permitting Apple to recover on an unjust enrichment claim

would undermine Congressional policy just as much as permitting Apple to recover on the

express provisions of the DPLA and Schedule 2. (See § XIII.A.i above.) “As a general rule . . .

a guilty party to an illegal contract cannot recover in quasi contract for the benefit conferred.”

Ryan v. Mike-Ron Corp., 226 Cal. App. 2d 71, 75 (1964); see also Toce, 2018 WL 5994598, at

*4 (“a party may not recover for that which cannot be recovered on a contract”); Restatement

(Third) of Restitution and Unjust Enrichment § 32 (2011) (“Restitution will also be allowed, as

necessary to prevent unjust enrichment, if the allowance of restitution will not defeat or frustrate

the policy of the underlying prohibition.”).

               525.    Further, even if the contractual provisions were lawful (which they are

not), Apple still would not be entitled to double recovery for its unjust enrichment claim, as

“restitution under an unjust enrichment pleading” are available “in lieu of contract damages”.

See JPMorgan Chase Bank, N.A. v. Lewis, No. 12-CV-2971-H-RBB, 22014 WL 12531091, at *7

(S.D. Cal. June 27, 2014).

               526.    Because the Court has found that the challenged provisions of the DPLA

and Schedule 2 are unlawful, Apple cannot recover on its related unjust enrichment claim either.

The Court denies relief on Count 3.

       D.      Because the Court upholds Epic’s antitrust claims, Apple’s declaratory
               judgment claim fails (Count 6).

               527.    Apple seeks a declaration that the Developer Agreement and DPLA are

lawful contracts, that Apple’s terminations of the Developer Agreement and DPLA with Epic

were lawful, and that Apple has the contractual right to terminate the Developer Agreements and


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DPLAs with Epic’s affiliates. (Legal Framework, App’x A (ECF No. 276-1) at 8-9; see also

Apple’s Answer (ECF No. 66) at p. 63.)

                528.      Because Epic prevailed on its claims, Apple is not entitled to this

declaration. Epic contends that the challenged provisions of the DPLA are unlawful. Because

the Court agrees, Apple is not entitled to a declaration that the DPLA is lawful.

                529.      Similarly, Epic contends that Apple terminated the Developer Agreement

and DPLA with Epic, and threatened to terminate the Developer Agreements and DPLAs with

Epic’s affiliates, in retaliation against Epic’s decision to take a stand against Apple’s

monopolies. Because the Court agrees that this retaliation is unlawful, Apple is not entitled to a

declaration that Apple’s terminations of the Developer Agreement and DPLA with Epic were

lawful or that Apple has the contractual right to terminate the Developer Agreements and DPLAs

with Epic’s affiliates.

                530.      The Court declines to grant the declaratory relief requested in Count 6.

        E.      Apple is not entitled to indemnification for actions between the contracting
                parties (Count 7).

                531.      Finally, based on Section 10 of the DPLA, Apple alleges that it “is entitled

to indemnification from Epic, including recovery of attorneys’ fees and costs of defending this

litigation and pursuing these Counterclaims”. (Apple’s Answer (ECF No. 66) at pp. 63-64.)

                532.      Section 10 of the DPLA provides that:

                “To the extent permitted by applicable law, [Epic] agree[s] to
                indemnify and hold harmless, and upon Apple’s request, defend,
                Apple, its directors, officers, employees, independent contractors
                and agents (each an ‘Apple Indemnified Party’) from any and all
                claims, losses, liabilities, damages, taxes, expenses and costs,
                including without limitation, attorneys’ fees and court costs
                (collectively, ‘Losses’), incurred by an Apple Indemnified Party
                and arising from or related to any of the following . . . :
                (i) [Epic’s] breach of any certification, covenant, obligation,
                representation or warranty in this Agreement, including Schedule 2
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               and Schedule 3 (if applicable); . . . or (vi) [Epic’s] use (including
               [Epic’s] Authorized Developers’ use) of the Apple Software or
               services, [Epic’s] Licensed Application Information, Pass
               Information, metadata, [Epic’s] Authorized Test Units, [Epic’s]
               Registered Devices, [Epic’s] Covered Products, or [Epic’s]
               development and distribution of any of the foregoing.” (PX2453
               (DPLA) § 10.)

               533.    “An indemnity agreement is to be interpreted according to the language

and contents of the contract as well as the intention of the parties as indicated by the contract.”

Myers Bldg. Indus., Ltd. v. Interface Tech., Inc., 13 Cal. App. 4th 949, 968 (1993); see also

Herman Christensen & Sons, Inc. v. Paris Plastering Co., 61 Cal. App. 3d 237, 245 (1976)

(where the parties “have expressly contracted with respect to the duty to indemnify, the extent of

that duty must be determined from the contract and not by reliance on the independent doctrine

of equitable indemnity”). Such agreements “are construed under the same rules that govern the

interpretation of other contracts.” Alki Partners, LP v. DB Fund Servs., LLC, 4 Cal. App. 5th

574, 600 (2016).

               534.    Apple is not entitled to indemnification for two reasons.

               535.    First, Section 10 applies only to claims brought by third parties against

Apple—not to claims between Epic and Apple. “Generally, an indemnification provision allows

one party to recover costs incurred defending actions by third parties, not attorney fees incurred

in an action between the parties to the contract.” Alki, 4 Cal. App. 5th at 600. “An

indemnification clause in which one party to promised to ‘indemnify’ the other from ‘any, all,

and every claim’ which arises out of ‘the performance of the contract’ deals only with third party

claims, and cannot support an award of attorney fees in an action for breach of contract between

the parties to the agreement.” Id. at 601 (internal citation omitted).

               536.    Courts look to several indicators to distinguish third-party indemnification

provisions from provisions for the award of attorney fees incurred in litigation between the
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parties to the contract. Id. at 600. The “key indicator” is “an express reference to

indemnification”: “A clause that contains the words ‘indemnify’ and ‘hold harmless’ generally

obligates the indemnitor to reimburse the indemnitee for any damages the indemnitee becomes

obligated to pay third persons—that is, it relates to third party claims, not attorney fees incurred

in a breach of contract between the parties to the indemnity agreement itself.” Id.

               537.    Section 10 states that Epic will “indemnify” Apple for “any and all

. . . losses . . . arising from”, among other things, Epic’s “breach of any certification, covenant,

obligation, representation or warranty in this Agreement”. (PX2453 (DPLA) § 10.) Nothing in

Section 10 clearly states or indicates that the indemnification provision applies to claims asserted

by one party against another. Accordingly, Section 10 does not apply to an action between the

two parties.

               538.    Second, even if the indemnification clause applied to intra-party disputes

(which it does not), Section 10 should not be enforced in this case because such enforcement

would be unconscionable.

               539.    The legal standard for unconscionability is discussed above. (See

§ XIII.A.iii above.)

               540.    If interpreted to cover intra-party disputes, the indemnification clause of

the DPLA would be procedurally unconscionable because the DPLA is a contract of adhesion.

(Findings of Fact § tIV.A.)

               541.    Section 10 is substantively unconscionable. Courts have found indemnity

clauses to be substantively unconscionable where, under the “bare language” of the clause, the

defendant would be entitled to attorneys’ fees, costs and expenses and even the judgment amount

from plaintiff even where plaintiff won suit against defendant. See, e.g., Lennar Homes of



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California, Inc. v. Stephens, 232 Cal. App. 4th. 673, 693 (2014). Under Apple’s reading,

Section 10, requires Epic to pay regardless of whether Apple or Epic sues, and regardless of

whether Apple or Epic prevails, because Apple will incur some amount of “[l]osses” in all

scenarios. This is unconscionable. See id.

              542.    For the foregoing reasons, the Court denies relief on Count 7.




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XIV.        APPENDIX 1: SPECIFIC RELIEF

                 For the reasons provided in Epic’s [Proposed] Conclusions of Law, Epic

respectfully requests that the Court enter the permanent injunction set forth below.

Claims Concerning iOS App Distribution
                 The Court has found in favor of Epic on the following claims:

            •    Epic Count 1: Sherman Act § 2: Unlawful Monopoly Maintenance in the iOS App
                 Distribution Market

            •    Epic Count 2: Sherman Act § 2: Denial of Essential Facility in the iOS App
                 Distribution Market

            •    Epic Count 3: Sherman Act § 1: Unreasonable Restraints on Trade in the iOS App
                 Distribution Market

            •    Epic Count 7: California Cartwright Act: Unreasonable Restraints of Trade in the
                 iOS App Distribution Market

            •    Epic Count 10: California Unfair Competition Law (with respect to iOS app
                 distribution)
                 To remedy Epic’s injuries, the Court orders the following relief:

                 Apple is permanently enjoined from further violations of Section 1 and/or Section
2 of the Sherman Act, the Cartwright Act and/or the California Unfair Competition Law with
respect to the iOS App Distribution Market and/or the App Store on the iOS platform;
                 Apple is permanently enjoined from restricting, prohibiting, impeding or deterring
the distribution18 of iOS apps through a distribution channel other than the App Store, including

by:

            •    Restricting, prohibiting, impeding or deterring users of iOS devices, through
                 technical, contractual, financial, or other means, from downloading, executing,


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      Distribution includes both supply of apps by developers and acquisition of apps by
consumers unless otherwise specified.

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              installing and/or updating iOS apps and app stores from a distribution channel other

              than the App Store;

       •      Enforcing contractual provisions, guidelines or policies, or imposing technical
              restrictions or financial penalties, that (i) restrict, prohibit, impede or deter the
              distribution of iOS apps through a distribution channel other than the App Store or
              (ii) have the effect of impeding or deterring competition among app distributors
              (including competition between third party app distributors and the App Store);

       •      Conditioning access of developers to iOS on the pricing of their apps or in-app
              content on other platforms;

       •      Conditioning access of developers to the App Store on the pricing of their apps or
              in-app content on other platforms and/or on the pricing of their iOS apps or in-app
              content available through other distribution channels;

       •      Conditioning distribution through the App Store on exclusivity or on an agreement
              by a developer not to distribute an iOS app through other means; and

       •      Retaliating or threatening to retaliate against any developer on the basis of the
              developer’s choice of iOS app distribution channel.
              Apple is permanently enjoined from discriminating against or disadvantaging iOS

app distribution through channels other than the App Store, including by:

       •      Denying iOS app stores access to iOS functionality that the App Store has access
              to, including iOS functionality that assists in or is required for the downloading,
              execution, installation, updating and removal of apps;

       •      Denying iOS apps that were downloaded through a distribution channel other than
              the App Store equivalent access to iOS functionality and/or features that iOS apps
              downloaded through the App Store have access to;

       •      Deterring users from downloading, executing, installing and/or updating iOS apps
              from or through an app distribution channel other than the App Store, including by
              imposing “warning” screens or other user obstructions or deterrents on iOS apps

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               distributed through channels other than the App Store that are not present for apps

               distributed through the App Store.
               To remedy Apple’s past misconduct and its anti-competitive effects in the iOS

App Distribution Market and other relevant markets, and in order to restore competition in the

iOS App Distribution Market, the Court orders the following time-limited relief, which shall be

effective from the date of this Order for a period of three (3) years:

       •       Apple is enjoined from enforcing contractual provisions, guidelines or policies, or
               imposing technical restrictions, that restrict, prohibit, impede or deter distribution

               of iOS app stores through the App Store.
               Nothing in this Order shall prohibit Apple from taking steps to prevent the

distribution of malware.

Claims Concerning In-App Payment Processing
               The Court has found in favor of Epic on the following claims:

       •       Epic Count 4: Sherman Act § 2: Unlawful Monopoly Maintenance in the iOS In-
               App Payment Solutions Market

       •       Epic Count 5: Sherman Act § 1: Unreasonable Restraints of Trade in the iOS In-
               App Payment Solutions Market

       •       Epic Count 6: Sherman Act § 1: Tying the App Store in the iOS App Distribution
               Market to In-App Purchase in the iOS In-App Payment Solutions Market

       •       Epic Count 8: California Cartwright Act: Unreasonable Restraints of Trade in the
               iOS In-App Payment Solutions Market

       •       Epic Count 9: California Cartwright Act: Tying the App Store in the iOS App
               Distribution Market to In-App Purchase in the iOS In-App Payment Solutions
               Market

       •       Epic Count 10: California Unfair Competition Law (with respect to iOS in-app
               payment processing)

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              To remedy Epic’s injuries, the Court orders the following relief:

              Apple is permanently enjoined from further violations of Section 1 and/or Section

2 of the Sherman Act, the Cartwright Act and/or the California Unfair Competition Law with

respect to the iOS In-App Payment Solutions Market;

              Apple is permanently enjoined from restricting, prohibiting, impeding or deterring

the use of in-app payment processors other than Apple’s In-App Purchase (“IAP”), including by:

       •      Rejecting iOS apps for distribution through the App Store or retaliating or
              threatening to retaliate against any developer of an iOS app on the basis of the
              developer’s or the app’s actual or intended integration of one or more non-IAP
              payment processors;

       •      Enforcing contractual provisions, guidelines or policies, or imposing technical
              restrictions or financial penalties, that (i) restrict, prohibit, impede or deter
              developers from integrating payment processors other than Apple’s IAP into their
              apps for processing in-app purchases of in-app content or (ii) have the effect of
              impeding or deterring competition among in-app payment processors;
              Apple is permanently enjoined from discriminating against payment processors

other than Apple’s IAP, iOS developers that use payment processors other than Apple’s IAP, or

iOS apps or app stores that use payment processors other than Apple’s IAP, including by:

       •      Denying access to iOS apps or app stores that use payment processors other than
              Apple’s IAP, to the same iOS functionality and/or features that apps using
              exclusively Apple’s IAP for processing in-app purchases of in-app content have;

       •      Giving preferential treatment in search to iOS apps that exclusively use Apple’s




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               IAP; and

               Apple is permanently enjoined from imposing a financial penalty or technical

limitation on access to the iOS platform by iOS apps (including iOS app stores) that use payment

processing solutions other than or in addition to Apple’s IAP.

                                        *       *      *         *    *

               Nothing in this Order shall prohibit Apple from seeking a modification of the

Court’s Order regarding the iOS In-App Payment Solutions Market on the basis of changed

circumstances (i.e., Apple’s loss of monopoly power in the iOS App Distribution Market).

Anti-Circumvention

               Apple is permanently enjoined from circumventing this Order by taking steps that

violate the purpose, if not the terms, of this Order, including by imposing disincentives or

providing incentives that are designed to, and have the effect of, making real competition in the

iOS App Distribution Market and/or the iOS In-App Payment Solutions Market impracticable.

Anti-Retaliation
               Apple is permanently enjoined from taking any retaliatory actions against Epic or

any of its affiliates in connection with or based on Epic’s filing of this Action, the August 2020

enablement of a direct payment option in Fortnite, or the steps Epic took to enable that option

(“Prior Epic Actions”). For the avoidance of doubt, prohibited retaliatory actions include conduct

by Apple that denies Fortnite access to Apple’s App Store on the basis of such Prior Epic Actions.




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